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    EXHIBIT A
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Disclosure Statement

                               It is our pleasure to present the enclosed policy to you
                                           for presentation to your customer.


                                    INSTRUCTION TO AGENT OR BROKER:

WE REQUIRE THAT YOU TRANSMIT THE ATTACHED/ENCLOSED DISCLOSURE STATEMENT TO THE CUSTOMER
                                     WITH THE POLICY.

  Once again, thank you for your interest, and we look forward to meeting your needs and those of your customers.




                                                                                                U-GU-873-A CW (06/11)
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Disclosure Statement

                NOTICE OF DISCLOSURE FOR AGENT & BROKER COMPENSATION


          If you want to learn more about the compensation Zurich pays agents and brokers visit:

                             http://www.zurichnaproducercompensation.com

                          or call the following toll-free number: (866) 903-1192.



                This Notice is provided on behalf of Zurich American Insurance Company

                                    and its underwriting subsidiaries.




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                                                 The Zurich EDGE
                                                     Global Policy




                                                            EDGE 401 – B (08/16)
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Insured Name:         Lindenwood University

Reference Number:     ERP 8757927-01
Effective Date:       07/01/2019


             THIS DISCLOSURE IS ATTACHED TO AND MADE PART OF YOUR POLICY.

             DISCLOSURE OF IMPORTANT INFORMATION
           RELATING TO TERRORISM RISK INSURANCE ACT
                                                              SCHEDULE*
 Premium attributable to risk of loss from certified acts of terrorism for lines of insurance subject to TRIA:
     Not Applicable - Terrorism Exclusion


*Any information required to complete this Schedule, if not shown above, will be shown in the Declarations.
A. Disclosure of Premium
    In accordance with the federal Terrorism Risk Insurance Act (“TRIA”), as amended, we are required to provide you
    with a notice disclosing the portion of your premium, if any, attributable to the risk of loss from terrorist acts certified
    under that Act for lines subject to TRIA. That portion of premium attributable is shown in the Schedule above. The
    premium shown in the Schedule above is subject to adjustment upon premium audit, if applicable.
B. Disclosure of Federal Participation in Payment of Terrorism Losses
    The United States Government may pay a share of insured losses resulting from an act of terrorism. The federal
    share will decrease by 5% from 85% to 80% over a five year period while the insurer share increases by the same
    amount during the same period. The schedule below illustrates the decrease in the federal share:
    January1, 2015 – December 31, 2015 federal share: 85%
    January1, 2016 – December 31, 2016 federal share: 84%
    January1, 2017 – December 31, 2017 federal share: 83%
    January1, 2018 – December 31, 2018 federal share: 82%
    January1, 2019 – December 31, 2019 federal share: 81%
    January1, 2020 – December 31, 2020 federal share: 80%
C. Disclosure of $100 Billion Cap on All Insurer and Federal Obligations
    If aggregate insured losses attributable to terrorist acts certified under TRIA exceed $100 billion in a calendar year
    (January 1 through December 31) and an insurer has met its deductible under the program, that insurer shall not be
    liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and in such case insured
    losses up to that amount are subject to pro rata allocation in accordance with procedures established by the
    Secretary of Treasury.
D. Availability
    As required by TRIA, we have made available to you for lines subject to TRIA coverage for losses resulting from acts
    of terrorism certified under TRIA with terms, amounts and limitations that do not differ materially from those for losses
    arising from events other than acts of terrorism.
E. Definition of Act of Terrorism under TRIA
    TRIA defines "act of terrorism" as any act that is certified by the Secretary of the Treasury, in accordance with the
    provisions of the federal Terrorism Risk Insurance Act (“TRIA”), to be an act of terrorism. The Terrorism Risk
    Insurance Act provides that the Secretary of Treasury shall certify an act of terrorism:
    1. To be an act of terrorism;
    2. To be a violent act or an act that is dangerous to human life, property or infrastructure;




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3. To have resulted in damage within the United States, or outside of the United States in the case of an air carrier
    (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel based
    principally in the United States, on which United States income tax is paid and whose insurance coverage is
    subject to regulation in the United States), or the premises of a United States mission; and
4. To have been committed by an individual or individuals as part of an effort to coerce the civilian population of the
    United States or to influence the policy or affect the conduct of the United States Government by coercion.
No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by
Congress (except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance
subject to TRIA, do not exceed $5,000,000.




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Illinois Civil Union Act Policyholder Notice


On June 1, 2011, Public Act 96-1513, the Religious Freedom Protection and Civil Union Act (“the Act”) became
effective. Under the Act, both same-sex and opposite-sex couples may enter into a civil union. A party to a
civil union is entitled to the same legal obligations, responsibilities, protections, and benefits as are afforded or
recognized by the law of Illinois a spouse; whether they derive from statute, administrative rule, common law,
or any other source of civil or criminal law. A marriage between persons of the same sex, a civil union, or a
substantially similar legal relationship other than common law marriage, legally entered into in another
jurisdiction, shall be legally recognized in Illinois as a civil union.



CAUTION: FEDERAL LAW RIGHTS MAY OR MAY NOT BE AVAILABLE:
Illinois law grants parties to a civil union the same benefits, protections and responsibilities that flow from
marriage under state law. However, some or all of the benefits, protections and responsibilities related to health
insurance that are available to married persons under federal law may not be available to parties to a civil union.
For example, the Employee Retirement Income Security Act of 1974, a federal law known as “RISA”controls the
employer/employee relationship with regard to determining eligibility for enrollment in private employer health
benefit plans. Because of ERISA, Act 91 does not state requirements pertaining to a private employer’ enrollment
of a party to a civil union in an ERISA employee welfare benefit plan. However,governmental employers (not
federal government) are required to provide health benefits to the dependents of a party to a civil union if the
public employer provides health benefits to the dependents of married persons. Federal law also controls group
health insurance continuation rights under “OBRA”for employers with 20 or more employees as well as the
Internal Revenue Code treatment of health insurance premiums. As a result, parties to a civil union and their
families may or may not have access to certain benefits under this policy, contract, certificate, rider or
endorsement that derive from federal law. You are advised to seek expert advice to determine your rights.




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Notice to Missouri Policyholder


The Insurer is a member of the Missouri Property and Casualty Guaranty Association (hereinafter known as Association).

1. Under Section 375.772 2.(7) of the Revised Statutes of Missouri (RSMO), claims covered by the Act do not include a
   claim by or against an Insured or an insolvent Insurer if that Insured has a net worth of $25 million on the date the
   Insurer becomes insolvent.

2. Under Section 375.775.1(1) (RSMO), the Association’s obligation includes only the amount of each covered claim
   which is less than $300,000. However, the Association will not:

   a. Be obligated to an Insured or claimant in excess of the limits of liability of the policy from which the claim arises;
       or

   b. Return to the Insured any unearned premium in excess of $25,000.




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Important Notice - In Witness Clause

In return for the payment of premium, and subject to the terms of this policy, coverage is provided as stated in this
policy.
IN WITNESS WHEREOF, this Company has executed and attested these presents and, where required by law, has
caused this policy to be countersigned by its duly Authorized Representative(s).




                       President                                                    Corporate Secretary



QUESTIONS ABOUT YOUR INSURANCE? Your agent or broker is best equipped to provide information about your
insurance. Should you require additional information or assistance in resolving a complaint, call or write to the following
(please have your policy or claim number ready):


                                               Zurich in North America
                                               Customer Inquiry Center
                                                    1299 Zurich Way
                                           Schaumburg, Illinois 60196-1056
                                   1-800-382-2150 (Business Hours: 8am - 4pm [CT])
                                           Email: info.source@zurichna.com




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SANCTIONS EXCLUSION
ENDORSEMENT



THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

The following exclusion is added to the policy to which it is attached and supersedes any existing sanctions
language in the policy, whether included in an Exclusion Section or otherwise:
SANCTIONS EXCLUSION
Notwithstanding any other terms under this policy, we shall not provide coverage nor will we make any payments
or provide any service or benefit to any insured, beneficiary, or third party who may have any rights under this
policy to the extent that such cover, payment, service, benefit, or any business or activity of the insured would
violate any applicable trade or economic sanctions law or regulation.

The term policy may be comprised of common policy terms and conditions, the declarations, notices, schedule,
coverage parts, insuring agreement, application, enrollment form, and endorsements or riders, if any, for each
coverage provided. Policy may also be referred to as contract or agreement.

We may be referred to as insurer, underwriter, we, us, and our, or as otherwise defined in the policy, and shall
mean the company providing the coverage.

Insured may be referred to as policyholder, named insured, covered person, additional insured or claimant, or as
otherwise defined in the policy, and shall mean the party, person or entity having defined rights under the policy.

These definitions may be found in various parts of the policy and any applicable riders or endorsements.

ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED




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                               Insurance Act
U-GU-1110-B IL                 Illinois Civil Union Act Policyholder Notice
U-GU-832-A MO                  Missouri - Notice to Policyholder
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EDGE-237-B                     Amendatory Endorsement - Oklahoma
EDGE-240-A                     Amendatory Endorsement - Rhode Island
EDGE-241-B                     Amendatory Endorsement - South Carolina
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EDGE-243-B                     Amendatory Endorsement - Tennessee
EDGE-246-B                     Amendatory Endorsement - Vermont
EDGE-248-B                     Amendatory Endorsement - Washington
EDGE-249-A                     Amendatory Endorsement - West Virginia
EDGE-250-A                     Amendatory Endorsement - Wisconsin
EDGE-251-A                     Amendatory Endorsement - Wyoming
EDGE-252-A VA                  Amendatory Endorsement - Virginia
EDGE-309-A                     Endorsement Limited Coverage for Electronic Data Programs or
                               Software
U-GU-681-C CW                  Exclusion of Certified Acts of Terrorism
EDGE-303-A                     Policy Changes Endorsement
EDGE-313-B                     Cyber Event Coverage Endorsement
                               Deductible Endorsement 05




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Policy Number
ERP8757927-01

Named Insured and Mailing Address
Lindenwood University
Kingshighway & First Capital Dr.
St. Charles, MO 63301


hereafter referred to as the First Named Insured.
The following are all hereafter referred to as the "Insured", including legal representatives.
The First Named Insured; and
any subsidiary of the First Named Insured. The First Named Insured's interest in any partnership, joint venture or other
legal entity in which the First Named Insured has management control or ownership as now constituted or hereafter is
acquired.

When any Insured described above is a party to a written contract or agreement on file, that requires a legal entity to be
identified as an additional insured under this Policy, this Policy includes the legal entity as an additional insured, as its interest
may appear, for physical damage to insured property which is the subject of the written contract or agreement on file, before
any loss occurs; and does not provide any Time Element Coverage to the legal entity, except as provided under Leasehold
Interest Coverage of this policy or as specifically endorsed to the policy.

Producer
Marsh
540 W Madison
Suite 1200
Chicago, IL 60661

Policy Period
Begins July 1, 2019 at 12:01 AM; Ends July 1, 2020 at 12:01 AM

Insurance is provided by the following Stock Company
Zurich American Insurance Company
hereafter referred to as the "Company",

Proportionate Share of Company for Loss or Damage
This Policy’s proportionate share of loss or damage after the application of any deductible amount is:
         100%          Quota Share        Being $100,000,000 part of a $100,000,000 primary loss layer


Annual Policy Premium                        Surcharges, Taxes & Fees                       Total Policy Premium
$98,420.08                                   Not Applicable                                 $98,420.08
PREMIUM PAYABLE
This Policy is issued in consideration of an initial premium. The First Named Insured shown on the Policy is responsible for
the payment of all premiums and will be the payee for any return premiums paid by the Company. Premiums will be paid in
the currency designated in Section II-2.02.




                                                                                                                 EDGE-D-101-B (12/10)
                                                                                                                          1 D
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SECTION I – POLICY APPLICABILITY
  1.01.      INSURING AGREEMENT
             This Policy Insures against direct physical loss of or damage caused by a Covered Cause of Loss to Covered
             Property, at an Insured Location described in Section II-2.01, all subject to the terms, conditions and
             exclusions stated in this Policy.

             No coverage can be provided in violation of any U.S. economic or trade sanctions laws or regulations. Such
             coverage, which may be in violation of any U.S. economic or trade sanctions laws and regulations, shall be
             null and void and the Company shall not be liable to make any payments or provide any defense under this
             policy.

  1.02.      APPLICATION OF POLICY PERIOD
             In the event of a claim the Policy Period is measured by local time at the location where the direct physical
             loss or damage occurs.

  1.03.      TERRITORY

SECTION II - DECLARATIONS
  2.01       INSURED LOCATION
             This Policy insures an Insured Location unless otherwise provided. Any Location in an excluded territory
             as defined within 1.03. is not an Insured Location under this Policy.
             An Insured Location is a Location
  2.01.01.       Listed on a Schedule of Locations on file with Company; per most recent statement of values.
  2.01.02.       Covered as a Miscellaneous Unnamed Location ; and
  2.01.03.       Covered under the terms and conditions of the Newly Acquired Coverage or Errors and Omissions
                 Coverage.

  2.02.          CURRENCY
                 All amounts, including deductibles and limits of liability, indicated in this Policy are in USD unless
                 otherwise indicated by the three-letter currency designator as defined in Table A.1 Currency and Funds
                 code list, International Standards Organization (ISO) 4217, edition effective at inception of this Policy.

  2.03.          POLICY LIMITS OF LIABILITY
                 The Policy Limit is $100,000,000 for the total of all coverages combined regardless of the number of
                 Locations involved subject to the following provisions:

  2.03.01.       The Company will pay no more in any one (1) Occurrence than its proportionate share of the Policy
                 Limit.

  2.03.02.       Limits of Liability stated below or elsewhere in this Policy are part of and not in addition to the Policy
                 Limit.
  2.03.03.       When an Annual Aggregate Limit of Liability is shown, the Company's maximum amount payable will
                 not exceed such Limit of Liability during the Policy Year regardless of the number of Locations,
                 Coverages or Occurrences involved.
  2.03.04.       The most the Company will pay in an Occurrence caused by a Described Cause of Loss is the Limit of
                 Liability for that Described Cause of Loss.


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2.03.05.           When this Policy is part of an International Insurance Program and an Occurrence results in loss
                   payable under more than one policy issued to the Named Insured by the Company, or its affiliated or
                   representative companies, the maximum amount payable in the aggregate under all such policies will be
                   the applicable Limit of Liability indicated in this Policy regardless of the number of Locations,
                   Coverages or Covered Causes of Loss involved.
2.03.06.           Limits of Liability in an Occurrence apply to the total loss or damage, including any insured Time
                   Element loss, at all Locations and for all Coverages involved.
2.03.07.           Limits of Liability

                        The following are the Limits of Liability in an Occurrence unless otherwise shown. The Company
                        will pay no more in any one (1) Occurrence than its proportionate share.

                        The limit of Liability we show for a coverage part is the maximum amount we will pay for the
                        coverage part.

                        Sublimits within a coverage part may reduce the amount payable under a coverage part.
                        When this Policy is part of an International Insurance Program and a Limit of Liability is shown
                        for a Location(s), Coverage(s) or Covered Causes of Loss applying in a Prohibited Jurisdiction,
                        such limit is the most the company would pay for that Location(s), Coverage(s) or Covered Causes
                        of Loss as applicable under the FINANCIAL INTEREST OF THE FIRST NAMED INSURED
                        Coverage. Listing of a Limit of Liability for a location which may be in whole or part located
                        within a Prohibited Jurisdiction shall not extend coverage to any Prohibited Jurisdiction.

           Limits of Liability and Coverage Part
           Limit                         Description
           $100,000,000                  $100,000,000 Property Damage (PD) and Time Element (TE) combined at
                                         scheduled locations: on file with the Company per most recent statement of values,
                                         except for:

                                         But not to exceed:
                                         $100,000,000 Extra Expense
                                         $100,000,000 Leasehold Interest

                                         $1,000,000 per occurrence limit with a $5,000,000 in the aggregate limit with respect
                                         to resulting damage (other than water damage when caused by pipe break) from
                                         defective design or specifications, faulty material or faulty workmanship as insured
                                         under this policy.

                                         $10,000,000 for scheduled broadcast and cell towers with a further sublimit of
                                         $250,000 for unscheduled broadcast and cell towers.

                                         Occurrence - All loss(es) or damage that is attributable directly or indirectly to one
                                         Covered Cause of Loss. All such loss(es) or damage will be treated as one
                                         Occurrence. However, if Occurrence is specifically defined elsewhere in this
                                         Policy, that definition will apply to the applicable coverage provided.
           $100,000,000                  ACCOUNTS RECEIVABLE
           $1,000,000                    COMPUTER SYSTEMS DAMAGE
                                         in the Annual Aggregate

                                         Note: this is inclusive of the Loss Fund Layer, so would not be provided under
                                         our policy.




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     $25,000,000        CONTINGENT TIME ELEMENT per occurrence but not to exceed a $25,000,000
                        limit per Direct Dependent Time Element Location
                        NCP for Earth Movement, Flood, Named Storm or Volcanic Eruption;
                        NCP per Indirect Dependent Time Element Location;
                        $5,000,000 limit per ATTRACTION PROPERTY
     $100,000,000       DEBRIS REMOVAL
     $25,000,000        DECONTAMINATION COSTS
     $100,000,000       DEFERRED PAYMENTS
     $100,000,000       ERRORS AND OMISSIONS
     $5,000,000         EXPEDITING COSTS
     $5,000,000         FINE ARTS but not to exceed $500,000 limit per item
                        in the annual aggregate
     $5,000,000         FIRE DEPARTMENT SERVICE CHARGE
     $100,000,000       INCREASED COST OF CONSTRUCTION
     $5,000,000         LAND AND WATER CONTAMINANT CLEANUP, REMOVAL AND DISPOSAL
                        in the Annual Aggregate.
     $10,000,000        LAND IMPROVEMENTS
                        $10,000,000, but not to exceed $1,000,000 for trees and shrubs per occurrence with a
                        maximum of $5,000 per tree or shrub.
     $25,000,000        MISCELLANEOUS PERSONAL PROPERTY
                        $5,000,000 per occurrence and in the annual aggregate as respects loss or damage to
                        personal property while outside of the United States of America and Canada,
                        excluding coverage for Terrorism.

                        $2,500,000 per occurrence for personal Property of Others includings students and
                        patients not to exceed $2500 per person.




     $25,000,000        MISCELLANEOUS UNNAMED LOCATION
     $25,000,000        OFF PREMISES SERVICE INTERRUPTION
     $5,000,000         PROFESSIONAL FEES
     $5,000,000         RADIOACTIVE CONTAMINATION
     $2,500,000         RESEARCH ANIMALS in excess of $2,500,000
                        Subject to a maximum of $100,000 per animal
     $1,000,000         TENANTS PROHIBITED ACCESS
     $25,000,000        TRANSIT
     $100,000,000       VALUABLE PAPERS AND RECORDS
     $50,000,000        NEW CONSTRUCTION OR ADDITIONS
                        $50,000,000 per occurrence on all projects scheduled and $25,000,000 per occurence
                        for all projects not scheduled as of 7/1/2019.
                        Not to exceed $10,000,000 per occurrence for soft costs.
     $10,000,000        OFF PREMISES STORAGE FOR PROPERTY UNDER CONSTRUCTION
     $100,000           CURRENCY DEVALUATION
     $2,500,000         DIFFERENCE IN CONDITIONS/DIFFERENCE IN LIMITS
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           $2,500,000                   FINANCIAL INTEREST OF THE FIRST NAMED INSURED
           $100,000                     TAX LIABILITY
           $100,000                     TENANTS AND NEIGHBORS LIABILITY
           $100,000,000                 BREAKDOWN OF EQUIPMENT not to exceed:
                                        $5,000,000 for AMMONIA CONTAMINATION
                                        $5,000,000 for SPOILAGE

           $0                           EARTH MOVEMENT
                                        NCP - see Midwestern Higher Education Compact Policy No. ERP-0198115-03 for
                                        Flood/Earth Movement coverages.
           $0                           FLOOD
                                        NCP - see Midwestern Higher Education Compact Policy No. ERP-0198115-03 for
                                        Flood/Earth Movement coverages.
           $500,000,000                 NAMED STORM in the Annual Aggregate
2.03.08.                Causation Definition: The following term is included in the definition of the Peril as indicated:

           Storm Surge is part of Flood

2.03.09.                Time and Distance Limitations: In addition to the Limits of Liability shown elsewhere in this Policy,
                        the following limitations apply:

           Located within 1 mile(s) of the Insured Location.             ATTRACTION PROPERTY
           30 day period for property but not to exceed a                CIVIL OR MILITARY AUTHORITY
           $50,000,000 limit.
           30 day(s) but not to exceed a $10,000,000 limit.              The actual Time Element loss sustained by the
                                                                         Insured arising out of the Delay in Completion
           24 months                                                     GROSS EARNINGS
           365 day(s)                                                    EXTENDED PERIOD OF LIABILITY
           180 day(s)                                                    ORDINARY PAYROLL
           NCP                                                           GROSS PROFIT
           NCP                                                           WAGES
           30 day period                                                 IMPOUNDED WATER
           30 day period for property but not to exceed a                INGRESS/EGRESS
           $50,000,000 limit.
           90 day period but not to exceed a $50,000,000 limit per       NEWLY ACQUIRED
           Location.
           48 hours for Gross Earnings or Gross Profit: not to           PROTECTION AND PRESERVATION OF
           exceed a $5,000,000 limit per Location.                       PROPERTY
           12 months but not to exceed a $10,000,000 limit.              RESEARCH AND DEVELOPMENT




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2.03.10.              Time Specifications: As follows:

           EARTH MOVEMENT Occurrence                                                              168 hours
           NAMED STORM Occurrence                                                                  72 hours
           Cancellation for non-payment of premium                                                 10 days
           Cancellation for any other reason                                                       90 days

2.03.11.              Valuation: As follows:

           Finished Stock                                                Selling Price

           Merchandise that carries the                                  Replacement Cost
           Insured's brand or trade name
           All other Merchandise                                         Replacement Cost

           Vehicles                                                      Actual Cash Value


2.04.            QUALIFYING PERIOD
                 For the Coverages listed below the following Qualifying Period applies:

           OFF PREMISES SERVICE INTERRUPTION PROPERTY DAMAGE &                                     24 Hours
           TIME ELEMENT COVERAGE applies separately at each location.
           COMPUTER SYSTEMS DAMAGE COVERAGE                                                        48 Hours
           TENANTS PROHIBITED ACCESS COVERAGE applies separately at each                           48 Hours
           location.
           NEW CONSTRUCTION AND ADDITIONS: Delay in Completion                                     30 Days
           applies separately at each location.


2.05.            DEDUCTIBLES
                 Each claim for loss or damage as insured against arising out of any one (1) Occurrence shall be adjusted
                 separately. The Company shall not be liable unless the Insured sustains loss or damage in excess of the
                 deductible(s) stated below and then only for the proportionate share of such excess amount(s).

2.05.01.              A deductible that applies on a per Location basis will apply separately to each Location where the
                      physical loss or damage occurred regardless of the number of Locations involved in the Occurrence.

2.05.02.              Unless stated otherwise, if two or more deductibles apply to an Occurrence, the total deducted will
                      not exceed the largest applicable deductible. If two or more deductibles apply on a per Location
                      basis in an Occurrence, the largest deductible applying to each Location will be applied separately
                      to each such Location.




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2.05.03.         If separate Property Damage and Time Element loss deductibles are shown, then the deductibles shall
                 apply separately.

2.05.04.         When a “minimum deductible” per Occurrence is shown and is applicable to an Occurrence, the
                 “minimum deductible” is the minimum dollar amount of covered damage that the Insured will retain
                 in any one (1) Occurrence. The amount retained for purposes of applying the “minimum deductible”
                 is the sum of:

2.05.04.01.          the specified location deductible for each location where the amount of covered damage exceeds
                     the specified location deductible; and

2.05.04.02.          the amount of covered damage for each location where the amount of covered damage is less
                     than specified location deductible.
2.05.05.         For the Insured's International Insurance Program, it is agreed that for the purpose of the
                 application of the deductible(s), that the deductible(s) amounts that apply to types of coverage, causes
                 of loss, specific Locations or specific property will be subject to the deductible(s) under this Policy.

                 If the deductible(s) under the Specific Local Policy or FoS (Freedom of Services) policy is
                 greater than the applicable deductible(s) as shown in the Declarations for the loss for the same
                 Occurrence payable under this Policy, the Company shall undertake to reimburse the amount that
                 exceeds the applicable deductible(s) as shown in the Declarations of this policy.

                 If the deductible(s) under the Specific Local Policy or FoS (Freedom of Services) policy is less
                 than the applicable deductible(s) as shown in the Declarations for the loss for the same Occurrence
                 payable under this Policy, then the difference between the applicable deductible under this Policy and
                 the applicable deductible under the Specific Local Policy or FoS (Freedom of Services) policy
                 will be applied under this Policy.

2.05.06.         Policy Deductible(s)
2.05.06.01.      $2,500,000 combined Property Damage (PD) and Time Element (TE)
                 2.05.05 Policy Deductible

                 Member Deductible plus Loss Fund Layer for combined coverages

                 The Member Deductible applicable to a Member is indicated in the Member Deductible Endorsement
                 attached to this Policy. Further, in the event a Member chooses a Member Annual Aggregate
                 Deductible shown in Member Deductible Endorsement, the amount between the Member
                 Maintenance Deductible shown in Member Deductible Endorsement and the Member Deductible
                 shown in Member Deductible Endorsement shall contribute to the exhaustion of the Member Annual
                 Aggregate Deductible shown in Member Deductible Endorsement, if applicable. Upon the
                 exhaustion of this aggregate deductible amount, the Member Deductible shall be the Member
                 Maintenance Deductible shown in Member Deductible Endorsement per occurrence for any new
                 losses for the remainder of the policy term.

                 The Loss Fund Layer is $2,500,000 per Occurrence subject to a $8,250,000 Loss Fund Annual
                 Aggregate. Once the Loss Fund Annual Aggregate is exhausted, no further Loss Fund Layer amounts
                 will be included in the Policy Deductible. Any coverage provided by the Loss Fund Layer insurer
                 which is not provided by this Policy will not contribute to exhaustion of the Loss Fund Annual
                 Aggregate.
                 per Occurrence except as follows:

2.05.06.02.      Exceptions to Policy Deductible(s)
                 Member Deductible plus Loss Fund Layer for combined coverages

2.05.06.02.01.   Contingent Time Element
                 Member Deductible plus Loss Fund Layer for combined coverages



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2.05.06.02.02.      Earth Movement
                    The following deductibles apply to loss or damage caused by or resulting from Earth Movement.
                    This Earth Movement deductible will apply regardless of any other deductibles that may also apply.
2.05.06.02.02.01    In the event the Member Deductible shown in Addendum Member Deductible Endorsement is less
                    than $100,000, a minimum deductible of $100,000 shall apply as respects losses arising from the
                    peril of earthquake.

                    Except as respects the peril of Earthquake occurring at the following locations:

                       Southern Illinois University
                       a. Carbondale campus
                       b. Edwardsville campus

                       Southeast Missouri State University
                       the sum to be deducted per occurrence shall be one percent (1%) of the actual value per unit of
                    insurance at the time such loss occurs subject to a minimum of $50,000 per occurrence

                    As respects the peril of Earthquake occurring at locations in the counties of Clallam, Island,
                    Jefferson, King, Kitsap, Mason, Pierce, San Juan, and Thurston in the State of Washington, the sum
                    to be deducted per occurrence shall be five percent (5%) of the actual value per unit of insurance at
                    the time such loss occurs subject to a minimum of $250,000 per occurrence.

                    As respects the peril of Earthquake occurring at locations in the counties of Skagit, Snohomish, and
                    Whatcom in the State of Washington, the sum to be deducted per occurrence shall be three percent
                    (3%) of the actual value per unit of insurance at the time such loss occurs subject to a minimum of
                    $250,000 per occurrence.
2.05.06.02.03.      Flood
                    The following deductibles apply to loss or damage caused by or resulting from Flood. This Flood
                    deductible will apply regardless of any other deductibles that may also apply.
2.05.06.02.03.01.   $100,000 combined Property Damage (PD) and Time Element (TE)
                    per Occurrence except as follows:
                    $100,000 or the Member Deductible, which ever is greater, per building subject to a combined
                    deductible maximum of $1,000,000 per occurrence.



2.05.06.02.04.      Named Storm
                    The following deductibles apply to loss or damage caused by or resulting from Named Storm. The
                    Named Storm deductible will apply regardless of any other deductibles that may also apply.
2.05.06.02.04.01.   Member Deductible plus Loss Fund Layer for combined coverages

2.05.06.02.05.      Breakdown of Equipment Deductible(s)
2.05.06.02.05.01.   Member Deductible plus Loss Fund Layer for combined coverages

2.05.06.02.06.      Water or Liquid Damage Deductible(s)
                    The following deductible applies to loss or damage caused by or resulting from covered water or
                    other liquids not otherwise excluded, but not caused by flood or discharge in response to a fire.
2.05.06.02.06.01.   $100,000 or Member Deductible, which ever is greater, plus Loss Fund Layer for combined
                    coverages
2.05.06.02.07.      Financial Interest of the First Named Insured Deductibles
2.05.06.02.07.01.   $100,000 or Member Deductible, which ever is greater, plus Loss Fund Layer for combined
                    coverages


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2.05.06.02.08.      Other Deductibles
2.05.06.02.08.01    Convective Storm (hail and/or tornado) subject to $300,000 or Member Deductible, which ever is
                    greater, per occurrence




Authorized Representative                                         Date




Print Name of Authorized Rep.                                     Office




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SECTION III - PROPERTY DAMAGE
  3.01.         COVERED PROPERTY
                This Policy insures the following property, unless otherwise excluded elsewhere in this Policy, located
                at an Insured Location or within 1,000 feet thereof or as otherwise provided for in this Policy.

  3.01.01.          The Insured's interest in buildings (or structures) including new construction, additions, alterations,
                    and repairs that the Insured owns, occupies, leases or rents.

  3.01.02.          The Insured's interest in Personal Property, including Improvements and Betterments.

  3.01.03.          Property of Others will not extend any Time Element Coverage provided under this Policy to the
                    owner of the property and is limited to property:

  3.01.03.01.           In the Insured's care, custody or control;

  3.01.03.02.           In which the Insured has an insurable interest or obligation;

  3.01.03.03.           For which the Insured is legally liable; or

  3.01.03.04.           For which the Insured has agreed in writing prior to any loss or damage to provide coverage.

  3.01.04.          Personal Property of officers and employees of the Insured.

  3.02.         PROPERTY NOT COVERED
                This Policy does not insure the following property:

  3.02.01.          Money, precious metal in bullion form, notes, or Securities.

  3.02.02.          Watercraft or aircraft, except when unfueled and manufactured by the Insured.

  3.02.03.          Spacecraft, satellites, associated launch vehicles and any property contained therein.

  3.02.04.          Animals, standing timber and growing crops.

  3.02.05.          Bridges and tunnels when not part of a building or structure, dams, dikes, piers, wharfs, docks or
                    bulkheads.

  3.02.06.          Land, water or any other substance in or on land; except this exclusion does not apply to:

  3.02.06.01.           Land Improvements, or

  3.02.06.02.           Water that is contained in any enclosed tank, piping system or any other processing
                        equipment.

  3.02.07.          Land Improvements at a golf course.

  3.02.08.          Mines, mineshafts, caverns and any property contained therein.

  3.02.09.          Vehicles of officers and employees of the Insured or vehicles otherwise insured for physical loss or
                    damage.




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3.02.10.          Transmission and distribution lines situated beyond 1,000 feet of the Insured Location.

3.02.11.          Property in transit, except as otherwise provided by the Transit Coverage of this Policy.

3.02.12.          Contraband or property in the course of illegal transit or trade.

3.02.13.          Property more specifically insured, except for any excess beyond such more specific insurance
                  limit.

3.02.14.          Property sold by the Insured under conditional sale, trust agreement, installment plan or other
                  deferred payment plan after delivery to customers except as provided by the Deferred Payments
                  Coverage of this Policy.

3.02.15.          Electronic Data, Programs and Software, except when they are Stock in Process, Finished
                  Stock, Raw Materials, supplies or Merchandise or as otherwise provided by the Computer
                  Systems Damage Coverage or Valuable Papers and Records Coverage of this Policy.

3.03.         EXCLUSIONS
              The following exclusions apply unless specifically stated elsewhere in this Policy:

3.03.01.          This Policy excludes the following unless it results from direct physical loss or damage not
                  excluded by this Policy.

3.03.01.01.           Contamination, and any cost due to Contamination including the inability to use or occupy
                      property or any cost of making property safe or suitable for use or occupancy, except as
                      provided by the Radioactive Contamination Coverage of this Policy.

3.03.01.02.           Changes in size, color, flavor, texture or finish.

3.03.01.03.           Loss or damage arising from the enforcement of any law, ordinance, regulation or rule
                      regulating or restricting the construction, installation, repair, replacement, improvement,
                      modification, demolition, occupancy, operation or other use, or removal including debris
                      removal of any property.

3.03.02.          This Policy excludes:

3.03.02.01.           Loss or damage arising from delay, loss of market, or loss of use.

3.03.02.02.           Indirect or remote loss or damage.

3.03.02.03.           Loss or damage arising from the interference by strikers or other persons with rebuilding,
                      repairing or replacing property or with the resumption or continuation of the Insured's
                      business.

3.03.02.04.           Unexplained disappearance; mysterious disappearance; or shortage disclosed on taking
                      inventory when the factual existence of such shortage is solely dependant on inventory
                      records.

3.03.02.05.           Loss or damage resulting from the Insured's suspension of business activities, except to the
                      extent provided by this Policy.

3.03.02.06.           Any applicable Special Coverage, Described Cause of Loss, or portion of coverage if a Limit
                      of Liability is identified as NCP in Section II-Declarations.




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3.03.03.         This Policy excludes direct physical loss or damage directly or indirectly caused by or resulting
                 from any of the following regardless of any other cause or event, whether or not insured under this
                 Policy, contributing concurrently or in any other sequence to the loss:

3.03.03.01.          Nuclear reaction or radiation, any by-product of nuclear reaction, any radiological material or
                     radioactive contamination however caused; but if direct physical loss of or damage to Covered
                     Property by fire or sprinkler leakage results, the Company will pay for the loss or damage
                     caused by the fire or sprinkler leakage.

3.03.03.02.          War, invasion, act of foreign enemy, hostilities or warlike operations (whether war be declared
                     or not), civil war, rebellion, revolution, insurrection, civil commotion assuming the
                     proportions of or amounting to an uprising, military or usurped power, nationalization,
                     confiscation, requisition, seizure or destruction by the government or any public authority,
                     including action in hindering, combating or defending against any of these. However,
                     destruction by order of governmental or public authority to prevent spread of fire is covered.

3.03.03.03.          Any weapon of war or of mass destruction employing biological or chemical warfare, atomic
                     fission, atomic fusion, radioactive force or radioactive material, whether in time of peace or
                     war regardless of who commits the act.

3.03.03.04.          Dishonest, fraudulent or criminal acts by the Insured or any of the Insured's associates,
                     proprietors, partners, officers, employees, directors, trustees or authorized representatives.

                     This exclusion does not apply to acts of direct physical loss or damage resulting from a
                     Covered Cause of Loss intentionally caused by any individual specified above and done
                     without the knowledge of the Insured. In no event does this Policy cover loss caused by theft
                     by any individual above.

3.03.03.05.          Lack of the following services when caused by an event off the Insured Location (except as
                     provided in Off Premises Service Interruption Property Damage and Time Element Coverage
                     of this Policy). However, if the lack of any of the following services results in a Covered
                     Cause of Loss, this exclusion does not apply to the loss or damage caused by the Covered
                     Cause of Loss.

3.03.03.05.01.           Incoming electricity, fuel, water, gas, steam, refrigerant;

3.03.03.05.02.           Outgoing sewage; or

3.03.03.05.03.           Incoming or outgoing voice, data or video.

3.03.04.         This Policy excludes the following but any resulting physical damage not otherwise excluded is
                 insured:

3.03.04.01.          Faulty, inadequate or defective design, specifications, workmanship, construction or materials
                     used.

3.03.04.02.          Loss or damage to stock or material attributable to manufacturing or processing operations
                     while such stock or material is being processed, manufactured, tested or otherwise worked on.

3.03.04.03.          Corrosion, depletion, deterioration, erosion, inherent vice, latent defect, rust, wear and tear.

3.03.04.04.          Changes of temperature (except to machinery or equipment) or changes in relative humidity,
                     all whether atmospheric or not.




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3.03.04.05.             Settling, cracking, shrinking, bulging or expansion of: foundations (including any pedestal,
                        pad, platform or other property supporting machinery), floors, pavements, walls, ceilings or
                        roofs.

3.03.04.06.             Insects, animals or vermin damage.

3.03.04.07.             Cumulative effects of smog, smoke, vapor, liquid and dust.

3.03.05.            Exclusions Applicable to Specific Jurisdictions:

3.03.05.01.             All Locations outside of the USA, its territories, possessions and missions, and the
                        Commonwealth of Puerto Rico:

3.03.05.01.01.              This Policy excludes loss or damage that is covered under any government or national
                            program, pool or scheme. This policy shall apply as excess of any amounts recoverable
                            under such programs, pools or schemes, subject to the Policy provisions, including
                            applicable exclusions, deductibles and limits, all as shown in this section and elsewhere in
                            this Policy.

3.03.05.01.02.              This Policy excludes physical loss or damage directly or indirectly caused by or resulting
                            from any Terrorist Activity regardless of any other cause or event, whether or not
                            insured under this Policy, contributing concurrently or in any other sequence to the loss.

3.03.05.02.             The Republic of South Africa, Transkei, Ciskei Bophuthatswana, Venda and South West
                        Africa (Namibia):

3.03.05.02.01.              This Policy excludes physical loss or damage directly or indirectly caused by or resulting
                            from any of the following regardless of any other cause or event, whether or not insured
                            under this Policy, contributing concurrently or in any other sequence to the loss:

3.03.05.02.01.01.                Civil commotion, labor disturbances, riot, strike, lockout, or public disorder or any
                                 act or activity which is calculated or directed to bring about any of the aforegoing.

3.03.05.02.01.02.                War, invasion, act of foreign enemy, hostilities or warlike operations (whether war be
                                 declared or not), or civil war.

3.03.05.02.01.03.                Mutiny, military rising, military or usurped power, martial law, or state of siege or
                                 any other event or cause which results in the proclamation or maintenance of martial
                                 law or state of siege.

3.03.05.02.01.04.                Insurrection, rebellion or revolution.

3.03.05.02.01.05.                Any act (whether on behalf of any organization, body or person or group of person(s)
                                 calculated or directed to overthrow or influence any state or government or any
                                 provincial, local or tribal authority by force or by means of fear, terrorism or
                                 violence.

3.03.05.02.01.06.                Any act which is calculated or directed to bring about loss or damage in order to
                                 further any political aim, objective or cause, or to bring about any social or economic
                                 change in protest against any state or government or any provincial, local or tribal
                                 authority, or for the purpose of inspiring fear in the public or any section thereof.

3.03.05.02.01.07.                Any attempt to perform any act referred to in 3.03.05.02.01.05. or 3.03.05.02.01.06.

3.03.05.02.01.08.                The act of any lawfully established authority in controlling, preventing, suppressing
                                 or in any other way dealing with any occurrence referred to in 3.03.05.02.01.




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3.03.05.02.02.        If the Company alleges that by 3.03.05.02.01. loss or damage is not covered by this
                      Policy, the burden of proving the contrary shall rest on the Insured.

3.03.05.02.03.        Any Occurrence for which a fund has been established in terms of the War Damage
                      Insurance and Compensation Act 1976 (No.85 of 1976) or any similar Act operative in
                      any of the territories to which this Policy applies.




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SECTION IV - TIME ELEMENT
  4.01.         LOSS INSURED
  4.01.01.        The Company will pay for the actual Time Element loss the Insured sustains, as provided in the
                  Time Element Coverages, during the Period of Liability. The Time Element loss must result from
                  the necessary Suspension of the Insured's business activities at an Insured Location. The
                  Suspension must be due to direct physical loss of or damage to Property (of the type insurable
                  under this Policy other than Finished Stock) caused by a Covered Cause of Loss at the Location,
                  or as provided in Off Premises Storage for Property Under Construction Coverages.

                  The Company will also pay for the actual Time Element loss sustained by the Insured, during the
                  Period of Liability at other Insured Locations. The Time Element loss must result from the
                  necessary Suspension of the Insured's business activities at the other Insured Locations. Such
                  other Location must depend on the continuation of business activities at the Location that
                  sustained direct physical loss or damage caused by a Covered Cause of Loss.

  4.01.02.        There is recovery only to the extent that the Insured is:

  4.01.02.01.         unable to make up lost production within a reasonable period of time not limited to the period
                      during which production is Suspended;

  4.01.02.02.         unable to continue such operations or services during the Period of Liability; and

  4.01.02.03.         able to demonstrate a loss of revenue for the operations, services or production Suspended.

  4.01.03.        The Company insures Time Element loss only to the extent it cannot be reduced by:

  4.01.03.01.         The Insured resuming business activities in whole or part;

  4.01.03.02.         Using damaged or undamaged property (including Raw Stock, Stock in Process or Finished
                      Stock) at the Insured Location or elsewhere;

  4.01.03.03.         Using the services or property of others;

  4.01.03.04.         Working extra time or overtime; or

  4.01.03.05.         The use of other Locations not covered under this Policy.

  4.01.03.06.         Any amount recovered under property damage coverage at selling price for loss or damage to
                      Merchandise.

  4.01.04.        The Company will include in any calculation the combined operating results of all Insured
                  Locations in determining the Time Element loss.

  4.01.05.        In determining the Time Element loss, the Company will evaluate the experience of the business
                  before and after the loss or damage and the probable experience had no direct physical loss or
                  damage occurred at an Insured Location during the Period of Liability.

  4.02.         TIME ELEMENT COVERAGES
  4.02.01.        GROSS EARNINGS-
  4.02.01.01.         Gross Earnings loss is the actual loss sustained by the Insured during the Period of Liability.




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4.02.01.02.         Gross Earnings value is determined as follows:

4.02.01.02.01.                  The sum of:

4.02.01.02.01.01.                    Total net sales value of production;

4.02.01.02.01.02.                    Total net sales of Merchandise;

4.02.01.02.01.03.                    The rental income; and

4.02.01.02.01.04.                    Other income derived from the Insured's business activities.

4.02.01.02.02.                  Less the cost of the following:

4.02.01.02.02.01.                    Raw Stock from which production is derived;

4.02.01.02.02.02.                    Supplies consisting of materials consumed directly in conversion of Raw Stock into
                                     Finished Stock or in supplying the service(s) sold by the Insured;

4.02.01.02.02.03.                    Merchandise sold, including related packaging materials; and

4.02.01.02.02.04.                    Service(s) purchased from outsiders (not Insured's employees) for resale, which do
                                     not continue under contract.

4.02.01.02.03.                  Gross Earnings loss is determined as follows:

                                Gross Earnings value that would have been earned during the Period of Liability, less
                                charges and expenses that do not necessarily continue during the Period of Liability.

                                Consideration shall be given to the continuation of normal charges and expenses,
                                including Ordinary Payroll for the number of consecutive days as stated in the
                                Declarations but not to exceed the limit shown for Ordinary Payroll, to the extent
                                necessary to resume the Insured's business activities with the same quality of service that
                                existed immediately preceding the loss.

4.02.01.02.04.                  This Policy will also pay the reasonable and necessary expenses incurred (except the cost
                                to extinguish a fire) by the Insured to reduce the amount of Gross Earnings loss during
                                the Period of Liability. This Policy will pay for such expenses to the extent that they do
                                not exceed the amount of Gross Earnings loss that otherwise would have been payable.
                                This provision will not pay for the cost of permanent repair or replacement of property
                                that has suffered direct physical loss or damage.

4.02.01.02.05.                  This Policy will also pay the increased tax liability incurred by the Insured due to the
                                profit portion of a Gross Earnings loss payment being greater than the tax liability
                                incurred on the profits that would have been earned had no loss occurred.

4.02.02.                EXTENDED PERIOD OF LIABILITY
                        Upon the termination of the coverage for Gross Earnings loss under 4.02.01.01. this Policy will
                        continue to pay the actual Gross Earnings loss sustained by the Insured until the earlier of:

4.02.02.01.                 The date the Insured could restore its business with due diligence, to the condition that would
                            have existed had no direct physical loss or damage occurred to the Insured's Covered Property;
                            or

4.02.02.02.                 The number of consecutive days as stated in the Declarations




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4.02.02.03.          Exclusion 4.02.06.01.02.01. is deleted during the Extended Period of Liability and is
                     replaced with:

                     4.02.06.01.02.01.     A reduction in sales after the Extended Period of Liability ends due
                                           to suspension, cancellation or lapse of any lease, contract, license or
                                           orders.

4.02.03.         EXTRA EXPENSE
                 The Company will pay for the reasonable and necessary Extra Expenses incurred by the Insured,
                 during the Period of Liability, to resume and continue as nearly as practicable the Insured's normal
                 business activities that otherwise would be necessarily suspended, due to direct physical loss of or
                 damage caused by a Covered Cause of Loss to Property of the type insurable under this policy at
                 a Location.

                 The Company will reduce the amount payable as Extra Expense by the fair market value remaining
                 at the end of the Period of Liability for property obtained in connection with the above.

                 Extra Expenses mean that amount spent to continue the Insured's business activities over and above
                 the expenses the Insured would have normally incurred had there been no direct physical loss of or
                 damage caused by a Covered Cause of Loss to Property of the type insurable under this policy at
                 a Location. Extra Expense does not include any Gross Earnings loss or Gross Profit loss, the cost
                 of permanent repair or replacement of property that has suffered direct physical loss or damage, or
                 expenses otherwise payable elsewhere in the Policy.

4.02.04.         LEASEHOLD INTEREST
                 The Company will pay for the actual Leasehold Interest loss incurred by the Insured (as lessee)
                 resulting from direct physical loss of or damage caused by a Covered Cause of Loss to a building
                 (or structure) which is leased and not owned by the Insured, as follows:

4.02.04.01.              If the building (or structure) becomes wholly untenantable or unusable and the lease
                         agreement requires continuation of the rent, the Company will pay the Insured the present
                         value of the actual rent payable for the unexpired term of the lease, not including any
                         options;

4.02.04.02.              If the building (or structure) becomes partially untenantable or unusable and the lease
                         agreement requires continuation of the rent, the Company will pay the Insured for the
                         present value of the proportionate amount of the actual rent payable for the unexpired
                         term of the lease, not including any options; or

4.02.04.03.              If the lease is cancelled by the lessor pursuant to the terms of the lease agreement or by
                         operation of law, this Policy will pay the Insured for their Lease Interest for the first
                         three (3) months following the loss or damage and for their Net Lease Interest for the
                         remaining unexpired term of the lease.

4.02.04.04.              The Insured must use any suitable property or service owned, controlled, or obtainable
                         from any source to reduce the loss.

4.02.04.05.              In addition to the exclusions elsewhere in this Policy, the Leasehold Interest Coverage
                         excludes:

4.02.04.05.01.           Any increase in the Leasehold Interest loss resulting from the suspension, lapse or
                         cancellation of any lease;

4.02.04.05.02.           Any loss from the Insured exercising an option to cancel the lease; or




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4.02.04.05.03.           Any loss from an act or omission by the Insured that constitutes default under the lease.

4.02.05.         GROSS PROFIT
                 Gross Profit applies to Insured Locations outside of the USA, its territories and possessions and
                 the Commonwealth of Puerto Rico.

4.02.05.01.          Gross Profit loss is determined as follows:

                     [{Standard Turnover} minus {Turnover during the Period of Liability}] multiplied by [
                     Rate of Gross Profit] plus:

4.02.05.01.01.           The expenses, (except the cost to extinguish a fire), that the Insured incurs during the
                         Period of Liability for the sole purpose of minimizing any reduction in Turnover. These
                         expenses are not to exceed the amount produced by multiplying the Rate of Gross Profit
                         by the amount of any reduction in Turnover avoided as a result of such expenses; minus

4.02.05.01.02.           The sum of all expenses, payable out of Gross Profit, which cease or are reduced during
                         the Period of Liability; minus

4.02.05.01.03.           Wages that continue in excess, of the number of consecutive days as stated in the
                         Declarations or the limit shown, for Wages.

4.02.05.02.          If during the Period of Liability property is sold or services rendered elsewhere than at the
                     Insured Location for the benefit of the Insured's business activities either by the Insured or by
                     others on the Insured's behalf, the money paid or payable in respect of such sales or services
                     shall be brought into account in arriving at the Turnover during the Period of Liability.

4.02.05.03.          Adjustments will be made if any shortage in Turnover due to the direct physical loss or
                     damage is postponed by reason of the Turnover being temporarily maintained from
                     accumulated stocks of finished goods in warehouses and/or depots.

4.02.05.04.          Adjustments will be made to Rate of Gross Profit and Standard Turnover as necessary to
                     provide for: the trend, variations in, or special circumstances affecting the Insured's business
                     activities either before or after the physical loss or damage, or which would have affected the
                     Insured's business activities had the physical loss or damage not occurred. Adjusted figures
                     shall represent as nearly as may be reasonably practicable the results which but for the
                     physical loss or damage would have been obtained during the Period of Liability.

4.02.05.05.          This Policy will also pay the increased tax liability incurred by the Insured due to the profit
                     portion of a Gross Profit loss payment being greater than the tax liability of the profits that
                     would have been incurred had no loss occurred.

4.02.05.06.          Exclusion 4.02.06.01.02.01. is deleted for Gross Profit loss and is replaced with:

                     4.02.06.01.02.01.     A reduction in sales after the Period of Liability ends due to
                                           suspension, cancellation or lapse of any lease, contract, license or
                                           orders.

4.02.06.         EXCLUSIONS
                 In addition to the exclusions elsewhere in this Policy, the following exclusions apply to Time
                 Element Coverage;

4.02.06.01.          This Policy does not insure against:




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4.02.06.01.01.                Any loss during any idle period that would have been experienced had the Suspension of
                              business activities not occurred. This includes, but is not limited to, when production,
                              operation, services, delivery or receipt of goods or services or any other business activities
                              would have ceased, or would not have taken place or would have been prevented due to:

4.02.06.01.01.01.                 Planned or rescheduled shutdown;

4.02.06.01.01.02.                 Strikes or other work stoppage; or

4.02.06.01.01.03.                 Any reason other than physical loss or damage insured by this Policy.

4.02.06.01.02.                Any increase in Time Element loss due to:

4.02.06.01.02.01.                 Suspension, cancellation or lapse of any lease, contract, license or orders;

4.02.06.01.02.02.                 Fines or damages for breach of contract or for late or non-completion of orders;

4.02.06.01.02.03.                 Penalties of any nature; or

4.02.06.01.02.04.                 Any other consequential or remote factors.

4.02.06.01.03.                Any loss resulting from loss or damage to Finished Stock, nor the time required for their
                              reproduction.

4.02.06.01.04.                Any Time Element loss due to physical loss or damage not insured by this Policy on or
                              off of the Insured Location.

                              However, in the event that a Suspension is due to a Covered Cause of Loss and during
                              such Suspension a loss that is otherwise excluded occurs, the Company will pay for the
                              Time Element loss which is directly caused by the Covered Cause of Loss to Covered
                              Property under this Policy.

4.02.06.01.05.                Any Time Element loss resulting from damage to Property of Others; however this
                              exclusion does not apply to Time Element loss suffered by the Insured as a direct result of
                              the damage to Property of Others.

4.03.               PERIOD OF LIABILITY
4.03.01.              The Period of Liability applying to all Time Element Coverages, except Gross Profit and
                      Leasehold Interest, and as shown below or if otherwise provided under any Special Coverage, and
                      subject to any Time Limit provided in 2.03.09., is as follows:

4.03.01.01.               For building and equipment: The period starting from the time of physical loss or damage of
                          the type insured against and ending when with due diligence and dispatch the building and
                          equipment could be repaired or replaced, and made ready for operations under the same or
                          equivalent physical and operating conditions that existed prior to the damage. The expiration
                          of this Policy will not limit the Period of Liability.

4.03.01.02.               For building and equipment under construction: The equivalent of the above period of time
                          will be applied to the level of business that reasonably would have been achieved after
                          construction and startup would have been completed had there been no direct physical loss or
                          damage. Due consideration will be given to the actual experience of the business after
                          completion of the construction and startup.




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4.03.01.03.         For Stock in Process and Merchandise: The period of time required with the exercise of due
                    diligence and dispatch to restore Stock in Process to the same state of manufacture in which it
                    stood at the inception of the interruption of production or suspension of business operations or
                    services and to replace physically damaged Merchandise.

4.03.01.04.         For Raw Materials and supplies: The period of time of actual interruption of production or
                    suspension of operations or services resulting from the inability to get suitable Raw Materials
                    and supplies to replace Raw Materials and supplies damaged, but limited to that period for
                    which the damaged Raw Materials and supplies would have supplied operating needs.

4.03.02.        The Period of Liability applying to Gross Profit is as follows:

4.03.02.01.         The period starting from the time of direct physical loss or damage of the type insured against
                    and ending not later than the period of time shown in 2.03.09., during which period the results
                    of the business shall be directly affected by such direct physical loss or damage. The
                    expiration of this Policy will not limit the Period of Liability.

4.03.02.02.         For property under construction: The period starting on the date that production, business
                    operation or service would have commenced if physical damage of the type insured against
                    had not happened and ending not later than the period of time shown in 2.03.09., during which
                    period the results of the business shall be directly affected by such damage. The expiration of
                    this Policy will not limit the Period of Liability.

                    The Rate of Gross Profit and Standard Turnover will be based on the experience of the
                    business after construction is completed and the probable experience during the Period of
                    Liability.

4.03.03.        The Period of Liability applying to all Time Element Coverage, except Gross Profit and Leasehold
                Interest, or if otherwise provided under any Special Coverage, and subject to any Time Limit
                provided in 2.03.09., does not include any additional time due to the Insured's inability to resume
                operations for any reason, including but not limited to:

4.03.03.01.         Making changes to equipment;

4.03.03.02.         Making changes to the buildings or structures except as provided in the Increased Costs of
                    Construction Coverage of the Special Coverages section; or

4.03.03.03.         Re-staffing or retraining employees.




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SECTION V - SPECIAL COVERAGES & DESCRIBED CAUSES OF LOSS
 5.01.         OPERATION OF SPECIAL COVERAGES & DESCRIBED CAUSES
               OF LOSS:
 5.01.01.         Special Coverages & Described Causes of Loss are subject to the applicable Limit of Liability
                  and are included within and will not increase the Policy Limit.

 5.01.02.         Special Coverages & Described Causes of Loss are subject to the Policy provisions, including
                  applicable exclusions and deductibles, all as shown in this section and elsewhere in this Policy,
                  whether or not a Limit of Liability is shown.

 5.01.03.         If coverage is afforded under any Special Coverage or Described Cause of Loss, the applicable
                  Limit of Liability for that Special Coverage or Described Cause of Loss is the most the Company
                  will pay for all the loss or damage described therein even if coverage would otherwise be available
                  under any other part of this Policy.

 5.01.04.         If no Limit of Liability is shown in this Policy, the Limit of Liability for that Special Coverage or
                  Described Cause of Loss is part of the Policy Limit.

 5.01.05.         If NCP is shown for any Special Coverage or Described Cause of Loss in this Policy, then no
                  coverage is provided for that Special Coverage or Described Cause of Loss.

 5.01.06.         If two or more Limits of Liability apply to a claim for loss or damage, or some part thereof, the
                  lesser applicable Limit of Liability shall apply to the claim, or to the part thereof.

 5.01.07.         The Company will pay no more in any one (1) Occurrence than our proportionate share of any
                  applicable Limit of Liability regardless of the number of Locations affected by such Occurrence
                  and regardless of whether additional or greater limits would otherwise be available under any other
                  part of this Policy.

 5.01.08.         Any Annual Aggregate limit is the most the Company will pay in the Policy Year regardless of
                  the number of Occurrences.

 5.01.09.         In the event of loss or damage involving any one or more of the following Special Coverage or
                  Described Causes of Loss, the Company will pay no more for the total of all such coverage
                  combined than our proportionate share of the Policy Limit.

 5.02.         DESCRIPTION OF SPECIAL COVERAGES
 5.02.01.         ACCOUNTS RECEIVABLE
 .                The Company will pay for the actual loss sustained resulting from direct physical loss of or
                  damage caused by a Covered Cause of Loss to the Insured's accounts receivable records as
                  respects the following:

 5.02.01.01.          All sums due the Insured from customers, provided the Insured is unable to collect these sums
                      as a result of direct physical loss or damage to accounts receivable records;

 5.02.01.02.          Interest charges on any loan obtained by the Insured to offset impaired collections resulting
                      from direct physical loss of or damage to accounts receivable records but only for such period
                      of time reasonable and necessary for the Insured to resume normal collections;




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5.02.01.03.          Necessary collection expense in excess of normal collection cost due to direct physical loss of
                     or damage to accounts receivable records; and

5.02.01.04.          Other expenses, when reasonably incurred by the Insured in re-establishing accounts
                     receivable records following direct physical loss of or damage to accounts receivable records.

5.02.01.05.          For the purpose of this insurance, credit card charge records shall be deemed to represent sums
                     due the Insured from customers, until the charge records are delivered to the credit card
                     company.

5.02.01.06.          When there is proof that direct physical loss of accounts receivable records has occurred and
                     the Insured cannot accurately establish the total amount of accounts receivable outstanding as
                     of the date of loss, the amount payable shall be computed as follows:

5.02.01.06.01.           The monthly average of accounts receivable during the last available twelve (12) months;
                         the reasonable and necessary collection expenses in excess of normal collection costs due
                         to direct physical loss of or damage to accounts receivable records; and the reasonable
                         and necessary expenses incurred in reestablishing accounts receivable records following
                         direct physical loss or damage, shall be adjusted in accordance with the percentage
                         increase or decrease in the twelve (12) months average of monthly gross revenues which
                         may have occurred in the interim.

5.02.01.06.02.           The monthly amount of accounts receivable as established in 5.02.01.06.01.above shall be
                         further adjusted in accordance with any demonstrable variance from the average for the
                         particular month in which the loss occurred. Consideration will also be given to the
                         normal fluctuations in the amount of accounts receivable within the fiscal month
                         involved.

5.02.01.06.03.           The Company shall deduct from the total amounts of account receivable, the amount of
                         accounts evidenced by records not lost or damaged, or otherwise established or collected
                         by the Insured, and an amount to allow for probable bad debts which the Insured normally
                         would have been unable to collect and for the normal collection costs incurred due to
                         accounts receivable.

5.02.01.07.          The following additional exclusion applies:

                     This Coverage does not insure against shortage resulting from bookkeeping, accounting,
                     billing errors or omissions, alteration, falsification, manipulation, concealment, destruction or
                     disposal of accounts receivable records committed to conceal the wrongful giving, taking,
                     obtaining or withholding of money, securities or other property; but only to the extent of such
                     wrongful giving, taking, obtaining or withholding.

5.02.02.         AMMONIA CONTAMINATION
                 In the event of direct physical loss of or damage to Covered Property caused by a Breakdown
                 of Covered Equipment at a Scheduled Location, the Company will pay for resulting
                 Ammonia Contamination.

5.02.03.         CIVIL OR MILITARY AUTHORITY
                 The Company will pay for the actual Time Element loss sustained by the Insured, as provided by
                 this Policy, resulting from the necessary Suspension of the Insured's business activities at an
                 Insured Location if the Suspension is caused by order of civil or military authority that prohibits
                 access to the Location. That order must result from a civil authority's response to direct physical
                 loss of or damage caused by a Covered Cause of Loss to property not owned, occupied, leased or




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                 rented by the Insured or insured under this Policy and located within the distance of the Insured's
                 Location as stated in the Declarations. The Company will pay for the actual Time Element loss
                 sustained, subject to the deductible provisions that would have applied had the physical loss or
                 damage occurred at the Insured Location, during the time the order remains in effect, but not to
                 exceed the number of consecutive days following such order as stated in the Declarations up to the
                 limit applying to this Coverage.

5.02.04.         COMPUTER SYSTEMS DAMAGE
                 The Company will pay for direct physical loss of or damage to the Insured's Electronic Data,
                 Programs, Software and the actual Time Element loss sustained, as provided by this Policy,
                 during the Period of Interruption directly resulting from mysterious disappearance of code, any
                 failure, malfunction, deficiency, deletion, fault, Computer Virus or corruption to the Insured's
                 Electronic Data, Programs, Software at an Insured Location. The Company will also pay for
                 such loss or damage that may arise out of or result from any authorized or unauthorized access in,
                 of, or to any computer, communication system, file server, networking equipment, computer
                 system, computer hardware, data processing equipment, computer memory, microchip,
                 microprocessor, integrated circuit or similar device.

                 This Coverage will only apply when the Period of Interruption exceeds the time shown as
                 Qualifying Period in the Qualifying Period clause of the Declarations section. If the Qualifying
                 Period is exceeded, then this Policy will pay for the amount of loss in excess of the Policy
                 Deductible, but not more than the limit applying to this Coverage.
5.02.04.01.          The following additional exclusions apply:

5.02.04.01.01.           The Company will not pay for any loss or damage to Electronic Data, Programs or
                         Software when they are Raw Stock, Stock in Process, Finished Stock manufactured
                         by the Insured, and supplies or other Merchandise.

5.02.04.01.02.           Errors or omissions in processing or copying, except when direct physical loss or
                         damage caused by a Covered Cause of Loss results. Then only that resulting damage
                         is covered.

5.02.04.01.03.           Loss or damage to Electronic Data, Programs or Software from errors or omissions in
                         programming or machine instructions.

5.02.05.         CONTINGENT TIME ELEMENT
                 This Policy covers the actual Time Element loss as provided by the Policy, sustained by the
                 Insured during the Period of Liability directly resulting from the necessary Suspension of the
                 Insured's business activities at an Insured Location if the Suspension results from direct physical
                 loss of or damage caused by a Covered Cause of Loss to Property (of the type insurable under
                 this Policy) at Direct Dependent Time Element Locations, Indirect Dependent Time Element
                 Locations, and Attraction Properties located worldwide, except for in the following:

                 Afghanistan, Albania, Algeria, Angola, Armenia, Azerbaijan, Belarus, Benin, Botswana, Burkina -
                 Faso, Burundi, Cameroon, Cape Verde, Central African Republic, Chad, Comoros, Republic of
                 Congo, Democratic Republic of the Congo, Cuba, Djibouti, Equatorial Guinea, Eritrea, Ethiopia,
                 Gabon, Gambia, Ghana, Guinea, Guinea-Bissau, Georgia, Haiti, Iran, Iraq, Ivory Coast,
                 Kazakhstan, Kampuchea (Cambodia), Kenya, Kyrgyzia, Laos, Lebanon, Lesotho, Liberia, Lybia,
                 Macedonia, Madagascar, Malawi, Mali, Mauritania, Mayotte, Mongolia, Montenegro,
                 Mozambique, Myanmar (Burma), Namibia, Niger, Nigeria, North Korea, Pakistan, Palestine,
                 Reunion, Rwanda, Sao Tomé and Principé, Senegal, Serbia, Sierra Leone, Somalia, Sri Lanka,




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                 Sudan, Swaziland, Syria, Tajikistan, Tanzania, Tibet, Togo, Turkmenistan, Uganda, Uzbekistan,
                 Western Sahara, Yemen, Zambia, Zimbabwe; or

                 Any other country where prohibited by United States law or where trade relations are unlawful as
                 determined by the Government of the United States of America or its agencies.

5.02.05.01.          As respects Contingent Time Element:

5.02.05.01.01.           The Insured will influence and cooperate with the Direct Dependent Time Element
                         Locations, Indirect Dependent Time Element Locations, and Attraction Properties in
                         every way and take any reasonable and necessary action, including the use of other
                         machinery, supplies or locations, to mitigate the loss payable hereunder.

5.02.05.01.02.           In determining the indemnity payable hereunder, the Company will consider the amount
                         of income derived before the date of physical loss or damage and the probable amount of
                         income after the date of loss or damage.

5.02.05.01.03.           4.02.06.01.03. does not apply.

5.02.05.02.          As respects Indirect Dependent Time Element Locations and Attraction Properties any
                     Time Element loss resulting from physical loss or damage caused by or resulting from
                     Earthquake, Flood, or Named Storm regardless of any other cause or event, whether or not
                     insured under this Policy, contributing concurrently or in any other sequence to the loss is
                     excluded.

5.02.06.         DEBRIS REMOVAL
                 This Policy covers the reasonable and necessary costs incurred to demolish and remove debris of
                 property from an Insured Location that remains following direct physical loss or damage resulting
                 from a Covered Cause of Loss. This includes the cost to demolish the physically undamaged
                 portion of such property insured due to the enforcement of any law or ordinance regulating the
                 demolition, construction, repair, replacement or use of buildings or structures at an Insured
                 Location.

5.02.06.01.          This Coverage does not insure the costs to remove:

5.02.06.01.01.           Property Not Covered that is Contaminated; or

5.02.06.01.02.           The Contaminant in or on Property Not Covered, whether or not the Contamination
                         results from direct physical loss or damage caused by a Covered Cause of Loss. This
                         Coverage shall cover the costs of removal of contaminated Covered Property or the
                         Contaminant in or on Covered Property only if the Contamination, due to the actual not
                         suspected presence of Contaminant(s), of the debris resulted from direct physical loss or
                         damage caused by a Covered Cause of Loss.

5.02.07.         DECONTAMINATION COSTS
                 If Covered Property is Contaminated from direct physical loss of or damage caused by a Covered
                 Cause of Loss to Covered Property and there is in force at the time of the loss any law or
                 ordinance regulating Contamination due to the actual not suspected presence of Contaminant(s),
                 then this Policy covers, as a direct result of enforcement of such law or ordinance, the increased
                 cost of decontamination and/or removal of such Contaminated Covered Property in a manner to
                 satisfy such law or ordinance. This Coverage applies only to that part of Covered Property so
                 Contaminated due to the actual not suspected presence of Contaminant(s) as a result of direct
                 physical loss or damage. The Company is not liable for the costs required for removing
                 Contaminated uninsured property nor




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                 the Contaminant therein or thereon, whether or not the Contamination results from a Covered
                 Cause of Loss.

5.02.08.         DEFERRED PAYMENTS
                 This Policy will pay for direct physical loss of or damage caused by a Covered Cause of Loss, to
                 Personal Property (of the type insurable under this Policy). Such property must be sold by the
                 Insured under a conditional sale, trust agreement, or installment or deferred payment plan. Such
                 property must have been delivered to the buyer. Coverage is limited to the unpaid balance for
                 such property.

                 In the event of loss to property sold under deferred payment plans, the Insured will use all
                 reasonable efforts, including legal action, if necessary, to collect outstanding amounts due or to
                 regain possession of the property.

5.02.08.01.          Under this Coverage the Policy excludes loss or damage:

5.02.08.01.01.           Pertaining to products recalled including, but not limited to, the costs to recall, test or to
                         advertise such recall by the Insured;

5.02.08.01.02.           From theft or conversion by the buyer of the property after the buyer has taken possession
                         of such property;

5.02.08.01.03.           To the extent the buyer continues payments; or

5.02.08.01.04.           Not within the covered Territory of this Policy.

5.02.09.         ERRORS AND OMISSIONS
                 The Company will pay for direct physical loss of or damage caused by a Covered Cause of Loss
                 to property which is not payable under this Policy because of an error or unintentional omission at
                 the time of Policy inception in the description or inclusion of any Location owned, occupied,
                 leased or rented by the Insured to be Covered Property; but only to the extent this Policy would
                 have provided coverage had the error or unintentional omission not been made.

                 The Policy also covers the actual Time Element loss sustained by the Insured, during the Period of
                 Liability resulting from the necessary Suspension of the Insured's business activities at that
                 Location, if the Suspension is caused by direct physical loss of or damage caused by a Covered
                 Cause of Loss to such Property.

                 The Insured must report any error or unintentional omission as soon as possible.

5.02.09.01.          This Coverage does not apply:

5.02.09.01.01.           If there is coverage available under Newly Acquired Coverage or Miscellaneous Unnamed
                         Locations Coverage of this Policy; or

5.02.09.01.02.           For any error or omission in limits or deductibles.

5.02.10.         EXPEDITING COSTS
                 This Policy covers the reasonable and necessary costs incurred to pay for the temporary repair of
                 direct physical loss of or damage caused by a Covered Cause of Loss to Covered Property and to
                 expedite the permanent repair or replacement of such damaged property.




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                 This Coverage excludes costs recoverable elsewhere in this Policy, or of permanent repair or
                 replacement of damaged property.

5.02.11.         FINE ARTS
                 The Company will pay for direct physical loss of or damage caused by a Covered Cause of Loss
                 to Fine Arts at an Insured Location.

5.02.11.01.          This Policy excludes loss or damage to Fine Arts directly or indirectly caused by or resulting
                     from the following regardless of any other cause or event, whether or not insured under this
                     Policy, contributing concurrently or in any other sequence to the loss:

5.02.11.01.01.           Breakage of bric-a-brac, glassware, marble, porcelain, statuary, and similar fragile
                         property resulting from the article being dropped or knocked over, whether intentional or
                         accidental;

5.02.11.01.02.           Any repairing, restoring or retouching process; or

5.02.11.01.03.           Any pre-existing condition.

5.02.12.         FIRE DEPARTMENT SERVICE CHARGE
                 The Company will pay for the reasonable additional expenses, resulting from costs of fire
                 extinguishing materials expended, incurred by the Insured when the Fire Department is called to
                 save or protect Covered Property from a Covered Cause of Loss at an Insured Location. The Fire
                 Department Service Charges are those assumed by contract or agreement prior to loss or damage or
                 required by local ordinance.

5.02.13.         IMPOUNDED WATER
                 The Company will pay for the actual Time Element loss as provided by this Policy, sustained by
                 the Insured during the Period of Liability resulting from the necessary Suspension of the Insured's
                 business activities at an Insured Location if the Suspension is caused by the lack of a supply of
                 water from a water supply stored behind dams or in reservoirs on the Insured Location. The water
                 supply must be used as a Raw Material or for generation of power or for other manufacturing
                 purposes. The inadequate supply of water must result from the release of the water from the water
                 supply and be caused by direct physical loss of or damage caused by a Covered Cause of Loss to
                 the dam, reservoir, or connected equipment. The Company will pay for the actual Time Element
                 loss sustained, in excess of the applicable deductible, but not to exceed the number of consecutive
                 days as stated in the Declarations after the damaged dam, reservoir or connected equipment has
                 been repaired or replaced, with the exercise of due diligence and dispatch, up to the limit applying
                 to this Coverage.

5.02.14.         INCREASED COST OF CONSTRUCTION
5.02.14.01.          This Policy covers the reasonable and necessary costs incurred, described in 05.02.14.03., to
                     satisfy the minimum requirements of the enforcement of any law or ordinance regulating the
                     demolition, construction, repair, replacement or use of buildings or structures at an Insured
                     Location, provided:

5.02.14.01.01.           Such law or ordinance is in force on the date of direct physical loss of or damage caused
                         by a Covered Cause of Loss to Covered Property; and

5.02.14.01.02.           Its enforcement is a direct result of direct physical loss of or damage caused by a Covered
                         Cause of Loss to Covered Property.




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5.02.14.02.          This Coverage does not cover loss due to any law or ordinance with which the Insured was
                     required to comply before the loss, even when the building was undamaged, and the Insured
                     did not comply.

5.02.14.03.          This Coverage, as respects the property insured in 5.02.14.01., covers:

5.02.14.03.01.           The increased cost to repair or rebuild the physically damaged portion of such property
                         with materials and in a manner to satisfy such law or ordinance; and

5.02.14.03.02.           The increased cost to rebuild physically undamaged property that has been demolished
                         with materials and in a manner to satisfy such law or ordinance, to the extent that such
                         costs result when the demolition of the insured property is required to satisfy such law or
                         ordinance.

5.02.14.03.03.           This Coverage applies only to the costs described in 5.02.14.03. The portion of the cost to
                         repair, rebuild or replace property with property of like kind and quality is not part of this
                         Coverage and is to be considered direct physical loss of or damage under 1.01.

5.02.14.04.          This Coverage excludes any costs incurred as a direct or indirect result of enforcement of any
                     laws or ordinances regulating any form of Contamination.

5.02.14.05.          The Company’s maximum liability for this Coverage in any Occurrence will not exceed the
                     actual cost incurred in 5.02.14.03. up to the limit applying to this Coverage.

5.02.15.         INGRESS/EGRESS
                 The Company will pay for the actual Time Element loss sustained by the Insured, as provided by
                 this Policy, resulting from the necessary Suspension of the Insured's business activities at an
                 Insured Location if ingress or egress to that Insured Location by the Insured's suppliers, customers
                 or employees is prevented by physical obstruction due to direct physical loss of or damage caused
                 by a Covered Cause of Loss to property not owned, occupied, leased or rented by the Insured or
                 insured under this Policy and located within the distance of the Insured Location as stated in the
                 Declarations. The Company will pay for the actual Time Element loss sustained, subject to the
                 deductible provisions that would have applied had the physical loss or damage occurred at the
                 Insured Location, during the time ingress or egress remains prevented by physical obstruction but
                 not to exceed the number of consecutive days as stated in the Declarations following such
                 obstruction up to the limit applying to this Coverage.

5.02.16.         LAND AND WATER CONTAMINANT CLEANUP, REMOVAL AND
                 DISPOSAL
                 This Policy covers the reasonable and necessary cost for the cleanup, removal and disposal of the
                 actual not suspected presence of Contaminant(s) from uninsured property consisting of land,
                 water or any other substance in or on land at the Insured Location if the release, discharge or
                 dispersal of such Contaminant(s) is a result of direct physical loss of or damage caused by a
                 Covered Cause of Loss to Covered Property.

5.02.16.01.          This Policy excludes the cost to cleanup, remove and dispose of Contaminant(s) from such
                     property:

5.02.16.01.01.           At any Location where the building or structure is not insured by this Policy;

5.02.16.01.02.           At any property insured under Newly Acquired, Errors and Omissions or Miscellaneous
                         Unnamed Location Coverage provided by this Policy; or




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5.02.16.01.03.           When the Insured fails to give written notice of loss to the Company within 180 days
                         after inception of the loss.

5.02.17.         LAND IMPROVEMENTS
                 The Company will pay for the additional cost of reclaiming, restoring or repairing Land
                 Improvements resulting from direct physical loss of or damage caused by a Covered Cause of
                 Loss to Covered Property at an Insured Location.

5.02.17.01.         As respects lawns, plants, shrubs or trees direct physical loss or damage directly or indirectly
                    caused by or resulting from Earthquake, Flood, or Named Storm regardless of any other cause
                    or event, whether or not insured under this Policy, contributing concurrently or in any other
                    sequence to the loss is excluded.

5.02.18.         MISCELLANEOUS PERSONAL PROPERTY
                 The Company will pay for direct physical loss of or damage caused by a Covered Cause of Loss
                 to the following property while within the coverage territory but away from an Insured Location.

5.02.18.01.          The Insured's interest in Personal Property; and

5.02.18.02.          Property of Others that is:

5.02.18.02.01.           In the Insured's care, custody or control;

5.02.18.02.02.           In which the Insured has an insurable interest or obligation;

5.02.18.02.03.           For which the Insured is legally liable; or

5.02.18.02.04.           For which the Insured has agreed in writing prior to any loss or damage to provide
                         coverage.

5.02.18.02.05.           This Coverage excludes property in transit or insured under any other coverage in this
                         Policy.

5.02.19.         MISCELLANEOUS UNNAMED LOCATIONS
5.02.19.01.          The Company will pay for:

5.02.19.01.01.           Direct physical loss of or damage caused by a Covered Cause of Loss at a
                         Miscellaneous Unnamed Location; and

5.02.19.01.02.           The actual Time Element loss sustained by the Insured, during the Period of Liability,
                         resulting from the Suspension of the Insured's business activities if such Suspension is
                         caused by direct physical loss or damage caused by a Covered Cause of Loss;

5.02.19.02.          To the following:

5.02.19.02.01.           Covered Property at a Miscellaneous Unnamed Location that has been reported to the
                         Insurer, but agreed by the Insurer not to be scheduled;

5.02.19.02.02.           Covered Property at a Miscellaneous Unnamed Location that has not been reported to
                         the Insurer and is under the Insured's care, custody and control; or




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5.02.19.02.03.            Covered Property at a Miscellaneous Unnamed Location that has not been reported to
                          the Insurer and is not under the Insured's care, custody and control.

5.02.19.03.          This Coverage will not apply for loss or damage that is payable under any other provision in
                     this Policy.

5.02.20.         NEWLY ACQUIRED
                 The Company will pay for direct physical loss of or damage caused by a Covered Cause of Loss
                 to property (of the type insurable under this Policy), at any Location purchased, leased or rented
                 by the Insured after the inception date of this Policy. This Coverage applies from the date of
                 purchase, lease or rental. The Policy also covers the actual Time Element loss sustained by the
                 Insured, during the Period of Liability resulting from the necessary Suspension of the Insured's
                 business activities at that Location, if the Suspension is caused by direct physical loss of or
                 damage caused by a Covered Cause of Loss to such Property (other than Finished Stock).

                 The Coverage provided above will end at the earliest of: the Policy expiration, the number of
                 consecutive days as stated in the Declarations after the Insured first acquired an interest in the
                 Covered Property, or when the Insured reports the Location to the Insurer.

5.02.21.         OFF PREMISES SERVICE INTERRUPTION PROPERTY DAMAGE AND
                 TIME ELEMENT LOSS
                 The Company will pay for direct physical loss of or damage to Covered Property and for the actual
                 Time Element loss sustained as provided by the Policy during the Period of Service Interruption
                 at Insured Locations caused by the interruption of an incoming service consisting of electricity,
                 gas, fuel, steam, water, refrigeration, voice, data or video or from the lack of outgoing voice, data,
                 video or sewage service.

                 The lack of service must result from direct physical loss of or damage caused by a Covered Cause
                 of Loss to property (other than satellites but including transmission and distribution lines) of the
                 supplier of such service located within this Policy's Territory, that immediately prevents in whole
                 or in part the delivery of such usable services.

                 This Coverage will only apply when the Period of Service Interruption exceeds the time shown
                 as Qualifying Period in the Qualifying Period clause of the Declarations section. If the
                 Qualifying Period is exceeded, then this Policy will pay for the amount of loss in excess of the
                 applicable deductible, but not more than the limit applying to this Coverage.

5.02.21.01.          Exclusions 3.03.01.02. and 3.03.04. do not apply to Off Premises Service Interruption
                     Property Damage and Time Element Loss.

5.02.21.02.          The following additional exclusion applies:

                     This Policy excludes direct physical loss or damage and Time Element loss directly or
                     indirectly caused by or resulting from the interruption of such services, when such interruption
                     is caused directly or indirectly by the failure of the Insured to comply with the terms and
                     conditions of any contracts the Insured has for the supply of such specified services regardless
                     of any other cause or event, whether or not insured under this Policy, contributing
                     concurrently or in any other sequence to the loss.




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5.02.22.         PROFESSIONAL FEES
                 This Policy covers the actual costs incurred by the Insured, of reasonable fees paid to the Insured's
                 accountants, architects, auditors, engineers, or other professionals and the cost of using the
                 Insured’s employees, for producing and certifying any details contained in the Insured's books or
                 documents, or such other proofs, information or evidence required by the Company resulting from
                 loss or damage payable under this Policy for which the Company has accepted liability.

                 This Coverage will not include the fees and costs of attorneys, Public Adjusters, and loss
                 appraisers, all including any of their subsidiary, related or associated entities either partially or
                 wholly owned by them or retained by them for the purpose of assisting them, nor the fees and
                 costs of loss consultants who provide consultation on coverage or negotiate claims.

5.02.23.         PROTECTION AND PRESERVATION OF PROPERTY
                 This Policy covers, up to the limit applying to this Coverage:

5.02.23.01.          The reasonable and necessary costs incurred for actions to temporarily protect or preserve
                     Covered Property; provided such actions are necessary due to actual or imminent physical loss
                     or damage due to a Covered Cause of Loss to such Covered Property; and

5.02.23.02.          The Gross Earnings loss or Gross Profit loss sustained by the Insured for a period of time not
                     to exceed the hours listed in the Declarations prior to and after the Insured first taking
                     reasonable action for the temporary protection and preservation of Covered Property.

5.02.23.03.          This Coverage is subject to the deductible provisions that would have applied had the physical
                     loss or damage occurred.

5.02.24.         RADIOACTIVE CONTAMINATION
                 The Company will pay for direct physical loss of or damage to Covered Property at an Insured
                 Location caused by sudden and accidental radioactive contamination, including resultant radiation
                 damage, provided:

5.02.24.01.          Radioactive contamination arises out of material at the Insured Location:

5.02.24.01.01.            Which is commonly known to be radioactive;

5.02.24.01.02.            Is used as part of the Insured's business activities; and

5.02.24.01.03.            There is neither a nuclear reactor capable of sustaining nuclear fission in a self-supporting
                          chain reaction, nor any new or used nuclear fuel which is intended for or which has been
                          used in that type of nuclear reactor at the Insured Location.

5.02.25.         RESEARCH AND DEVELOPMENT
                 The Company will pay for the fixed charges and fixed expenses (including Ordinary Payroll)
                 actually incurred by the Insured directly attributable to the interruption of research and
                 development project(s) after direct physical loss of or damage caused by a Covered Cause of Loss
                 to research and development project(s) up to the limit applying to this Coverage.

5.02.25.01.          Coverage starts when there is direct physical loss of or damage caused by a Covered Cause of
                     Loss to research and development project(s) and ends the earlier of:




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5.02.25.01.01.            The time period stated in the Declarations; or

5.02.25.01.02.            When the research and development project(s) has resumed.

5.02.25.02.           This Policy will not pay for any other Time Element loss under this Coverage. Loss under
                      this Coverage does not include any fixed charges and/or fixed expenses (including Ordinary
                      Payroll) otherwise payable elsewhere in the Policy.

5.02.26.         RESEARCH ANIMALS

                 The Company will pay for death of Research Animals and the Insured’s reasonable and necessary
                 costs incurred to research, replace or restore the animal lost to the condition that existed prior to
                 the loss when caused by a Covered Cause of Loss, while anywhere within this Policy’s Territory,
                 including while in transit, when the loss is in excess of the amount stated in the Declarations. No
                 deductible applies to this Coverage. This Coverage does not apply to loss of the Research Animals
                 that cannot be replaced to the condition that existed prior to the loss.

5.02.26.01.           The following additional exclusions apply:

5.02.26.01.01.            Death or destruction from natural causes, unknown causes, medical procedures including
                          surgery, inoculation, parturition, or abortion;

5.02.26.01.02.            Errors or omission in processing and/or failure on the part of the Insured to provide
                          nourishment, medicine or sanitary conditions;

5.02.26.01.03.            Contamination of animal, food or medicine;

5.02.26.01.04.            The intentional slaughter of animals;

5.02.26.01.05.            Escape, unless directly resulting from a Covered Cause of Loss; or

5.02.26.01.06.            Death or destruction resulting from activities of any animal, unless resulting from a
                          Covered Cause of Loss.

5.02.27.         SPOILAGE
                 In the event of spoilage of Raw Materials, Stock in Process, Finished Stock or Merchandise,
                 caused by a sudden and accidental Breakdown of Covered Equipment or a part thereof, the
                 Company will pay for such spoilage provided the Raw Materials, Stock in Process, Finished
                 Stock or Merchandise is in storage or in the course of being manufactured.

5.02.28.         TENANTS PROHIBITED ACCESS
                 The Company will pay for the actual Gross Earnings or Gross Profit loss sustained, as provided by
                 this Policy, resulting from the necessary Suspension of the Insured's business activities at an
                 Insured Location if access to that Location by the Insured's suppliers, customers or employees is
                 physically obstructed due to the owner, landlord or a legal representative of the building owner or
                 landlord, prohibiting access to the Insured Location. This Coverage will only apply when the
                 period of time that access is prohibited exceeds the time shown as Qualifying Period in the
                 Qualifying Period clause of the Declarations section. If the Qualifying Period is exceeded, then
                 this Policy will pay for the amount of loss in excess of the Policy Deductible, but not more than
                 the limit applying to this Coverage.

5.02.28.01.      The following additional exclusion applies:




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                   This Policy excludes loss directly or indirectly caused by or resulting from prohibited access
                   to the Insured Location, when such prohibited access is caused directly or indirectly by the
                   failure of the Insured to comply with the terms and conditions of any contracts the Insured has
                   for the use of such Location regardless of any other cause or event, whether or not insured
                   under this Policy, contributing concurrently or in any other sequence to the loss.

5.02.29.         TRANSIT
5.02.29.01.        The Company will pay for direct physical loss of or damage caused by a Covered Cause of
                   Loss to Covered Property while in transit within the coverage Territory and including:

5.02.29.01.01.         The Insured's interest in Free on Board (F.O.B) shipments, Free-Along-Side (F.A.S)
                       shipments and Returned shipments. The Insured’s contingent interest is admitted.

5.02.29.01.02.         The Insured's loss of property caused by fraud or deceit perpetrated by any person or
                       persons who may represent themselves to be the proper party or parties to receive goods
                       for shipment or accept goods for delivery.

5.02.29.01.03.         The Insured's legal liability as a carrier of lawful goods and merchandise by vehicles
                       under bills of lading or shipping receipts issued by the Insured, while in the Insured's
                       custody or in the custody of connecting carriers in transit.

5.02.29.01.04.         The Insured’s interest in general average, salvage and other charges on shipments covered
                       hereunder.

5.02.29.01.05.         The Insured is granted the privilege to ship under released or limited bills of lading or
                       shipment receipts.

5.02.29.02.        The Policy also covers the actual Time Element loss sustained by the Insured, during the
                   Period of Liability resulting from the necessary Suspension of the Insured's business activities
                   at the destination Location, if the Suspension is caused by direct physical loss of or damage
                   caused by a Covered Cause of Loss to such Property (other than Finished Stock).

                   The Company will pay for the reasonable and necessary extra expenses incurred by the
                   Insured, during the Period of Liability, to resume and continue as nearly as practicable the
                   Insured's normal business activities that otherwise would be necessarily suspended, due to
                   direct physical loss of or damage caused by a Covered Cause of Loss to Property of the type
                   insurable under this policy.

                   The Company will reduce the amount payable as extra expense by the fair market value
                   remaining at the end of the Period of Liability for property obtained in connection with the
                   above.

                   Extra expenses mean that amount spent to continue the Insured's business activities over and
                   above the expenses the Insured would have normally incurred had there been no direct
                   physical loss of or damage caused by a Covered Cause of Loss to Property of the type
                   insurable under this policy. Extra expense does not include any Gross Earnings loss or Gross
                   Profit loss, the cost of permanent repair or replacement of property that has suffered direct
                   physical loss or damage, or expenses otherwise payable elsewhere in the Policy.

5.02.29.03.        Coverage starts when Covered Property is in or on the transporting vehicle and the vehicle
                   leaves the originating Location and ends upon arrival at the destination Location and the
                   goods are transferred to the custody and control of the consignee, warehouseman, or receiver.

5.02.29.04.        The Company will not pay for loss or damage to:




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5.02.29.04.01.                Property while waterborne, except:

5.02.29.04.01.01.                 While on the navigable inland waterways of a country;

5.02.29.04.01.02.                 While on roll-on/roll-off ferries between countries; or

5.02.29.04.01.03.                 While on coastal shipments.

5.02.29.04.02.                Property shipped by mail from the time it passes into custody of any governmental postal
                              service;
5.02.29.04.03.                Property for sale while in the care, custody or control of the Insured's sales persons or
                              representatives;

5.02.29.04.04.                Any conveyance used for property in transit;

5.02.29.04.05.                Property insured under any import or export ocean marine insurance; or

5.02.29.04.06.                Property under airborne shipment unless by regularly scheduled passenger airlines or air
                              freight Carriers.

5.02.29.05.             If this Policy expires during the due course of transit, coverage is extended until the shipment
                        is delivered to its final destination.

5.02.30.            VALUABLE PAPERS AND RECORDS
                    The Company will pay for direct physical loss of or damage caused by a Covered Cause of Loss
                    to Valuable Papers and Records at an Insured Location. For all Valuable Papers and Records,
                    the Company will pay for the value of the blank personal property, and the Insured's reasonable
                    and necessary costs incurred to research, replace or restore the information lost or damaged
                    thereon.

                    Except:

                    For Electronic Data and/or Program (Software), the Company will pay for the value of the
                    blank Media, and the cost of reproducing the Electronic Data and/or Program (Software) from
                    duplicates or originals of the previous generation of the data.

                    This Coverage does not apply to loss or damage to property that cannot be repaired or restored
                    with like kind or quality.

5.02.31.            NEW CONSTRUCTION OR ADDITIONS
                    The Company will pay, up to the limit applying to this Coverage, for:

5.02.31.01.             Direct physical loss of or damage to Property of the type insurable under this policy that is
                        New Construction or Additions;

5.02.31.02.             The actual Time Element loss sustained by the Insured arising out of the Delay in
                        Completion; and

5.02.31.03.             The Actual Loss Sustained incurred by the Insured as Soft Costs during such Delay in
                        Completion.

5.02.31.04.             The Coverage for Time Element will only apply when the Delay in Completion exceeds the
                        time shown as Qualifying Period in the Qualifying Period clause of the Declarations
                        section.




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                    If the Qualifying Period is exceeded, then this Policy will pay up to the number of
                    consecutive days stated in the Declarations after the Qualifying Period.

5.02.31.05.         The following additional exclusion applies to coverage provided in NEW CONSTRUCTION
                    OR ADDITIONS:

                    This Policy excludes direct physical loss or damage directly or indirectly caused by or
                    resulting from the effects of rain, sleet, or snow, whether or not driven by wind, on the interior
                    portion of buildings under construction or addition when the installation of the roof, walls or
                    windows of such buildings has not been completed regardless of any other cause or event,
                    whether or not otherwise insured under this Policy, contributing concurrently or in any other
                    sequence to the loss.

5.02.32.        OFF PREMISES STORAGE FOR PROPERTY UNDER CONSTRUCTION
                This Policy covers direct physical loss or damage to property (of the type insurable under this
                Policy) caused by a Covered Cause of Loss that is under contract to be used in a construction
                project at an Insured Location. Coverage attaches at the time such property is delivered to the
                Insured or its contractor (with respect to the property under construction) by the manufacturer or
                supplier and such property is located at a storage site within this Policy’s Territory but away from
                the Insured Location.

                This Coverage includes necessary expendable materials and supplies to be used in the construction
                project but does not include any property owned or rented by the contractor.

5.02.33.        CURRENCY DEVALUATION
                The Company will pay any deficiency in the amount collectible under a local insurance policy
                caused by devaluation of the currency of the country where the local insurance policy is written.
                The Insured agrees to adjust deficiencies as soon as practicable after the date of the currency’s
                devaluation.

5.02.34.        DIFFERENCE IN CONDITIONS/DIFFERENCE IN LIMITS
                The insurance under this policy applies on a Difference in Conditions basis and a Difference in
                Limits basis when a Specific Local Policy is in force, as follows:

5.02.34.01.         Difference in Conditions - provided there is a loss or damage where:

                    There is a Specific Local Policy(ies) intended to respond to such loss or damage in that
                    country; and due to the difference in its terms, including but not limited to a coinsurance or
                    average clause, does not provide coverage for such loss or damage.

                    In that event, under this provision, we will pay for such loss or damage where coverage is
                    provided under the terms and conditions of this policy and when the Covered Cause of Loss
                    or definitions or conditions set forth under this policy and its endorsements are broader in
                    meaning or scope than those of the local insurance policy(ies).

5.02.34.02.         Difference In Limits - provided there is a loss or damage where:

                    There is a Specific Local Policy(ies) intended to respond to such loss or damage in that
                    country; and such Specific Local Policy(ies) cover, in whole or part, the same loss or damage
                    as this policy covers.




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                     In that event, under this provision, we will pay the difference between the applicable Specific
                     Local Policy(ies) limits and the applicable limits in this policy, provided:

5.02.34.02.01.            Coverage is provided under the terms and conditions of this policy; and

5.02.34.02.02.            The limits under all Specific Local Policy (ies) have been exhausted and the deductible(s)
                          under all such policies have been applied.

5.02.34.03.          The Company will not be liable for non-recovery under a Specific Local Policy due to
                     insolvency or any financial failure with respect to such Specific Local Policy.

5.02.34.04.          It is understood and agreed that no coverage is provided if the Insured is unable to recover in
                     full any loss under any other insurance, if the inability to recover results from the Insured's
                     failure to comply with any condition of such other insurance.

5.02.34.05.          It is understood and agreed that all Specific Local Policy (ies) that are in force at the
                     inception of this policy will be maintained in full force and effect during the term of this
                     policy. Renewals or replacement of such a policy(ies) will not be more limited or restrictive
                     than the expiring coverage.

5.02.34.06.          Any coverage provided by the Specific Local Policy(ies) that is not provided in this policy
                     does not extend to this policy.

5.02.34.07.          The following additional exclusions apply to coverage provided in DIFFERENCE IN
                     CONDITIONS/DIFFERENCE IN LIMITS:

5.02.34.07.01.            This Coverage does not cover any loss or damage at any location where this policy acts as
                          the Specific Local Policy.

5.02.34.07.02.            This Coverage does not cover loss or damage that is covered under any government or
                          national program, pool or scheme.

5.02.35.         FINANCIAL INTEREST OF THE FIRST NAMED INSURED
                 The Company will pay for the First Named Insured's financial loss resulting from direct physical
                 loss of or damage caused by a Covered Cause of Loss to property (of the type insurable under
                 this Policy) in a Prohibited Jurisdiction. Payment will only be to the First Named Insured as
                 respects its insurable interest and only to the extent the loss is not otherwise insured, provided the
                 local law in the Prohibited Jurisdiction prohibits coverage under or payment for loss under
                 Non-Admitted Insurance, Difference In Conditions Insurance or Difference In Limits Insurance.

                 The most the Company will pay under this Coverage is the amount that would have been payable
                 under this Policy if local law allowed coverage under or payment for loss under Non-Admitted
                 Insurance, Difference In Conditions Insurance, or Difference In Limits Insurance.

                 Notwithstanding the coverage for Financial Interest of the First Named Insured granted under
                 this Coverage, it is understood and agreed that any subsidiary located in any Prohibited
                 Jurisdiction where local law prohibits coverage under or payment for loss under Non-Admitted
                 Insurance, Difference In Conditions Insurance, or Difference In Limits Insurance, is not party to
                 or a beneficiary under this Policy and has no rights under it.

5.0.235.01.          This Coverage does not apply to property:

5.02.35.01.01.            Located in any country listed in 1.03.01. or 1.03.02.




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5.02.35.02.         Loss under this Coverage does not include anything otherwise payable elsewhere in the
                    Policy.

5.02.35.03.         The following additional exclusion applies:

                    Netherlands: This Policy excludes physical loss or damage directly or indirectly caused by or
                    resulting from the failure or overflowing of dikes, dams, floodgates or other similar works,
                    regardless of any other cause or event, whether or not insured under this Policy, contributing
                    concurrently or in any other sequence to the loss. However, if there is ensuing physical loss
                    or damage by fire or explosion, the exclusion does not apply to the loss or damage caused by
                    the fire or explosion.

5.02.36.        TAX LIABILITY
                If the amount of loss covered hereunder cannot be paid in the country where the loss occurred and
                the corporate tax rate is higher in the country where the payment occurs, and the payee is required
                to pay tax on the claim proceeds or has realized a reduction of a tax benefit that would otherwise
                have been recognized in the payee's country of residence, the Company will be liable for an
                additional loss payment (ALP) in accordance with the following formula:

                ALP = [((100% - a) / (100% - b)) – 1] x c

                Where:

                ALP = additional loss payment
                a = actual effective corporate tax rate in the country where the loss occurred;
                b = actual effective corporate tax rate in the country where the loss payments are received;
                c = actual loss otherwise payable under this Policy.

                Actual Effective Corporate Tax Rate is the amount produced by the following calculation:

                Corporate Income Tax to be paid divided by pre-tax Financial Accounting Income for the annual
                accounting period in which the claims proceeds are paid.

                Corporate Income Tax represents the tax payable (after applicable credits, exemptions, rebates or
                other reductions tax) or reduction of tax benefit items (credits, net operating losses or other similar
                attributes) related to taxable Financial Accounting Income (income less deductions as determined
                under the applicable tax law).

                Financial Accounting Income shall be determined under generally accepted accounting principles
                or standards.

                Financial Accounting Income and Corporate Income Tax shall be determined in the local currency
                of the country where the loss occurred with respect to "a" and where the loss payments are
                received with respect to "b" above.

                The ALP will be paid only after receipt of documentation supporting the calculation of "a" and "b"
                above and a certification by the Chief Executive Officer or Chief Financial Officer of the payee,
                that to the best of his or her knowledge, based on a review of all applicable financial and tax data:

                The payee is required to pay tax on the claim proceeds or will realize a reduction of a tax benefit
                that would otherwise have been recognized in the payee's country of residence; and




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                The tax to be paid and pre-tax Financial Accounting Income data provided is accurate and
                complete and fairly presents in all material respects the financial results of the payee in the
                applicable country.

5.02.36.01.         Notwithstanding the coverage for tax payment granted under this Coverage, it is understood
                    and agreed that the Insured will cooperate with the Company in making every reasonable
                    effort to have the amount of loss paid in the country in which the loss occurred, where
                    permitted by law. In addition the Insured agrees to try to mitigate any loss that the Company
                    may be responsible for under this Tax Liability Coverage.

5.02.36.02.         With respect to payments made under this Coverage, the Company may examine and audit the
                    Insured's books and records at any time up to three years after payment.

5.02.37.        TENANTS AND NEIGHBORS LIABILITY

                The Company will pay for the legal liability imposed on the Insured in a country with the
                Napoleonic Code or similar civil or commercial code resulting from direct physical loss or damage
                caused by a Covered Cause of Loss to Covered Property:

5.02.37.01.         Of which the Insured is a tenant;

5.02.37.02.         Where such physical loss or damage has spread to the Insured's neighbors or co-tenants; and

5.02.37.03.         Where the Insured's tenants or sub-tenants incur such physical loss or damage as a result of
                    construction defects or lack of maintenance.

5.03.         DESCRIBED CAUSES OF LOSS
5.03.01.        BREAKDOWN OF EQUIPMENT
                The Company will pay for direct physical loss of or damage to Covered Equipment, Time
                Element loss and Special Coverages loss as provided by this Policy, if such loss or damage is
                caused by a sudden and accidental Breakdown of Covered Equipment or a part thereof, which
                manifests itself by physical damage at the time of its Occurrence and necessitates repair or
                replacement; subject to the terms and conditions set forth in this Policy, regardless of any other
                cause or event contributing concurrently or in any other sequence of loss.

                All Breakdown(s) at any one Insured Location that manifest themselves at the same time and are
                the result of the same cause will be considered one Breakdown.

5.03.02.        EARTH MOVEMENT
                The Company will pay for direct physical loss of or damage to Covered Property, Time Element
                loss and Special Coverages loss as provided by this Policy, if such loss or damage is caused by
                Earth Movement regardless of any other cause or event contributing concurrently or in any other
                sequence of loss. However, ensuing physical loss or damage by fire, explosion, theft, vandalism,
                sprinkler leakage or Flood will not be considered loss by Earth Movement within the terms and
                conditions of this Policy.

                All Earth Movement that occurs within the period defined in the Declarations will constitute a
                single Occurrence. The expiration of this Policy will not reduce that period. The Insured may
                elect the point in time when the period defined in the Declarations begins; but such point in time
                must not precede loss or damage to Covered Property.




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5.03.03.       FLOOD
               The Company will pay for direct physical loss of or damage to Covered Property, Time Element
               loss and Special Coverages loss as provided by this Policy, if such loss or damage is caused by
               Flood regardless of any other cause or event contributing concurrently or in any other sequence of
               loss. However, ensuing physical loss or damage by fire, explosion, theft, vandalism or sprinkler
               leakage will not be considered to be loss by Flood within the terms and conditions of this Policy.

5.03.04.       NAMED STORM
               The Company will pay for direct physical loss of or damage to Covered Property, Time Element
               loss and Special Coverages loss as provided by this Policy, if such loss or damage is caused by
               Named Storm; regardless of any other cause or event contributing concurrently or in any other
               sequence of loss. However, ensuing physical loss or damage by fire, explosion, theft, vandalism,
               sprinkler leakage or Flood will not be considered loss by Named Storm within the terms and
               conditions of this Policy.

               All Named Storm damage that occurs within the period defined in the Declarations will constitute
               a single Occurrence. The expiration of this Policy will not reduce that period. The Insured may
               elect the point in time when the period defined in the Declarations begins; but such point in time
               must not precede loss or damage to Covered Property.




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SECTION VI –GENERAL POLICY CONDITIONS
 6.01.            AGGREGATION – INTERNATIONAL CONDITION
                  In the event that the applicable Limit of Liability or any Aggregate Limit stated herein is exceeded by
                  payments made under "the Policies" that the Company has confirmed to be issued, directed or placed
                  as part of the International Insurance Program, the Insured agrees to reimburse the Company for any
                  amount paid that exceeds such Limit of Liability or any Aggregate Limit.

                  Any amount due to under the terms of this clause shall be paid by the Insured within 28 days notice
                  from the Company. The Company will give details of the payment and advise the Insured where and
                  to whom payment is to be made.

 6.02.            CANCELLATION/NON-RENEWAL

 6.02.01.             Cancellation

 6.02.01.01.              The First Named Insured shown in the Declarations may cancel this Policy by mailing or
                          delivering to the Company advance written notice of cancellation.

 6.02.01.02.              The Company may cancel this Policy by mailing or delivering to the First Named Insured
                          written notice of cancellation at least:

 6.02.01.02.01.                The number of days before the effective date of cancellation if the Company cancels for
                               nonpayment of premium, as stated in the Declarations; or

 6.02.01.02.02.                The number of days before the effective date of cancellation if the Company cancels for
                               any other reason, as stated in the Declarations.

 6.02.01.03.              The Company will mail or deliver notice to the First Named Insured's mailing address
                          shown in the Declarations of this Policy or any Endorsement attached thereto.

 6.02.01.04.              Notice of cancellation will state the effective date of cancellation. The Policy Period will end
                          on that date.

 6.02.01.05.              If this Policy is cancelled, the Company will send the First Named Insured any premium
                          refund due. If the Company cancels, the refund will be pro rata. If the First Named Insured
                          cancels, the refund may be less than pro rata but no less than the customary short rate amount.
                          The cancellation will be effective even if the Company has not made or offered a refund.

 6.02.01.06.              If notice is mailed, proof of mailing will be sufficient proof of notice.

 6.02.01.07.              If under the laws of the jurisdiction in which the property is located, such cancellation terms
                          or conditions are different, then cancellation terms or conditions will be as permitted by such
                          laws.

 6.02.02.             Non-renewal

 6.02.02.01.              The Company may non-renew this Policy by mailing or delivering to the First Named
                          Insured written notice, the number of days before the non-renewal, as permitted by law in the
                          jurisdiction where in the property is located.




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6.03.             CERTIFICATES OF INSURANCE

                  Any certificate of insurance issued in connection with this Policy is provided solely as a matter of
                  convenience or information for the addressee(s) or holder(s) of such certificate of insurance, except as
                  provided under the Policy when a loss payee(s) or mortgagee(s) are named. The certificate does not
                  amend, extend or alter the coverage afforded by the Policy.

                  In the event this policy is cancelled pursuant to the CANCELLATION/NON-RENEWAL provision,
                  other than for nonpayment of premium, and except as provided otherwise, the Company shall endeavor
                  to provide notice of cancellation to those entities set out in the certificates of insurance on file with the
                  Company, as soon as practicable, after notifying the First Named Insured. However, in no event will
                  failure to provide notice to entities set out in certificates of insurance waive the Company’s right or
                  ability to cancel the policy as allowed by law.

                  The Company hereby authorizes the Producer named on the Policy to issue certificates of insurance
                  consistent with the foregoing.

  6.04.           CONCEALMENT, MISREPRESENTATION OR FRAUD
  6.04.01.            This Policy is void as to all Insureds in any case of fraud by any Insured as it relates to this Policy
                      at any time. It is also void if any Insured, at any time, intentionally conceals or misrepresents a
                      material fact concerning:

  6.04.01.01.              This Policy;

  6.04.01.02.              The Covered Property;

  6.04.01.03.              The Insured's interest in Covered Property; or

  6.04.01.04.              A claim under this Policy.

  6.05.           CONTROL OF DAMAGED GOODS
                  In the event of direct physical loss of or damage caused by a Covered Cause of Loss to Finished
                  Stock or Merchandise that carries the Insured's brand or trade name; this Policy gives control of the
                  physically damaged property as follows, all subject to 6.05.05.

  6.05.01.            The Insured will have full rights to the possession, control and disposition of damaged property in
                      the event of insured direct physical loss or damage to such property provided the Company agrees
                      that the property is physically damaged.

  6.05.02.            The Insured, using reasonable judgment, will decide if the Insured can reprocess or sell the
                      physically damaged property.

  6.05.03.            If the Company takes possession of property that carries the Insured's brand or trade name that
                      has sustained direct physical loss or damage, the Company will pay for the Insured or the
                      Insured representative to stamp “salvage”, remove, or obliterate the brand, label or trade name
                      on the property or its containers if doing so will not damage the property. In either event, the
                      Insured must re-label such property or its containers to comply with any applicable law.

  6.05.04.            The salvage value of property that is claimed damaged shall be determined at the time of loss.

  6.05.05.            The Insured will allow the Company to deduct from the amount of loss otherwise payable, the fair
                      market value of such salvage, which could have been obtained on any sale or other disposition of
                      goods or products through normal insurance industry salvage practices.




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6.06.            CURRENCY FOR LOSS PAYMENT
6.06.01.             Losses will be adjusted and paid in the currency designated in 2.02., unless directed otherwise by
                     the Insured. In the event of a loss adjustment involving Local Currency, the exchange-selling
                     rate will be calculated as follows:

6.06.01.01.               As respects the calculation of deductibles and Limits of Liability, the rate of exchange
                          published in the Midwest Ed. of The Wall Street Journal on the date of settlement.

6.06.01.02.               As respects direct physical loss or damage to Real and Personal Property:

6.06.01.02.01.                The cost to repair or replace Real and Personal Property will be converted at the time the
                              cost of repair or replacement is incurred based on the rate of exchange published in the
                              Midwest Ed. of The Wall Street Journal on the date of settlement.

6.06.01.02.02.                If such property is not replaced or repaired, the conversion will be based on the rate of
                              exchange published in the Midwest Ed. of The Wall Street Journal on the date of loss.

6.06.01.03.               As respects Time Element loss the conversion will be based on the average of the rate of
                          exchange published in the Midwest Ed. of The Wall Street Journal on the date of loss and the
                          rate of exchange published in the Midwest Ed. of The Wall Street Journal on the last day of
                          the Period of Liability.

6.06.01.04.               If the Midwest Ed. of The Wall Street Journal was not published on the stipulated date, or the
                          rate of exchange was not published on the stipulated date, the rate of exchanged will be as
                          published on the next business day the rate is published.

6.07.            INSPECTIONS AND SURVEYS
6.07.01.             The Company has the right but not the obligation to make inspections and surveys at any time, to
                     give the Insured reports on the conditions found, and to recommend changes.

6.07.02.             Any inspections, surveys, reports or recommendations relate only to insurability and the premiums
                     to be charged. The Company does not make safety inspections. The Company does not undertake
                     to perform the duty of any person or organization to provide for the health or safety of workers or
                     the public, nor does it represent that conditions are safe, healthful, or comply with laws,
                     regulations, codes or standards.

6.07.03.             This condition applies not only to the Company, but also to any rating, advisory, rate service or
                     similar organization that makes insurance inspections, surveys, reports or recommendations.

6.08.            JOINT LOSS
                 This clause applies only if all of the following requirements are met:

6.08.01.             The BREAKDOWN OF EQUIPMENT Coverage is shown as NCP in the Declarations of this
                     Policy and the BREAKDOWN OF EQUIPMENT Coverage carried by the Named Insured,
                     insuring the Covered Property contains a similar Joint Loss provision with substantially the same
                     requirements, procedures, and conditions as contained in this Policy.

6.08.02.             The loss or damage to the Covered Property was caused by a Covered Cause of Loss for which
                     both the Insurer(s) of the Property Coverage and the Insurer(s) of the BREAKDOWN OF
                     EQUIPMENT Coverage admit to some liability for payment under the respective policies.




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6.08.03.        The total amount of loss is agreed to by the Insured, the Insurer(s) of the Property Coverage and
                the Insurer(s) of the BREAKDOWN OF EQUIPMENT Coverage.

6.08.04.        The Insurer(s) of the Property Coverage and the Insurer(s) of the BREAKDOWN OF
                EQUIPMENT Coverage disagree as to the amount of loss that both should pay that is attributable
                to:

6.08.04.01.         An accident covered under the BREAKDOWN OF EQUIPMENT Coverage; and

6.08.04.02.         A Covered Cause of Loss under the Property Coverage.

6.08.05.        If the requirements listed above are satisfied, the Insurer(s) of the Property Coverage and of the
                BREAKDOWN OF EQUIPMENT Coverage will make payments to the extent, and in the manner,
                described in the following:

6.08.05.01.         The Insurer(s) of the BREAKDOWN OF EQUIPMENT Coverage will pay, after the Insured's
                    written request, the entire amount of loss that they have agreed as being covered by
                    BREAKDOWN OF EQUIPMENT Coverage and one-half (1/2) the amount of loss that is in
                    disagreement.

6.08.05.02.         The Insurer(s) of the Property Coverage will pay, after the Insured's written request, the entire
                    amount of loss that they have agreed as being covered by the Property Coverage and one-half
                    (1/2) the amount of loss that is in disagreement.

6.08.05.03.         The amount in disagreement to be paid by the Insurer(s) of the BREAKDOWN OF
                    EQUIPMENT Coverage and the Insurer(s) of the Property Coverage under this Joint Loss
                    provision shall not exceed the amount payable under the equivalent loss adjustment provisions
                    of the Insurer(s) of the Property Coverage and the BREAKDOWN OF EQUIPMENT
                    Coverage.

6.08.06.        The amount to be paid under this Joint Loss provision shall not exceed the amount that would
                have been paid had no Property Coverage or, in the alternative, no BREAKDOWN OF
                EQUIPMENT Coverage been in effect at the time of loss.

6.08.07.        Acceptance by the Insured of sums paid under this Joint Loss provision does not alter, waive or
                surrender any other rights against the Insurer(s).

6.08.08.        Additional Conditions:

6.08.08.01.         The Insurer(s) of the Property Coverage and the Insurer(s) of the BREAKDOWN OF
                    EQUIPMENT Coverage agree to submit their differences to arbitration within 90 days after
                    payment of the loss under the terms of this Joint Loss provision.

6.08.08.02.         The Insured agrees to cooperate with any arbitration procedures. There will be three
                    arbitrators: one will be appointed by the Insurer(s) of the BREAKDOWN OF EQUIPMENT
                    Coverage and the one will be appointed by the Insurer(s) of the Property Coverage. The two
                    arbitrators will select a third arbitrator. If they cannot agree, either may request that selection
                    be made by a judge of a court having jurisdiction. A decision agreed to by two of the three
                    arbitrators will be binding on both parties. Judgment on any award can be entered in any
                    court that has jurisdiction.The Insurer(s) of the BREAKDOWN OF EQUIPMENT Coverage
                    will pay their designated arbitrator and the Insurer(s) of the Property Coverage will pay their
                    designated arbitrator. The Insurer(s) of the BREAKDOWN OF EQUIPMENT and the
                    Insurer(s) of the Property Coverage will split the expense of the third arbitrator.




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6.09.         JURISDICTION
              Any disputes arising hereunder will be exclusively subject to the jurisdiction of a court of competent
              jurisdiction within the USA.

6.10.         LENDERS LOSS PAYEE AND MORTGAGE HOLDER INTERESTS AND
              OBLIGATIONS
6.10.01.          When specified in the Policy or in Certificates of Insurance on file with the Company, the
                  Company will pay for covered loss to property insured under this Policy to each:

6.10.01.01.           Lender Loss Payee (hereinafter referred to as Lender) as its interest may appear, in order of
                      precedence; or

6.10.01.02.           Mortgagee as its interest may appear, in order of precedence.

6.10.02.          The interest of the specified Lender or Mortgagee in property insured under this Policy will not be
                  invalidated by:

6.10.02.01.           Any act or neglect of any Insured.

6.10.02.02.           Commencement of foreclosure, notice of sale, or similar proceedings with respect to the
                      property.

6.10.02.03.           Change in the title or ownership of the property.

6.10.02.04.           Change to a more hazardous occupancy.

6.10.03.          The Lender or Mortgagee will notify the Company of any known change in ownership, occupancy,
                  or hazard and, within ten (10) days of written request by the Company, may pay the increased
                  premium associated with such known change. If the Lender or Mortgagee fails to pay the increased
                  premium, all coverage under this Policy will cease.

6.10.04.          In the event of a claim, upon request of the Company, the Lender or Mortgagee will cooperate in
                  any claim investigation.

6.10.05.          If this Policy is cancelled at the request of the Insured or its agent, the coverage for the interest of
                  the Lender or Mortgagee will terminate ten (10) days after the Company sends to the Lender or
                  Mortgagee written notice of cancellation, unless:

6.10.05.01.           Earlier terminated by authorization, consent, approval, acceptance, or ratification of the
                      Insured's action by the Lender, Mortgagee, or its agent.

6.10.05.02.           This Policy is replaced by the Insured, with a policy providing coverage for the interest of the
                      Lender or Mortgagee, in which event coverage under this Policy with respect to such interest
                      will terminate as of the effective date of the replacement policy, notwithstanding any other
                      provision of this Policy.

6.10.06.              The Company may cancel this Policy and/or the interest of the Lender or Mortgagee under this
                      Policy, by sending the specified Lender or Mortgagee written notice sixty (60) days prior to
                      the effective date of cancellation, if cancellation is for any reason other than non-payment of
                      premium. If the Insured has failed to pay any premium due under this Policy, the Company
                      may cancel this Policy for such non-payment, but will send the Lender or Mortgagee written
                      notice ten (10) days prior to the effective date of cancellation. If the Lender or Mortgagee fails
                      to pay the premium due by the specified cancellation date, all coverage under this Policy will
                      cease.




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6.10.07.          The Company has the right to invoke this Policy's Suspended Property clause. When the Company
                  suspends the insurance, it will apply to the interest of any Lender or Mortgagee. The Company
                  will send the specified Lender or Mortgagee, at the last known address, a copy of such notice.

6.10.08.          If the Company pays a Lender or Mortgagee for any loss, and denies payment to the Insured, the
                  Company will, to the extent of the payment made to the Lender or Mortgagee be subrogated to the
                  rights of the Lender or Mortgagee under all securities held as collateral. No subrogation will
                  impair the right of the Lender or Mortgagee to recover the full amount of its claim. At its option,
                  the Company may pay to a Lender or Mortgagee the whole principal due on the debt or mortgage
                  plus any accrued interest and charges. In this event, all rights and securities will be assigned and
                  transferred from the Lender or Mortgagee to the Company, and the remaining debt or mortgage
                  will be paid to the Company.

6.10.09.          If the Insured fails to render proof of loss, the Lender or Mortgagee, upon notice of the Insured's
                  failure to do so, will render proof of loss within sixty (60) days of notice and will be subject to the
                  Insured’s duties, obligations and provisions of this Policy when presenting a claim.

6.10.10.          In no event will the amount payable to a Lender or Mortgagee exceed the amount which would be
                  payable to the Named Insured.

6.11.         LIBERALIZATION
              If during the period that insurance is in force under this Policy, any filed rules or regulations are
              revised by statute so as to broaden this insurance without additional premium charge, such extended or
              broadened insurance will inure to the benefit of the Insured within such jurisdiction, effective the date
              of the change specified in such statute.

6.12.         LOSS ADJUSTMENT/PAYABLE
              Loss, if any, will be adjusted with and payable to the First Named Insured as shown on this Policy, or
              as directed by the First Named Insured.

              When a Lender or Mortgagee is named in the Certificates of Insurance on file with the Company, the
              Lender or Mortgagee will be included in loss payment as their interests may appear.

              When a Loss Payee is named in the Certificates of Insurance on file with the Company, the loss payee
              will be included in loss payments made to the insured as their interests may appear. The loss payee has
              no other rights under the policy.

6.13.         LOSS CONDITIONS
6.13.01.          DUTIES IN THE EVENT OF LOSS OR DAMAGE

                  The Insured must see that the following are done in the event of direct physical loss or damage to
                  Covered Property:

6.13.01.01.           Notify the police if a law may have been broken.

6.13.01.02.           Give the Company prompt notice of the loss or damage. Include a description of the property
                      involved.

6.13.01.03.           As soon as possible, give the Company a description of how, when and where the loss or
                      damage occurred.




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6.13.01.04.         Take all reasonable steps to protect the Covered Property from further damage caused by a
                    Covered Cause of Loss. If feasible, set the damaged property aside and in the best possible
                    order for examination. Also, keep a record of expenses for emergency and temporary repairs
                    for consideration in the settlement of the claim. This will not increase the Limit of Liability.

6.13.01.05.         At the Company's request, provide a complete inventory of the damaged and undamaged
                    property, including quantities, costs, values and amount of loss claimed.

6.13.01.06.         As often as reasonably required, permit the Company to inspect the property and records
                    evidencing the loss or damage, including taking some or all of damaged and undamaged
                    property for inspection, testing and analysis, and permit the Company to make copies of the
                    Insured's books and records.

6.13.01.07.         Permit the Company to question the Insured, the Insured's employees and agents under oath,
                    while not in the presence of any other insured and at such times as may be reasonably
                    required, about any matter relating to this insurance or the loss or damage, including an
                    Insured's books and records. In the event of this examination, an Insured's answers must be
                    signed or attested to by a notary public or certified court reporter.

6.13.01.08.         Give the Company a signed sworn statement of loss containing the information necessary to
                    investigate the claim. If requested by the Company, the Company will supply the necessary
                    form and the Insured must return this completed form within sixty (60) days of the request or
                    as required by law.

6.13.01.09.         Cooperate with the Company in the investigation or settlement of the claim.

6.13.02.        DUTIES IN THE EVENT OF LOSS OR DAMAGE IN A PROHIBITED JURISDICTION

                The duties and requirements imposed upon any Insured under this Policy shall not apply in a
                Prohibited Jurisdiction. However, with respect to any direct physical loss or damage in a
                Prohibited Jurisdiction, it shall be the duty of the First Named Insured to do or to cause the
                applicable subsidiary to do such things as would be required of such subsidiary if this Policy
                applied directly to such claim.

                The First Named Insured shall pay the Company an amount equal to its share of any recoveries
                made by or on behalf of any subsidiary operating in a Prohibited Jurisdiction, as if such
                recoveries had been received by the First Named Insured.

6.13.03.        ABANDONMENT

                There may be no abandonment of any property to the Company.

6.13.04.        SUBROGATION

                The Insured is required to cooperate in any subrogation proceedings. To the extent of the
                Company's payment, the Insured's rights of recovery against any party are transferred to the
                Company.

                The Company acquires no rights of recovery that the Insured has expressly waived prior to a loss,
                nor will such waiver affect the Insured's rights under this Policy.

                Any recovery from subrogation proceedings, less costs incurred by the Company in such
                proceedings, will be payable to the Insured in the proportion that the amount of any applicable
                deductible and/or any provable uninsured loss, bears to the entire provable loss amount.




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6.13.05.         APPRAISAL

                 If the Insured and the Company fail to agree on the value of the property or the amount of loss,
                 each will, on the written demand of either, select a competent, disinterested, and impartial
                 appraiser, who has no direct or indirect financial interest in the claim. Each will notify the other
                 of the appraiser selected within 20 days of such demand. The Insured may not invoke appraisal
                 unless it has first fully complied with all provisions of this Policy, including Duties in the Event of
                 Loss or Damage and has provided the Company with a signed and sworn statement of loss.

                 The appraisers will first select a competent, disinterested and impartial umpire. If the appraisers
                 fail to agree upon an umpire within 15 days then, on the request of the Insured or the Company, a
                 judge of a court of record in the jurisdiction in which the appraisal is pending will select the
                 umpire. The appraisers will then appraise the value of the property or the amount of loss. They
                 will state separately, the actual cash value and replacement cost value, as of the date of loss and the
                 amount of loss, each item of physical loss or damage or, if for Time Element loss, the amount of
                 loss for each Time Element Coverage of this Policy.

                 If the appraisers fail to agree, they will submit their differences to the umpire. An award stating
                 separately the actual cash value and replacement cost value, as of the date of loss and the amount
                 of loss, for each item of physical loss or damage or, if for Time Element loss, the amount of loss
                 for each Time Element Coverage of this Policy agreed to in writing by any two will determine the
                 amount of loss.

                 Once there is an award, the Company retains the right to apply all policy terms and conditions
                 (including but not limited to deductibles, exclusions, and Limits of Liability) to the award. The
                 Company further retains its right to deny the claim in whole or in part.

                 The Insured and the Company will each pay its chosen appraiser and bear equally the other
                 expenses of the appraisal and umpire.

6.13.06.         SUIT AGAINST THE COMPANY

                 No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or
                 equity unless the Insured has fully complied with all the provisions of this Policy. Legal action
                 must be started within (12) twelve months after the date of direct physical loss or damage to
                 Covered Property or to other property as set forth herein.

                 If under the laws of the jurisdiction in which the property is located, such twelve months'
                 limitation is invalid, then, any such legal action needs to be started within the shortest limit of time
                 permitted by such laws.

6.14.        NON-ADMITTED INSURANCE
             If physical loss or damage occurs at a Location outside of the United States of America including its
             territories and possessions, the Company will pay according to the terms and conditions of this Policy
             for loss as a result of direct physical loss of or damage caused by a Covered Cause of Loss to
             Covered Property at a Location, provided there is no local insurance applying to such Location.

6.15.        NO REDUCTION BY LOSS
             Loss or damage shall not reduce the amount of insurance recoverable, except where an Annual
             Aggregate applies. The reinstatement of any exhausted Annual Aggregate is not permitted unless
             authorized by the Company in writing.




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6.16.         OTHER INSURANCE
              Insurance that is intended to pay proportionally with this insurance as a part of a property insurance
              plan or program expressly written with other participants is not other insurance as described below.

6.16.01.          The Company will not be liable if, at the time of loss or damage, there is any other insurance that
                  would attach in absence of this insurance; except that this insurance shall apply only as excess,
                  Difference in Conditions/Difference in Limits and in no event as contributing insurance, and then
                  only after all other insurance has been exhausted.

6.16.02.          The Company gives the Insured permission to purchase insurance for all or any part of the
                  deductibles in this Policy, and the existence of underlying insurance shall not prejudice the
                  Insured's rights under this Policy.

6.16.02.01.           The deductible and any amount paid under such insurance that would be covered under this
                      Policy, shall apply to the deductible that would apply in this Policy.

6.16.02.02.           This Policy shall then apply on an excess, Difference in Conditions/Difference in Limits basis.

6.16.03.          The Insured can purchase excess insurance commencing on or after the inception of this Policy that
                  is specifically excess over the Limits of Liability set forth in this Policy without prejudice to this
                  Policy and the existence of such insurance shall not reduce any liability under this Policy.

6.16.04.          The Company will not be liable if, at the time of loss or damage, there is any insurance with
                  National Flood Insurance Program (NFIP); except that this insurance shall apply only as excess
                  and in no event as contributing insurance, and then only after all NFIP insurance has been
                  exhausted.

6.16.05.          The Company will not be liable if, at the time of loss or damage, there is any insurance for New
                  Construction or Additions under a specific policy for such New Construction and Additions;
                  except that this insurance shall apply only as excess and in no event as contributing insurance, and
                  then only after all specific insurance has been exhausted.

6.16.06.          The Company will not be liable if, at the time of loss or damage, there is any insurance for stock
                  under a specific policy for such stock; except that this insurance shall apply only as excess and in
                  no event as contributing insurance, and then only after all specific insurance has been exhausted.

6.17.         POLICY MODIFICATION
6.17.01.          This Policy contains all of the agreements between the Insured and the Company concerning this
                  insurance. The Insured and the Company may request changes to this Policy. Only endorsements
                  issued by the Company and made a part of this Policy can change this Policy.

6.17.02.          Notice to any agent or knowledge possessed by any agent or by any other person will not create a
                  waiver or change any part of this Policy or prevent the Company from asserting any rights under
                  the Policy.

6.18.         PRIVILEGE TO ADJUST WITH OWNER
              In the event of loss or damage involving Property of Others in your care, custody or control, we have
              the right, but not the duty to:

6.18.01.          Settle the loss or damage with the owners of the Property.




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6.18.02.             Provide a defense for legal proceedings brought against the Insured. If provided, the expense for
                     this defense will be at the Company’s cost and will not reduce any applicable limit of insurance.

6.19.            SETTLEMENT OF CLAIMS
6.19.01.             Loss Payment

6.19.01.01.              In the event of loss or damage to Covered Property, the Company will, at its option, either:

6.19.01.01.01.                Pay the value of lost or damaged property;

6.19.01.01.02.                Pay the cost of repairing or replacing the lost or damaged property;

6.19.01.01.03.                Take all or any part of the property at any agreed valuation; or

6.19.01.01.04.                Repair, rebuild or replace the property with other property of like kind and quality.

6.19.02.             The Company will give notice of its intentions within thirty (30) days after receiving the sworn
                     statement of loss or as required by law.

6.19.03.             The Company will not pay more than the Insured's financial interest in the Covered Property.

6.19.04.             The Company will pay for covered loss or damage within thirty (30) days or as required by law,
                     after receiving the sworn statement of loss, if the Insured has complied with all the terms of this
                     Policy; and

6.19.04.01.              The Company has reached agreement on the amount of loss; or

6.19.04.02.              An appraisal award has been made, subject to 6.13.05.

6.19.05.             Priority of Payment

                     In the event of a claim that involves more than one interest and/or coverage and/or peril; the
                     insured has the option to apportion recovery under this Policy when submitting final proof of loss,
                     subject to the overall amount of claim not exceeding the applicable limit of liability and subject to
                     all other terms and conditions of the policy.

                     For the purpose of attachment of coverage for excess layers, claims involving any interest and/or
                     peril covered in the primary or underlying excess layers, but not covered in higher excess layers,
                     will be recognized by such excess layers as eroding or exhausting the occurrence limits of the
                     primary and/or underlying excess layer(s). Nothing, however, will extend coverage in such
                     layers(s) to include loss from any interest and/or peril not covered in the excess layer(s) itself.

6.20.            SUSPENDED PROPERTY
                 When Covered Property is found to be in, or exposed to, a dangerous condition, any of the Company's
                 representatives may immediately suspend this insurance for that property. This can be done by
                 delivering or mailing a written notice to the First Named Insured's mailing address or to the address
                 where the Covered Property is located. Once suspended, this insurance can be reinstated only by an
                 endorsement. Any unearned premium due will be returned by the Company.

6.21.            TITLES
                 The titles of the various paragraphs and endorsements are solely for reference and shall not in any way
                 affect the provisions to which they relate.




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6.22.            TRANSFER OF RIGHTS AND DUTIES
                 The Insured rights and duties under this Policy may not be transferred without the Company giving
                 written consent.

6.23.            VALUATION
                 In the event of any claim for direct physical loss of or damage to Insured Property:

6.23.01.             The basis of adjustment is on a replacement cost basis unless a specific valuation applies.
                     Replacement Cost shall be the cost to repair, rebuild or replace the damaged property (without
                     deduction for depreciation) with materials of like kind, quality and capacity at the same or another
                     site, but no more than the lesser of:

6.23.01.01.              The cost to repair;

6.23.01.02.              The cost to rebuild or replace on the same or another site with materials of equivalent size,
                         kind, quality and capacity;

6.23.01.03.              The necessary cost actually expended in repairing, rebuilding or replacing on the same or
                         another site, but not exceeding the operating capacity that existed at the time of the loss; or

6.23.01.04.              The Limits of Liability applicable to the lost or damaged property.

6.23.02.             If there is direct physical loss of or damage to Covered Property for which repair, rebuilding or
                     replacement has not started within two (2) years from the date of direct physical loss or damage,
                     the Company will not be liable for more than the actual cash value of the property destroyed.

6.23.03.             The Company, will pay the reduction in value of insured components or parts of products directly
                     resulting from physical loss or damage caused by a Covered Cause of Loss to other insured
                     components or parts of products, or part of a pair or set as follows:

6.23.03.01.              In case of loss or damage to any components or parts of products, or part of a pair or set, the
                         Company will at its option:

6.23.03.01.01.                Pay the cost of repairing or replacing any part to restore the components or parts of
                              products, pair or set to its value before the loss or damage;

6.23.03.01.02.                Repair or replace any part to restore the components or parts of products, pair or set to its
                              value before the loss or damage; or

6.23.03.01.03.                Pay the difference between the value of the components or parts of products, pair or set
                              before and after the loss or damage.

6.23.03.02.              If settlement is based on a constructive total loss, the Insured will surrender the undamaged
                         parts of such property to the Company.

6.23.04.             The following property shall be valued as specified below:

6.23.04.01.              For Raw Materials and supplies, the replacement cost.

6.23.04.02.              For Stock in Process, the value of Raw Materials and labor expended plus the proportion of
                         overhead charges attributable to that Stock in Process.




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6.23.04.03.        For Finished Stock manufactured by the Insured, the valuation as stated in the Declarations.
                   If valued at Selling Price, this Policy will also pay the increased tax liability incurred by the
                   Insured due to the profit portion of a loss payment involving Finished Stock being greater
                   than the tax liability of the profits that would have been earned had no loss occurred.

6.23.04.04.        For Merchandise that carries the Insured's brand or trade name, the valuation as stated in the
                   Declarations.

6.23.04.05.        For all other Merchandise, the valuation as stated in the Declarations.

6.23.04.06.        For Fine Arts articles, the lesser of the reasonable and necessary cost to repair or restore such
                   property to the physical condition that existed on the date of loss or the cost to replace the
                   article or the value if stated on a schedule on file. If the Fine Arts article cannot be replaced
                   and an appraisal is not available, the valuation shall be market value based on prevailing
                   conditions at the time of loss or damage.

6.23.04.07.        For property covered under Deferred Payments, the lesser of the total amount of unpaid
                   installments less finance charges or the actual cash value of the property at the time of loss or
                   the cost to repair or replace with material of like size, kind and quality.

6.23.04.08.        The selling price of buildings (or structures) or machinery and equipment, other than stock,
                   offered for sale on the date of loss, but no more than the cost to repair or replace.

6.23.04.09.        The cost to replace non-repairable electrical or mechanical equipment, including computer
                   equipment, with equipment that is the most functionally equivalent to that damaged or
                   destroyed, even if such equipment has technological advantages, represents an improvement in
                   function, or forms part of a program of system enhancement.

6.23.04.10.        Improvements and Betterments at replacement cost if such property is repaired or replaced
                   at the expense of the insured. If there is direct physical loss of or damage to Improvements
                   and Betterments which are not repaired, rebuilt or replaced at the expense of the insured, the
                   Company will not be liable for more than a proportion of the original cost determined as
                   follows:

6.23.04.10.01.         Multiply the original cost of the Improvements and Betterments by the number of days
                       from the loss or damage to the expiration of the lease; and

6.23.04.10.02.         Divide the amount determined in 6.23.04.10.01 by the number of days from the
                       installation of the Improvements and Betterments to the expiration of the lease.

6.23.04.10.03.         If the lease contains a renewal option, the expiration of the renewal option period will
                       replace the expiration of the lease in this procedure.

6.23.04.11.        For property that is useless to the Insured or obsolete, the actual cash value.

6.23.04.12.        For vehicles, the valuation as stated in the Declarations.

6.23.04.13.        The Insured may elect not to repair or replace such damaged Covered Property, however, if
                   loss settlement proceeds are expended on other capital expenditures, on property of the type
                   insurable under this policy, related to the business activities of the Insured within two years
                   from the date of loss, the lesser of the repair or replacement cost of such property will be paid.
                   As a condition of collecting under this clause, such expenditure must be unplanned as of the
                   date of loss and be made at a Scheduled Location. This clause does not extend to Increased
                   Cost of Construction.




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SECTION VII - DEFINITIONS
                The following term(s) wherever used in this Policy means:

  7.01.             Ammonia Contamination - The loss or damage, including salvage expense, caused by ammonia
                    contacting or permeating Covered Property under refrigeration or in process requiring refrigeration, as
                    the result of any one accident.

  7.02.             Annual Aggregate - The maximum amount of loss or damage payable in any one (1) Policy Year
                    regardless of the number of Occurrences within the same policy year.

  7.03.             Anticipated Date of Completion - The date on which the work is scheduled to be completed, as
                    stated in the construction contract or amendments to such contract, for the start of commercial
                    operations or use and occupancy.

  7.04.             Attraction Properties - A property within the distance described in the declarations of an Insured
                    Location that attracts customers to the Insured's business.

  7.05.             Average Daily Value (ADV) - The 100% Gross Earnings value or 100% Gross Profit value at the
                    Location(s) where the direct physical loss or damage occurred and all other Locations where Time
                    Element loss ensues for the Policy Period divided by the number of working days in the Policy period.

  7.06.             Breakdown –

  7.06.01.              A failure of pressure or vacuum equipment;

  7.06.02.              An electrical failure including arcing; or

  7.06.03.              A mechanical failure including rupture or bursting caused by centrifugal force.

  7.06.04.              7.06.01., 7.06.02., 7.06.03. includes an explosion to a steam boiler, electric steam generator, steam
                        piping, steam turbine, steam engine, gas turbine, or moving or rotating machinery when such
                        explosion is caused by centrifugal force or mechanical failure; but not the explosion of gases or
                        fuel within the furnace of any Covered Equipment or within the flues or passages through which
                        the gases of combustion pass; nor combustion explosion outside the Covered Equipment.

  7.06.05.              Breakdown does not mean or include:

  7.06.05.01.               Malfunction including but not limited to adjustment, alignment, calibration, cleaning or
                            modification;

  7.06.05.02.               Defects, erasures, errors, limitations or viruses in computer equipment and programs;

  7.06.05.03.               Leakage at any valve, fitting, shaft seal, gland packing, joint or connection;

  7.06.05.04.               Damage to any vacuum tube, gas tube or brush;

  7.06.05.05.               Damage to any structure or foundation supporting any Covered Equipment or any of its
                            parts;

  7.06.05.06.               Functioning of any safety or protective device; or

  7.06.05.07.               Cracking of any part on an internal combustion gas turbine exposed to the products of
                            combustion.




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7.07.         Carrier - Contract or public truck men and motor transit companies or connecting carriers.

7.08.         Computer Virus - Any Software, Electronic Data or code that affects the operation or functionality
              of any computer, communication system, file server, networking equipment, computer system,
              computer hardware, data processing equipment, computer memory, microchip, microprocessor
              (computer chip), integrated circuit or similar device in computer equipment, Program, Computer
              Software or operating systems, programming instructions, or data including, but not limited to any
              destructive Program, computer code, Computer Virus, worm, logic bomb, denial of service attack,
              smurf attack, vandalism, Trojan Horse or any other data introduced into any electronic system causing
              deletion, destruction, degradation, corruption, malfunction or compromise of Electronic Data,
              Software or electronic business systems.

7.09.         Contamination(Contaminated) - Any condition of property due to the actual presence of any
              foreign substance, impurity, pollutant, hazardous material, poison, toxin, pathogen or pathogenic
              organism, bacteria, virus, disease causing or illness causing agent, Fungus, mold or mildew.

7.10.         Contaminant(s) - Any solid, liquid, gaseous, thermal or other irritant, pollutant or contaminant,
              including but not limited to smoke, vapor, soot, fumes, acids, alkalis, chemicals, waste (including
              materials to be recycled, reconditioned or reclaimed), asbestos, ammonia, other hazardous substances,
              Fungus or Spores.

7.11.         Covered Cause of Loss - All risks of direct physical loss of or damage from any cause unless
              excluded.

7.12.         Covered Equipment - Any boiler fired pressure vessel, unfired vessel normally subject to vacuum or
              internal pressure other than weight of its contents, refrigerating and air conditioning systems, any metal
              piping and its accessory equipment, and mechanical, or electrical machines or apparatus used for the
              generation, transmission, or utilization of mechanical or electrical power, not otherwise excluded as
              Covered Property.

7.12.01           Covered Equipment does not include any of the following:

7.12.01.01.            Part of pressure or vacuum equipment that is not under internal pressure of its contents or
                       internal vacuum;

7.12.01.02.            Insulating or refractory material, but not excluding the glass lining of any Covered
                       Equipment;

7.12.01.03.            Non-metallic pressure or vacuum equipment unless it is constructed and used in accordance
                       with the American Society of Mechanical Engineers (ASME) code or another appropriate and
                       approved code;

7.12.01.04.            Catalyst;

7.12.01.05.            Vessels, piping and other equipment that is buried below ground and requires the excavation
                       of materials to inspect, remove, repair or replace;

7.12.01.06.            Vehicle, aircraft, self-propelled equipment or floating vessel including any Covered
                       Property(equipment) that is mounted upon or used solely with any one or more Vehicle(s),
                       aircraft, self-propelled equipment or floating vessel;

7.12.01.07.            Drag-line, excavation or construction equipment including any Covered Property or Covered
                       Equipment that is mounted upon or used solely with any one or more drag-lines, excavation,
                       or construction equipment;




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7.12.01.08.            Felt, wire, screen, die, extrusion plate, swing hammer, grinding disc, cutting blade,
                       non-electrical cable, chain, belt, rope, clutch plate, brake pad, non-metal part or any part or
                       tool subject to periodic replacement;

7.12.01.09.            Equipment or any part of such equipment manufactured by the Insured for sale.

7.13.         Daily Value(DV) - The 100% Gross Earnings value or 100% Gross Profit value at the Location(s)
              where the direct physical loss or damage occurred and all other Locations where Time Element loss
              ensues, for the Period of Liability divided by the number of working days in such Period of Liability.

7.14.         Delay in Completion - The period of time between the Anticipated Date of Completion and the
              actual date on which commercial operations or use and occupancy can commence with the exercise of
              due diligence and dispatch.

7.15.         Described Cause(s) of Loss - Breakdown of Equipment, Earth Movement, Flood, or Named
              Storm.

7.16.         Direct Dependent Time Element Location -

7.16.01.          Any Location of a direct: customer, supplier, contract manufacturer or contract service provider to
                  the Insured;

7.16.02.          Any Location of any company under a royalty, licensing fee or commission agreement with the
                  Insured.

7.16.03.          A Direct Dependent Time Element Location does not include Locations that are Insured
                  Locations under this Policy or the Locations of any company directly or indirectly supplying to, or
                  receiving from, the Insured, electricity, fuel, gas, water, steam, refrigeration, sewage, voice, data or
                  video.

7.17.         Earth Movement - Any Earth Movement including earthquake, landslide, mine subsidence, earth
              sinking, rising, shifting, or sinkhole collapse.

7.18.         EEA - The European Economic Area; within this area, free provision of services in all countries
              without any additional insurance license is allowed.

7.19.         Electronic Data - Data of any kind that is recorded or transmitted in a form usable in electronic
              computer systems or networks, microchips, integrated circuits or similar devices in non-computer
              equipment, and which can be stored on Media for use by Programs.

7.20.         Fine Arts - Includes, but is not limited to, bona fide works of art, works of rarity, works of historical
              values, works of artistic merit, photographs (positives and negatives), lithographs, illustrations, gallery
              proofs, original records, and similar property.

7.21.         Finished Stock – Stock, which is ready for sale by the Insured, that is manufactured:

7.21.01.          By the Insured; or

7.21.02.          Under the Insureds’ direction and to the Insureds’ specifications.

7.21.03.          For the purposes of the Gross Earnings and the Gross Profit Coverage only:

7.21.03.01.            Finished Stock also includes whiskey and alcoholic products being aged.

7.21.03.02.            Finished Stock does not include stock that is held for sale at any retail outlet insured under
                       this Policy or that has been sold, that is manufactured:




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7.21.03.02.01.                By the Insured; or

7.21.03.02.02.                Under the Insureds’ direction and to the Insureds’ specifications.

7.22.            First Named Insured - The First Insured listed under Named Insured.

7.23.            Flood - A general and temporary condition of partial or complete inundation of normally dry land
                 areas or structure(s) caused by:

7.23.01.             The unusual and rapid accumulation or runoff of surface waters, waves, tides, tidal waves, tsunami,
                     the release of water, the rising, overflowing or breaking of boundaries of nature or man-made
                     bodies of water; or the spray there from all whether driven by wind or not; or

7.23.02.             Mudflow or mudslides caused by accumulation of water on or under the ground.

7.23.03.             Flood also includes the backup of water from a sewer, drain or sump caused in whole or part by
                     Flood.

7.23.04.             Flood also includes Storm Surge if shown on the declarations as part of Flood.

7.24.            FoS (Freedom of Services) Policy - A policy which only covers risks and Locations in the EEA.

7.25.            Fungus (or Fungi) - Any form of fungus including, but not limited to, yeast, mold, mildew, rust, smut,
                 mushroom, spores, mycotoxins, odors, or any other substances or gases, products or byproducts
                 produced by, released by, or arising out of the current or past presence of Fungi.

7.26.            Gross Profit - The sum produced by adding to the Net Profit or Loss, the amount of the insured
                 Standing Charges.

7.27.            Improvements and Betterments - Fixtures, alterations, installation or additions comprising part of a
                 building occupied, but not owned by the Insured and acquired or made at the Insured's expense which
                 the Insured cannot legally move.

7.28.            Indirect Dependent Time Element Location -

7.28.01.             Any Location of a company that is a direct: customer, supplier, contract manufacturer or contract
                     service provider to a Direct Dependent Time Element Location; or

7.28.02.             Any Location of a company that is an indirect: customer, supplier, contract manufacturer or
                     contract service provider to a Direct Dependent Time Element Location.

7.28.03.             An Indirect Dependent Time Element Location does not include Locations that are Insured
                     Locations under this Policy or the Locations of any company directly or indirectly supplying to, or
                     receiving from, the Direct Dependent Time Element Location, electricity, fuel, gas, water,
                     steam, refrigeration, sewage, voice, data or video.

7.29.            International Insurance Program - A program arrangement that is a compilation of different policies,
                 which all have one common goal: to cover the Insured as agreed to in this Policy.

7.30.            Land Improvements - Lawns, plants, shrubs or trees; pavements, roadways, sidewalks or similar
                 works, but not including any fill or land beneath such property.

7.31.            Lease Interest - The excess rent paid for the same or similar replacement property over actual rent
                 otherwise payable had there been no loss or damage, plus cash bonuses or advance rent paid (including
                 any maintenance or operating charges) for each month during the unexpired term of the lease.




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7.32.         Local Currency - The currency of the country where the loss occurs.

7.33.         Location -

7.33.01.          As specified in the Schedule of Locations;

7.33.02.          If not so specified in the Schedule of Locations:

7.33.02.01.           a Location is a building(s) bounded on all sides by public streets, clear land space or open
                      waterways, each not less than fifty feet wide;

7.33.02.02.       A site or tract of land occupied or available for occupancy with tangible property; or

7.33.03.          If the Insured is a tenant,

7.33.03.01.           those portions of the building not rented by the Insured; or

7.33.03.02.           those portions of the building not intended to be rented by the Insured or others.

7.34.         Media - Tangible personal property on which Electronic Data or Programs can be recorded, but not
              the Data or Programs themselves. Money or Securities are not Media.

7.35.         Merchandise - Goods kept for sale by the Insured which are not Raw Stock, Stock in Process or
              Finished Stock.

7.36.         Miscellaneous Unnamed Location - A Location owned, leased or rented by the Insured, but not
              specified in the Schedule of Locations.

7.37.         Moderate Flood Hazard Area (MFHA) - Is an area defined by FEMA (The Federal Emergency
              Management Agency) or any foreign equivalent, between the limits of the base flood and the
              0.2-percent-annual-chance or 500-year flood. A Moderate Flood Hazard Area is shown on the FIRM
              per FEMA and includes but is not limited to Zone B or Zone X (shaded). If not defined by FEMA or
              any foreign equivalent, it is an area between the limits of the base flood and the
              0.2-percent-annual-chance or 500-year flood.

7.38.         Money - Currency, coins and bank notes whether or not in current use; travelers checks, register checks
              and money orders held for sale to the public.

7.39.         Named Storm - Any storm or weather disturbance that is named by the U. S. National Oceanic and
              Atmospheric Administration (NOAA) or the U. S. National Weather Service or the National Hurricane
              Center or any comparable worldwide equivalent.

              Named Storm also includes Storm Surge if shown on the declarations as part of Named Storm.

7.40.         NCP - No Coverage Provided.

7.41.         Net Lease Interest - That sum which placed at six percent 6% interest compounded annually would
              equal the Lease Interest (less any amounts otherwise payable).

7.42.         Net Profit or Loss - The net trading profit or loss (exclusive of all capital receipts and accretions and
              all outlay properly chargeable to capital) resulting from the Insured's business activities after
              deductions have been made for all charges and other charges including depreciation but before the
              deduction of any taxation chargeable on profits.




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7.43.        New Construction or Additions - Additional square footage beyond what existed and was usable for
             the Insured’s business activities as of the inception of the policy period.

7.44         Non-Admitted Insurance - A policy issued in one country that covers exposures in other countries
             where the Company has not filed with the Insurance regulators of the country where the exposure is to
             provide insurance coverage.

7.45.        Occurrence - All loss(es) or damage that is attributable directly or indirectly to one cause or a series of
             similar or related causes. All such loss(es) or damage will be treated as one Occurrence. However, if
             Occurrence is specifically defined anywhere in this Policy, that definition will apply to the applicable
             coverage provided.

7.46.        Operations - The Insured's business activities at the Insured Location.

7.47.        Ordinary Payroll - Payroll expenses for all employees except officers, executives, department
             managers, employees under contract, and other important professional employees. Payroll expenses
             include the payroll, employee benefits (if directly related to payroll), FICA payments, Union dues and
             Workers' Compensation premiums the Insured pays for.
7.48.        Period of Interruption - The period starting when the Insured's Electronic Data Processing Equipment
             or Media fails to operate and ending when with due diligence and dispatch, the Insured's Electronic
             Data Processing Equipment or Media could be restored to the same or equivalent operating condition
             that existed prior to the failure.The Period of Interruption does not include the additional time to make
             changes to the Insured's Electronic Data Processing Equipment or Media.
7.49.        Period of Service Interruption - The period starting when an interruption of a specified service
             occurs and ending when with due diligence and dispatch, the service could be restored to the same or
             equivalent operating condition that existed prior to the failure.

7.50.        Policy Year - The (12) twelve consecutive months after the date coverage begins on this Policy.

7.51.        Program(Software) - Any computer software, computer applications, or recorded instructions, whether
             digital or otherwise, for the processing, sequencing, collecting, transmittal, recording, retrieval or
             storage of Electronic Data.

7.52.        Prohibited Jurisdiction - Any country or political subdivision, outside the United States of America,
             its territories and possessions, in which by that country's or political subdivision's insurance laws and
             regulations, the Company is not allowed to insure risks.

7.53.        Public Adjusters - Individuals or groups, including consultants, secured specifically for the purpose of
             representing the Insured's interest in the adjustment of a claim(s) under this Policy.

7.54.        Qualifying Period - The continuous period of time expressed in hours or days which must be
             exceeded before coverage under this Policy begins.

7.55.        Rate of Gross Profit - The rate of Gross Profit earned on the Turnover during twelve (12) months
             immediately before the date of the physical loss or damage.

7.56.        Raw Stock (or Raw Material) - Materials in the state in which the Insured receives it for conversion
             into stock in process or Finished stock.

7.57.        Scheduled Location - A Location scheduled on this Policy.

7.58.        Securities - Negotiable and non-negotiable instruments or contracts representing either Money (but
             does not include Money) or other property and includes:




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7.58.01.         Tokens, tickets, revenue and other stamps (whether represented by actual stamps or unused value
                 in a meter) in current use; and

7.58.02          Evidences of debt issued in connection with credit or charge cards, which are not issued by the
                 Insured.

7.59.        Selling Price - The regular cash selling price at the Location where the loss occurs, less all discounts,
             pilferage, waste, returns and charges to which the Finished Stock and Merchandise would have been
             subject had no loss occurred.

7.60.        Soft Costs - Expenses which are necessarily incurred during the Period of Liability, that would not
             have been incurred if the Delay in Completion had not occurred, at Locations undergoing renovation
             or in the course of construction, limited to the following:

7.60.01.         Construction loan fees - The additional cost incurred to rearrange loans necessary for the
                 completion of construction, repairs or reconstruction, including; the cost to arrange refinancing,
                 accounting work necessary to restructure financing, legal work necessary to prepare new
                 documents, charges by the lenders for the extension or renewal of loans necessary.

7.60.02.         Commitment fees, leasing and marketing expenses - The additional cost of returning any
                 commitment fees received from prospective tenant(s) or purchaser(s), the cost of re-leasing and
                 marketing due to loss of tenant(s) or purchaser(s).

7.60.03.         Additional fees – The additional cost for: architects, engineers, consultants, attorneys and
                 accountants needed for the completion of construction, repairs or reconstruction.

7.60.04.         Carrying costs – The additional cost of: property taxes, building permits, additional interest on
                 loans, realty taxes and insurance premiums.

7.61.        Special Flood Hazard Area (SFHA) - Is an area defined by FEMA (The Federal Emergency
             Management Agency) or any foreign equivalent that will be inundated by the flood event having a
             1-percent chance of being equaled or exceeded in any given year. The 1-percent annual chance flood is
             also referred to by FEMA as the base flood or 100-year flood. SFHA’s per FEMA include but are not
             limited to Zone A, Zone AO, Zone AH, Zones A1-A30, Zone AE, Zone A99, Zone AR, Zone AR/AE,
             Zone AR/AO, Zone AR/A1-A30, Zone AR/A, Zone V, Zone VE, and Zones V1-V30. If not defined
             by FEMA or any foreign equivalent, it is an area that will be inundated by the flood event having a
             1-percent chance of being equaled or exceeded in any given year.

7.62.        Specific Local Policy - A policy of insurance issued in a country locally by any company authorized
             to provide insurance in that country.

7.63.        Spores - Any reproductive body produced by or arising out of any Fungus (or Fungi).

7.64.        Standard Turnover - The Turnover during the twelve (12) months immediately before the date of the
             physical loss or damage which corresponds with the Period of Liability.

7.65.        Standing Charges - All costs and expenses used in determining Net Profit or Loss except the
             following:

7.65.01.         Raw Stock from which production is derived;

7.65.02.         Supplies consisting of materials consumed directly in conversion of Raw Stock into Finished
                 Stock or in supplying the service(s) sold by the Insured;

7.65.03.         Merchandise sold, including related packaging materials;




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7.65.04.          Service(s) purchased from outsiders (not employees of the Insured) for resale, which do not
                  continue under contract;

7.65.05.          Sales Discounts.

7.66.         Stock in Process - Raw Stock (or material) which has undergone any aging, seasoning, mechanical or
              other process of manufacture at the Insured Location, but which has not become Finished Stock.

7.67.         Storm Surge - A general and temporary condition of partial or complete inundation by salt water,
              caused by wind driven waves that result from a Named Storm, of normally dry land areas or
              structure(s) in coastal areas, bays or inland waters connected to an ocean or sea.

7.68.         Sturmflut - A flooding of dry land by storm driven waves on coastal areas, into bays or inland waters
              connected to the ocean or sea. The ‘Federal German Office for Maritime Shipping and Hydrographic’
              will declare Sturmflut.

7.69.         Suspension (Suspended) -

7.69.01.          The slowdown or cessation of the Insured's business activities: or

7.69.02.          As respects rental income that a part or all of the Insured Location is rendered
                  untenantable.

7.70.         Terrorist Activity - Any activity;

7.70.01.          Defined as Terrorist Activity under the laws of the place where it is committed, or

7.70.02.          Which involves any of the following:

7.70.02.01.           The hijacking or sabotage of any conveyance (including an aircraft, vessel, or vehicle).

7.70.02.02.           The seizing or detaining of, or threatening to kill, injure or continue to detain any person in
                      order to compel a third person (including a governmental organization ) to do or abstain from
                      doing any act as an explicit or implicit condition for the release of the individual seized or
                      detained.

7.70.02.03.           A violent attack upon an internationally protected person (as defined in section 1116(b)(4) of
                      title 18, United States Code) or upon the liberty of such a person.

7.70.02.04.           An assassination.

7.70.02.05.           The use of any biological agent, chemical agent, or nuclear weapon or device, explosive or
                      firearm (other than for mere personal monetary again), with intent to endanger, directly or
                      indirectly, the safety of one or more individuals or to cause damage to property.

7.70.02.06.           A threat, attempt, or conspiracy to do any of the foregoing.

7.70.02.07.           Any act or acts deemed or declared by any government official, law enforcement agency,
                      intelligence agency or other public authority to be terrorism or a terrorist act(s).

7.71.         "the Policies" - This Policy, local policy(ies); and the FoS(Freedom of           Services) policy(ies),
              collectively under an International Insurance Program.

7.72.         Turnover - The money (less discounts allowed) paid or payable to the Insured for goods sold and
              delivered and for services rendered in the course of the Insured's business activities.




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7.73.        Valuable Papers and Records - Inscribed or printed or written documents, manuscripts or records,
             including abstracts, books, deeds, drawings, films, maps, mortgages, prints and tracings, card index
             systems, files, tapes, discs, drums, cells, magnetic recordings or storage Media for electronic data
             processing, Electronic Data, Program(Software); but Valuable Papers and Records does not mean
             Money or Securities.

7.74.        Wages - The remuneration (including where applicable, bonuses, overtime, living allowance (if any),
             national insurance contribution, holiday pay or other payments pertaining to wages) of all employees
             other than those whose remuneration is treated as salaries in the Insured's books of account.




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Appendix A - Earth Movement/Earthquake Zones for
USA including its Commonwealths and Territories
This list is for is for informational purposes only and does not convey any coverage under the policy.


COUNTRY - The United States of America
       STATE       ZONE                          COUNTIES/PARISHES/INDEPENDENT CITIES
ALABAMA               3     Colbert, Franklin, Lauderdale, Lawrence, Limestone, Morgan
                      4     Balance of State
ALASKA                1     Balance of State
                      2     North Slope
ARIZONA               4     Entire State
ARKANSAS              1     Clay, Craighead, Crittenden, Cross, Greene, Lee, Mississippi, Poinsett, St Francis
                      2     Independence, Jackson, Lawrence, Lonoke, Monroe, Phillips, Prairie, Randolph, Sharp, White,
                            Woodruff
                      3     Arkansas, Cleburne, Cleveland, Desha, Drew, Faulkner, Fulton, Grant, Izard, Jefferson,
                            Lincoln, Pulaski, Saline, Stone
                      4     Balance of State
CALIFORNIA            1     Entire State
COLORADO              4     Entire State
CONNECTICUT           4     Entire State
DELAWARE              4     Entire State
D. C. (Territory)     4     District of Columbia – Washington D. C.
FLORIDA               4     Entire State
GEORGIA               4     Entire State
HAWAII                1     Entire State
IDAHO                 3     Bannock, Bear Lake, Caribou, Franklin, Oneida, Power
                      4     Balance of State
ILLINOIS              1     Alexander, Pulaski
                      2     Bond, Clay, Clinton, Edwards, Franklin, Gallatin, Hamilton, Hardin, Jackson, Jefferson,
                            Johnson, Lawrence, Madison, Marion, Massac, Monroe, Perry, Pope, Randolph, Richland, St.
                            Clair, Saline, Union, Wabash, Washington, Wayne, White, Williamson
                      3     Calhoun, Christian, Clark, Coles, Crawford, Cumberland, Douglas, Edgar, Effingham, Fayette,
                            Greene, Jasper, Jersey, Macoupin, Montgomery, Morgan, Moultrie, Pike, Sangamon, Scott,
                            Shelby
                      4     Balance of State
INDIANA                    2     Crawford, Daviess, Dubois, Gibson, Greene, Knox, Lawrence, Martin, Orange, Perry, Pike,
                                 Posey, Spencer, Sullivan, Vanderburgh, Warrick
                           3     Brown, Clay, Fayette, Johnson, Morgan, Monroe, Owen, Rush, Shelby, Union, Vigo
                           4     Balance of State
IOWA                       4     Entire State
KANSAS                     4     Entire State
KENTUCKY                   1     Ballard, Carlisle, Fulton, Hickman, McCracken
                           2     Breckinridge, Butler, Caldwell, Calloway, Christian, Crittenden, Daviess, Graves, Hancock,
                                 Henderson, Hopkins, Livingston, Logan, Lyon, Marshall, McLean, Muhlenberg, Ohio,
                                 Simpson, Todd, Trigg, Union, Warren, Webster
                           4     Balance of State
LOUISIANA                  4     Entire State
MAINE                      4     Entire State
MARYLAND                   4     Entire State




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     STATE         ZONE                       COUNTIES/PARISHES/INDEPENDENT CITIES
MASSACHUSETTS        4    Entire State
MICHIGAN             4    Entire State
MINNESOTA            4    Entire State

MISSISSIPPI          1    DeSoto, Tunica
                     2    Alcorn, Benton, Bolivar, Coahoma, Lafayette, Leflore, Marshall, Panola, Pontotoc, Prentiss,
                          Quitman, Sunflower, Tallahatchie, Tate, Tippah, Tishomingo, Union, Yalobusha
                     3    Calhoun, Carroll, Chickasaw, Choctaw, Clay, Grenada, Holmes, Humphreys , Issaquena,
                          Itawamba, Lee, Lowndes, Monroe, Montgomery, Oktibbeha, Sharkey, Warren, Washington,
                          Webster, Yazoo
                     4    Balance of State
MISSOURI             1    Bollinger, Butler, Cape Girardeau, Dunklin, Mississippi, New Madrid, Pemiscot, Scott,
                          Stoddard
                     2    Carter, Iron, Jefferson, Madison, Oregon, Perry, Reynolds, Ripley, St. Francois, Ste.
                          Genevieve, St. Charles, St. Louis, Washington, Wayne, and the City of St Louis
                     3    Audrain, Callaway, Cole, Crawford, Dent, Franklin, Gasconade, Howell, Lincoln, Maries,
                          Marion, Miller, Montgomery, Osage, Phelps, Pike, Pulaski, Ralls, Shannon, Texas, Warren
                     4    Balance of State
MONTANA              4    Entire State
NEBRASKA             4    Entire State
NEVADA               1    Carson City, Douglas
                     2    Lyon , Storey, Washoe
                     3    Clark
                     4    Balance of State

NEW HAMPSHIRE        4    Entire State
NEW JERSEY           4    Entire State
NEW MEXICO           4    Entire State
NEW YORK             4    Entire State
NORTH CAROLINA       4    Entire State
NORTH DAKOTA         4    Entire State
OHIO                 4    Entire State
OKLAHOMA             4    Entire State
OREGON               2    Clackamas, Multnomah, Washington
                     3    Benton, Clatsop, Columbia, Coos, Curry, Douglas, Hood River, Jackson, Josephine, Lane,
                          Lincoln, Linn, Marion, Polk, Tillamook, Yamhill
                     4    Balance of State
PENNSYLVANIA         4    Entire State
RHODE ISLAND         4    Entire State
SOUTH DAKOTA         4    Entire State
SOUTH CAROLINA       1    Berkely, Charleston, Dorchester

                     3    Bamberg, Beaufort, Calhoun, Clarendon, Colleton, Georgetown, Hampton, Jasper,
                          Orangeburg, Richland, Sumter, Williamsburg
                     4    Balance of State
TENNESSEE            1    Crockett, Dyer, Haywood, Lake, Lauderdale, Obion, Shelby, Tipton
                     2    Benton, Carroll, Chester, Decatur, Fayette, Gibson, Hardeman, Hardin, Henderson, Henry,
                          Humphreys, Madison, McNairy, Weakley
                     3    Cheatham, Davidson, Dickson, Hickman, Houston, Lawrence, Lewis, Montgomery, Perry,
                          Robertson, Stewart, Wayne
                     4    Balance of State
TEXAS                4    Entire State




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STATE                   ZONE                          COUNTIES/PARISHES/INDEPENDENT CITIES
UTAH                      2      Davis, Salt Lake, Utah
                          3      Cache, Morgan, Rich, Summit, Wasatch, Weber
                          4      Balance of State
VERMONT                   4      Entire State
VIRGINIA                  4      Entire State
WASHINGTON                1      Clallam, Island, Jefferson, King, Kitsap, Mason, Pierce, San Juan, Thurston
                          2      Skagit, Snohomish, Whatcom
                          3      Clark, Cowlitz, Grays Harbor, Lewis, Pacific, Skamania, Wahkiakum,
                          4      Balance of State
WEST VIRGINIA             4      Entire State
WISCONSIN                 4      Entire State
WYOMING                   4      Entire State

Commonwealths and Territories of The United States of America
                                          ZONE
AMERICAN SAMOA                               2       Entire Territory
GUAM                                         1       Entire Territory
NORTHERN MARIANA ISLANDS                     2       Entire Commonwealth
PUERTO RICO                                  1       Entire Commonwealth
U.S. VIRGIN ISLANDS                          1       Entire Territory for Limits of Liability
                                             2       Entire Territory for Deductibles
All other US Territories and Possessions     2       Entire Territory




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Appendix B - Earth Movement/Earthquake Zones
Worldwide except USA its Commonwealths and
Territories
This list is for is for informational purposes only and does not convey any coverage under the policy.


 Country                                           Zone     Provinces/Territories/States/Counties
 ALBANIA                                            1       Entire Country
 ALGERIA                                            2       Balance of Country
                                                    4       Adrar, Bechar, Tamanghasset, Ouargla, Illizi, Tindouf, Ghardaia
 ANDORRA                                            4       Entire Country
 ANGUILLA                                           1       Entire Country for Limits of Liability
                                                    2       Entire Country for Deductibles
 ANTARCTICA                                         3       Entire Country
 ANTIGUA & BARBUDA                                  1       Entire Country for Limits of Liability
                                                    2       Entire Country for Deductibles
 ARGENTINA                                          1       Mendoza, Neuquen, San Juan
                                                    2       Catamarca, Jujuy, Salta, Tucuman
                                                    4       Balance of Country
 ARMENIA                                            1       Entire Country
 ARUBA                                              3       Entire Country
 AUSTRALIA including Christmas Island,              2       Christmas Island , Cocos (Keeling) Islands
 Cocos (Keeling) Islands                            3       Western Australia
                                                    4       Balance of Country
 AUSTRIA                                            4       Entire Country
 AZERBAIJAN                                         1       Entire Country
 BAHAMAS                                            4       Entire Country
 BAHRAIN                                            4       Entire Country
 BANGLADESH                                         1       Entire Country
 BARBADOS                                           1       Entire Country for Limits of Liability
                                                    2       Entire Country for Deductibles
 BELARUS                                            4       Entire Country
 BELGIUM                                            3       Entire Country
 BELIZE                                             2       Entire Country
 BENIN                                              4       Entire Country
 BERMUDA                                            4       Entire Country
 BHUTAN                                             1       Balance of Country
                                                    2       Gasa
 BOLIVIA                                            1       La Paz
                                                    2       Oruro, Potosi, Tarija
                                                    3       Beni, Chuquisaca, Cochabamba, Pando, Santa Cruz
 BOSNIA & HERZEGOVINA                               2       Entire Country




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Country                           Zone   Provinces/Territories/States/Counties
BOTSWANA                           4     Entire Country
BRAZIL                             4     Entire Country
BRITISH VIRGIN ISLANDS             1     Entire Country for Limits of Liability
                                    2    Entire Country for Deductibles
BRUNEI DARUSSALAM                   3    Entire Country
BULGARIA                            2    Entire Country
BURKINA FASO                        4    Entire Country
BURUNDI                             2    Entire Country
CAMBODIA                            4    Entire Country
CAMEROON                            3    Entire Country
CANADA                              2    British Columbia, Ontario, Quebec, Yukon except listed postal codes
                                         with first 3 characters in Zones 3 and 4
                                    3    British Columbia Postal Codes:V8C,V8G,V0M,V0T,V0V,V1M,V2P,
                                         V2R,V2S,V2T,V2V,V2W,V2X,V2Y,V3B,V3C,V3E,V3G,V3H,V3J.
                                         V3K,V3L,V3N,V3R,V3T,V3V,V3Y,V4N,V4R,V4S,V4W,V4X,V4Z,
                                         V5A,V5B,V5C,V5E,V5G,V5H,V5J,V5K,V5L,V5M,V5N,V5R,V5T,
                                         V5V,V5Y,V5Z,V6A,V6B,V6C,V6E,V6G,V6H,V6J,V6K,V6L,V6R,
                                         V6T,V6Z,V7G,V7H,V7J,V7K,V7L,V7M,V7N,V7P,V7R,V7S,V7T,
                                         V7V,V7W,V7X,V7Y,V8B,V8J
                                         New Brunswick Postal Codes: E1G,E1N,E1V,E1X,E2A,E2E,E2G,
                                         E2H,E2J,E2K,E2L,E2M,E2N,E2P,E2R,E2S,E2V,E3A,E3B,E3C,E3E,
                                         E3L,E3N,E3V,E3Y,E3Z,E4A,E4B,E4C,E4E,E4G,E4J,E4S,E4T,E4V,
                                         E4W,E4X,E4Y,E4Z,E5A,E5B,E5C,E5E,E5H,E5J,E5K,E5L,E5M,
                                         E5N,E5P,E5R,E5S,E5T,E5V,E6A,E6B,E6C,E6E,E6G,E6H,E6J,E6K,
                                         E6L,E7A,E7B,E7C,E7E,E7G,E7H,E7J,E7K,E7L,E7M,E7N,E7P,E8A,
                                         E8B,E8C,E8E,E8G,E8J,E8K,E8L,E8M,E8N,E8P,E8R,E9A,E9B,E9C,
                                         E9E,E9G,E9H,
                                         Ontario Postal Codes: K0E,K0G,K6T,K6V,K7A,K7H
                                         Quebec Postal Codes:G0E,G0J,G0K,G0M,G0N,G0P,G0S,G0V,G0Y,
                                         G0Z,G4R,G4S,G5B,G5J,G5X,G5Y,G5Z,G6A,G6B,G6E,G6G,G6H,
                                         G6J,G6K,G6L,G6P,G6R,G6S,G6T,G7A,G7B,G7G,G7H,G7J,G7K,
                                         G7N,G7P,G7S,G7T,G7X,G7Y,G7Z,G8A,J0A,J0B,J0E,J0H,J0J,J1A,
                                         J1C,J1E,J1G,J1H,J1J,J1K,J1L,J1M,J1N,J1R,J1S,J1T,J1X,J2G,J2H,
                                         J2J,J2K,J2L,J2M,J2N,J2R,J2S,J2T,J2X,J3M,J9V




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CANADA (continued)                  4     British Columbia Postal Codes: V0C,V0J,V1J,V2K,V2M,V0A,V0B,
                                          V0E,V0G,V0H,V0K,V0L,V0W,V0X,V1A,V1B,V1C,V1E,V1G,V1H,
                                          V1K,V1L,V1N,V1P,V1R,V1S,V1T,V1V,V1W,V1X,V1Y,V1Z,V2A,
                                          V2B,V2C,V2E,V2G,V2H,V2J,V2L,V2N,V4T,V4V
                                          Ontario Postal Codes: K0H,K0K,K0L,K0M,K7G,K7K,K7L,K7M,
                                          K7N,K7P,K7R,K8N,K8P,K8R,K8V,K9A,K9H,K9J,K9K,K9L,K9V,
                                          L0A,L0B,L0C,L0E,L0G,L0H,L0J,L0K,L0L,L0M,L0N,L0P,L0R,L0S,
                                          L1A,L1B,L1C,L1E,L1G,L1H,L1J,L1K,L1L,L1M,L1P,L1R,L1S,L1T,
                                          L1V,L1W,L1X,L1Y,L1Z,L2A,L2E,L2G,L2H,L2J,L2M,L2N,L2P,
                                          L2R,L2S,L2T,L2V,L2W,L3B,L3C,L3K,L3M,L3P,L3R,L3S,L3T,
                                          L3V,L3X,L3Y,L3Z,L4A,L4B,L4C,L4E,L4G,L4H,L4J,L4K,L4L,L4M
                                          L4N,L4P,L4R,L4S,L4T,L4V,L4W,L4X,L4Y,L4Z,L5A,L5B,L5C,
                                          L5E,L5G,L5H,L5J,L5K,L5L,L5M,L5N,L5P,L5R,L5S,L5T,L5V,
                                          L5W,L6A,L6B,L6C,L6E,L6G,L6H,L6J,L6K,L6L,L6M,L6P,L6R,
                                          L6S,L6T,L6V,L6W,L6X,L6Y,L6Z,L7A,L7B,L7C,L7E,L7G,L7J,
                                          L7K,L7L,L7M,L7N,L7P,L7R,L7S,L7T,L8E,L8G,L8H,L8J,L8K,L8L,
                                          L8M,L8N,L8P,L8R,L8S,L8T,L8V,L8W,L9A,L9B,L9C,L9G,L9H,
                                          L9K,L9L,L9M,L9N,L9P,L9R,L9S,L9T,L9V,L9W,L9Y,L9Z,M1B,
                                          M1C,M1E,M1G,M1H,M1J,M1K,M1L,M1M,M1N,M1P,M1R,M1S,
                                          M1T,M1V,M1W,M1X,M2H,M2J,M2K,M2L,M2M,M2N,M2P,M2R,
                                          M3A,M3B,M3C,M3H,M3J,M3K,M3L,M3M,M3N,M4A,M4B,M4C,
                                          M4E,M4G,M4H,M4J,M4K,M4L,M4M,M4N,M4P,M4R,M4S,M4T,
                                          M4V,M4W,M4X,M4Y,M5A,M5B,M5C,M5E,M5G,M5H,M5J,M5K,
                                          M5L,M5M,M5N,M5P,M5R,M5S,M5T,M5V,M5W,M5X,M6A,M6B,
                                          M6C,M6E,M6G,M6H,M6J,M6K,M6L,M6M,M6N,M6P,M6R,M6S,
                                          M7A,M7Y,M8V,M8W,M8X,M8Y,M8Z,M9A,M9B,M9C,M9L,M9M,
                                          M9N,M9P,M9R,M9V,M9W,N0A,N0B,N0C,N0E,N0G,N0H,N0J,
                                          N0K,N0L,N0M,N0N,N0P,N0R,N1A,N1C,N1E,N1G,N1H,N1K,N1L,
                                          N1M,N1P,N1R,N1S,N1T,N2A,N2B,N2C,N2E,N2G,N2H,N2J,N2K,
                                          N2L,N2M,N2N,N2P,N2R,N2T,N2V,N2Z,N3A,N3B,N3C,N3E,N3H,
                                          N3L,N3P,N3R,N3S,N3T,N3V,N3W,N3Y,N4B,N4G,N4K,N4L,N4N,
                                          N4S,N4T,N4V,N4W,N4X,N4Z,N5A,N5C,N5H,N5L,N5P,N5R,N5V,
                                          N5W,N5X,N5Y,N5Z,N6A,N6B,N6C,N6E,N6G,N6H,N6J,N6K,N6L,
                                          N6M,N6N,N6P,N7A,N7G,N7L,N7M,N7S,N7T,N7V,N7W,N7X,
                                          N8A,N8H,N8M,N8N,N8P,N8R,N8,N8T,N8V,N8W,N8X,N8Y,N9A,
                                          N9B,N9C,N9E,N9G,N9H,N9J,N9K,N9V,N9Y,P0A,P0B,P0C,P0E,
                                          P0G,P0H,P0J,P0K,P0L,P0M,P0N,P0P,P0R,P0S,P0T,P0V,P0W,P0X,
                                          P0Y,P1A,P1B,P1C,P1H,P1L,P1P,P2A,P2B,P2N,P3A,P3B,P3C,P3E,
                                          P3G,P3L,P3N,P3P,P3Y,P4N,P4P,P4R,P5A,P5E,P5N,P6A,P6B,P6C,
                                          P7A,P7B,P7C,P7E,P7G,P7J,P7K,P7L,P8N,P8T,P9A,P9N
                                          Quebec Postal Codes: G0C,G0G,G0W,G4T,G4X,G8B,G8C,G8E,
                                          G8G,G8H,G8J,G8K,G8L,G8M,G8N,G8P,J0M,J0Y,J0Z,J9P,J9T,J9X,
                                          J9Y,J9Z
                                          Balance of Country
CAPE VERDE                           4    Entire Country
CAYMAN ISLANDS                       1    Entire Country for Limits of Liability
                                     2    Entire Country for Deductibles
CENTRAL AFRICAN REPUBLIC             4    Entire Country




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Country                              Zone   Provinces/Territories/States/Counties
CHAD                                  4     Entire Country
CHILE                                 1     Entire Country
CHINA                                 1     Liaoning, Tianjin, Hebei, Shandong, Gansu, Sichuan, Shaanxi,
                                            Yunnan
                                       2    Tibet Autonomous Region, Macau
                                       3    Balance of Country
                                       4    Hong Kong
COLOMBIA                               1    Antioquia, Cauca, Choco, Narino, Quindio, Risaralda, Valle del
                                            Cauca, Bogota
                                       2    Balance of Country
                                       3    Amazona, Arauca, Caqueta, Casanare, Guainia, Guaviare, Meta,
                                            Putumayo, San Anres and Providencia, Vaupes, Vichada
COMOROS                                4    Entire Country
CONGO, REPUBLIC OF                     2    Entire Country
COOK ISLANDS                           2    Entire Country
COSTA RICA                             1    Entire Country
CROATIA                                2    Entire Country
CURACAO                                3    Entire Country
CYPRUS                                 2    Entire Country
CZECH REPUBLIC                         3    Entire Country
DENMARK                                4    Entire Country
DJIBOUTI                               2    Entire Country
DOMINICA                               1    Entire Country for Limits of Liability
                                       2    Entire Country for Deductibles
DOMINICAN REPUBLIC                     1    Entire Country
ECUADOR                                1    Entire Country
EGYPT                                  2    Cairo, Dakahlia, Damietta, Gharbia, Ismailia, Kafr el-Sheikh,
                                            Monufia, North Sinai, Port Said, Red Sea, Sharqia, Suez
                                       3    Balance of Country
EL SALVADOR                            1    Entire Country
EQUATORIAL-GUINEA                      4    Entire Country
ERITREA                                2    Entire Country
ESTONIA                                4    Entire Country
ETHIOPIA                               2    Balance of Country
                                       3    Benishangul, Dure Dawa, Gambela, Harari, Somalia, Tigray
FAROE ISLANDS                          4    Entire Country
FEDERATED STATES OF MICRONESIA         2    Entire Country
FIJI                                   1    Entire Country
FINLAND                                4    Entire Country
FRANCE                                 3    Entire Country
FRENCH GUIANA                          4    Entire Country
FRENCH POLYNESIA                       4    Entire Country
GABON                                  2    Ogooue-Ivindo, Ogooue-Lolo
                                       3    Balance of Country
GAMBIA                                 4    Entire Country
GERMANY                                3    Entire Country




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Country                               Zone   Provinces/Territories/States/Counties
GHANA                                  1     Accra
                                       2     Balance of Country
GIBRALTAR                              3     Entire Country
GREECE                                 1     Entire Country
GREENLAND                              3     Entire Country
GRENADA                                1     Entire Country for Limits of Liability
                                       2     Entire Country for Deductibles
GUADELOUPE                             1     Entire Country for Limits of Liability
                                       2     Entire Country for Deductibles
GUATEMALA                              1     Balance of Country
                                       3     Peten
GUINEA                                 2     Boke
                                       3     Balance of Country
GUINEA-BISSAU                          3     Entire Country
GUYANA                                 3     Entire Country
HAITI                                  1     Entire Country
HONDURAS                               1     Balance of Country
                                       3     Atlantida, Colon, Comayagua, El Paraiso, Francisco Morazan,
                                             Gracias a Dios, Islas de la Bahia, Olancho, Yoro
HUNGARY                                3     Entire Country
ICELAND                                2     Northeast Region, South Region, Southern Peninsula Region,
                                             Capital Region
                                       3     Balance of Country
INDIA                                  1     Arunachal Pradesh, Assam, Gujarat, Haryana, Himachal Pradesh,
                                             Jammu and Kashmir, Manipur, Meghalaya, Mizoram, Nagaland,
                                             Punjab, Uttarakhand
                                       3     Balance of Country
INDONESIA                              2     Balance of Country
                                       3     (Borneo)-East Kalimantan, South Kalimantan, West Kalimantan,
                                             Central Kalimantan, Riau, Jambi, South Sulawesi, Southeast
                                             Sulawesi, Bengka-Belitung, West Nusa Tenggara
IRAQ                                   2     Entire Country
IRELAND                                4     Entire Country
ISLE OF MAN                            3     Entire Country
ISRAEL                                 1     Entire Country
ITALY                                  1     Balance of Country
                                       3     Liguria, Lombardy, Marche, Piedmont, Aosta Valley, Trentino-Alto
                                             Adige/Südtirol, Veneto, Sardinia
IVORY COAST (COTE-D’IVOIRE)            4     Entire Country
JAMAICA                                1     Entire Country for Limits of Liability
                                       2     Entire Country for Deductibles
JAPAN                                  1     Balance of Country
                                       2     Prefectures of Akita, Fukui, Fukuoka, Gifu, Gunma, Hiroshima,
                                             Ishikawa, Kagoshima, Niigata, Okayama, Okinawa, Saga, Shimane,
                                             Tochigi, Tottori, Toyama, Yamaguchi




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Country                               Zone   Provinces/Territories/States/Counties
JORDAN                                 1     Balance of Country
                                       3     Ma'an
KAZAKHSTAN                             1     Entire Country
KENYA                                  2     Entire Country
KIRIBATI                               2     Entire Country
KOSOVO                                 3     Entire Country
KUWAIT                                 4     Entire Country
KYRGYZSTAN (KYRGYZ REPUBLIC)           1     Entire Country
LAOS                                   2     Balance of Country
                                       3     Attapu, Bolikhamxai, Champasak, Khammouan, Salavan,
                                             Savannakhet, Xekong
LATVIA                                 4     Entire Country
LEBANON                                1     Entire Country
LESOTHO                                2     Balance of Country
                                       3     Berea, Butha-Buthe, Leribe, Mokhotlong, Thaba-Tseka
LIBERIA                                4     Entire Country
LIBYA                                  2     Entire Country
LIECHTENSTEIN                          4     Entire Country
LITHUANIA                              4     Entire Country
LUXEMBOURG                             4     Entire Country
MACEDONIA                              1     Entire Country
MADAGASCAR                             3     Entire Country
MALAWI                                 2     Entire Country
MALAYSIA                               3     Entire Country
MALDIVES                               4     Entire Country
MALI                                   4     Entire Country
MALTA                                  4     Entire Country
MARSHALL ISLANDS                       4     Entire Country
MARTINIQUE                             1     Entire Country for Limits of Liability
                                       2     Entire Country for Deductibles
MAURITANIA                             4     Entire Country
MAURITIUS                              4     Entire Country
MAYOTTE                                2     Entire Country
MEXICO                                 1     Balance of Country
                                       4     Chihuahua, Campeche, Coahuila, Durango, Nuevo Leon, Quintana
                                             Roo, San Luis Potosi, Sonora, Tamaulipas, Yucatan, Zacatecas
MOLDOVA                                2     Entire Country
MONACO                                 3     Entire Country
MONGOLIA                               1     Balance of Country
                                       2     Govi-Altai, Arkhangai, Bulgan, Selenge, Tov, Ovorkhangai
                                       3     Khentii, Dundgovi, Dornogovi, Dornod, Sukhbaatar
MONTENEGRO                             2     Entire Country
MONTSERRAT                             1     Entire Country For Limits
                                       2     Entire Country for Deductibles




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Country                            Zone   Provinces/Territories/States/Counties
MOROCCO                             2     Fès-Boulemane (Fès) , Gharb-Chrarda-Béni Hssen (Kénitra),
                                          Tangier-Tétouan (Tangier)
                                    3     Taza-Al Hoceima-Taounate (Al Hoceima)
                                    4     Balance of Country
MOZAMBIQUE                          2     Manica, Sofala, Zambezia
                                    3     Balance of Country
NAMIBIA                             4     Entire Country
NAURU                               2     Entire Country
NEPAL                               1     Entire Country
NETHERLANDS                         4     Balance of Country
                                    3     Bonaire
                                    1     Saba, Sint Eustatius for Limits of Liability
                                    3     Saba, Sint Eustatius for Deductibles
NEW CALEDONIA                       3     Entire Country
NEW ZEALAND                         1     Balance of Country
                                    3     Northland, Auckland, Waikato
NICARAGUA                           1     Balance of Country
                                    3     RAAN (Bilwi), RAAS (Bluefields)
NIGER                               4     Entire Country
NIGERIA                             4     Entire Country
NIUE                                2     Entire Country
NORFOLK ISLAND                      2     Entire Country
NORWAY                              4     Entire Country
OMAN                                4     Entire Country
PAKISTAN                            1     Balance of Country
                                    3     Punjab
PALAU                               2     Entire Country
PALESTINE                           1     Entire Country
PANAMA                              2     Entire Country
PAPUA NEW GUINEA                    1     Entire Country
PARAGUAY                            4     Entire Country
PERU                                1     Entire Country
PHILIPPINES                         1     Entire Country
PITCAIRN ISLANDS                    2     Entire Country
POLAND                              4     Entire Country
PORTUGAL                            2     Lisbon, Santarém, Faro, Azores Autonomous Region
                                    4     Balance of Country
QATAR                               4     Entire Country
REUNION                             4     Entire Country
ROMANIA                             2     Entire Country
RUSSIAN FEDERATION                  1     Kamchatka, Buryatia, Tuva, Altai Republic,, Stavropol, Chechnya,
                                          Adygea, Krasnodar, Karachay-Cherkessia, Ingushetia, Dagestan,
                                          Kabardino-Balkaria, North Ossetia-Alania
                                    3     Balance of Country




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Country                            Zone   Provinces/Territories/States/Counties
RWANDA                              2     Entire Country
SAMOA (WESTERN)                     2     Entire Country
SAN MARINO                          2     Entire Country
SAO TOME & PRINCIPE                 4     Entire Country
SAUDI ARABIA                        2     Jizan, Tabuk
                                    4     Balance of Country
SENEGAL                             3     Entire Country
SERBIA                              2     Entire Country
SEYCHELLES                          4     Entire Country
SIERRA LEONE                        4     Entire Country
SINGAPORE                           4     Entire Country
SINT MAARTEN                        1     Entire Country for limits of Liability
                                    3     Entire Country for Deductibles
SLOVAKIA                            3     Entire Country
SLOVENIA                            2     Entire Country
SOLOMON ISLANDS                     1     Entire Country
SOMALIA                             3     Entire Country
SOUTH AFRICA                        2     Free State, Western Cape
                                    3     Balance of Country
SOUTH KOREA                         3     Entire Country
SOUTHERN SUDAN                      3     Entire Country
SPAIN                               2     Andalusia, Murcia
                                    3     Balance of Country
SRI LANKA                           3     Entire Country
ST. BARTHELEMY                      1     Entire Country for Limits of Liability
                                    2     Entire Country for Deductibles
ST. KITTS AND NEVIS                 1     Entire Country for Limits of Liability
                                    2     Entire Country for Deductibles
ST. LUCIA                           1     Entire Country for Limits of Liability
                                    2     Entire Country for Deductibles
ST. MARTIN                          1     Entire Country for Limits of Liability
                                    2     Entire Country for Deductibles
ST. VINCENT AND GRENADINES          1     Entire Country for Limits of Liability
                                    2     Entire Country for Deductibles
SURINAME                            4     Entire Country
SWAZILAND                           2     Entire Country
SWEDEN                              4     Entire Country
SWITZERLAND                         4     Entire Country
TAIWAN                              1     Entire Country
TAJIKISTAN                          1     Entire Country
TANZANIA                            2     Kigoma, Arusha, Singida, Dodoma, Manyara, Rukwa, Mbeya,
                                          Iringa, Ruvuma, Mtwara
                                    3     Balance of Country




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Country                                             Zone     Provinces/Territories/States/Counties
THAILAND                                             2       Chiang Rai, Payao, Nan, Chang Mai, Mae Hong Son, Lampang,
                                                             Lampun, Phrae, Uttaradit, Sukhothai, Tak, Phitsanulok, Kamphaeng
                                                             Phet, Phichit, Nakhon Sawan, Uthai Thani, Kanchanaburi, Chai Nat,
                                                             Lop Buri, Sara Buri, Nakon Nayok, Ang Thong, Phra Nakhon Si
                                                             Ayuthaya, Nakhon Pathom, Sing Buri, Pathum Thani, Bangkok,
                                                             Samut Songkhram, Samut Sakhon, Nonthaburi, Samut Prakan,
                                                             Phetchaburi
                                                      3      Balance of Country
TIMOR-LESTE                                           2      Entire Country
TOGO                                                  3      Entire Country
TONGA                                                 2      Entire Country
TRINIDAD AND TOBAGO                                   1      Entire Country for Limits of Liability
                                                      2      Entire Country for Deductibles
TUNISIA                                               2      Ariana, Béja, Ben Arous, Bizerte, Gafsa, Jendouba, Manouba,
                                                             Monastir, Nabeul, Sousse, Tunis, Zaghouan
                                                      3      Balance of Country
TURKEY                                                1      Entire Country
TURKMENISTAN                                          1      Entire Country
TURKS AND CAICOS                                      1      Entire Country for Limits of Liability
                                                      3      Entire Country for Deductibles
TUVALU                                                4      Entire Country
UGANDA                                                2      Entire Country
UKRAINE                                               4      Entire Country
UNITED ARAB EMIRATES                                  4      Entire Country
UNITED KINGDOM including Guernsey,                    3      Entire Country
Jersey
URUGUAY                                               4      Entire Country
UZBEKISTAN                                            1      Entire Country
VANUATU                                               2      Entire Country
VATICAN CITY                                          1      Entire Country
VENEZUELA                                             1      Balance of Country
                                                      2      Carabobo, Aragua, Guarico, Vargas, Miranda, Dpto Capital,
                                                             Anzoategui, Monagas
                                                      4      Delta Amacuro, Bolivar, Amazonas
VIETNAM                                               2      Lai Chau, Lao Cai, Yen Bai, Son La, Hoa Binh, Vinh Phu, Hanoi,
                                                             Hai Phong, Ha Tay, Hai Hung, Thai Binh, Nom Ha, Ninh Binh,
                                                             Thanh Hoa, Nghe An, Ha Tinh, Quang Binh, Quang Ngai, Binh
                                                             Dinh, Phu Yen, Khanh Hoa, Ninh Thuan
                                                      3      Balance of Country
WESTERN SAHARA                                        4      Entire Country
YEMEN                                                 4      Entire Country
ZAMBIA                                                2      Northern, Southern
                                                      3      Balance of Country
ZIMBABWE                                              3      Entire Country




Any country not listed is Zone 1 unless stated differently in the Declarations of the Policy.




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   Appendix C – Named Storm Zones for USA including
   its Commonwealths and Territories
   This list is for is for informational purposes only and does not convey any coverage under the policy.

WIND ZONES ARE DEFINED AS FOLLOWS:
COUNTRY – The United States of America




STATE                      ZONE                           COUNTIES/PARISHES/INDEPENDENT CITIES
Alabama                      1       Baldwin, Mobile
                             2       Clarke, Covington, Escambia, Geneva, Houston, Washington
Florida                      1       Bay, Brevard, Broward, Calhoun, Charlotte, Citrus, Collier, Dixie, Duval, Escambia,
                                     Flagler, Franklin, Glades, Gulf, Hendry, Hernando, Hillsborough, Indian River, Jefferson,
                                     Lee, Levy, Liberty, Manatee, Martin, Miami-Dade, Monroe, Nassau, Okaloosa, Okeechobee,
                                     Palm Beach, Pasco, Pinellas, Saint Johns, Saint Lucie, Santa Rosa, Sarasota, Taylor,
                                     Volusia, Wakulla, Walton, Washington
                             2       Balance of State
Georgia                      1       Bryan, Camden, Chatham, Glynn, Liberty, McIntosh
                             2       Appling, Brantley, Bulloch, Charlton, Effingham, Evans, Long, Pierce, Tattnall, Wayne
Hawaii                       1       Entire State
Louisiana                    1       Ascension, Assumption, Cameron, Iberia, Jefferson, Lafourche, Livingston, Orleans,
                                     Plaquemines, St. Bernard, St. Charles, St. James, St. John the Baptist, St. Martin, St. Mary,
                                     St. Tammany, Tangipahoa, Terrebonne, Vermilion, Washington
                             2       Acadia, Allen, Beauregard, Calcasieu, East Baton Rouge, East Feliciana, Evangeline,
                                     Iberville, Jefferson Davis, Lafayette, Pointe Coupee, St. Landry, St. Helena, West Baton
                                     Rouge, West Feliciana
Maryland                     1       Somerset, Wicomico, Worcester
Mississippi                  1       George, Hancock, Harrison, Jackson, Pearl River, Stone
                             2       Amite, Forrest, Greene, Lamar, Marion, Perry, Pike, Walthall, Wilkinson
North Carolina               1       Beaufort, Bertie, Brunswick, Camden, Carteret, Chowan, Columbus, Craven, Currituck,
                                     Dare, Hyde, Jones, New Hanover, Onslow, Pamlico, Pasquotank, Pender, Perquimans,
                                     Tyrrell, Washington
                             2       Bladen, Duplin, Gates, Greene, Hertford, Lenoir, Pitt, Robeson, Sampson
South Carolina               1       Beaufort, Berkeley, Charleston, Colleton, Dorchester, Georgetown, Horry, Jasper
                             2       Allendale, Bamberg, Clarendon, Dillon, Florence, Hampton, Marion, Williamsburg
Texas                        1       Aransas, Brazoria, Calhoun, Cameron, Chambers, Galveston, Jackson, Jefferson, Kenedy,
                                     Kleberg, Matagorda, Nueces, Orange, Refugio, San Patricio, Willacy
                             2       Austin, Bee, Brooks, Colorado, DeWitt, Duval, Fort Bend, Goliad, Grimes, Hardin, Harris,
                                     Hidalgo, Jasper, Jim Hogg, Jim Wells, Lavaca, Liberty, Live Oak, McMullen, Montgomery,
                                     Newton, Polk, San Jacinto, Starr, Tyler, Victoria, Walker, Waller, Wharton
Virginia                     1       Accomack, Gloucester, Isle of Wight, James City, Lancaster, Mathews, Middlesex,
                                     Northampton, Northumberland, Southampton, Surry, York
                              1      Independent Cities: Chesapeake, Franklin City, Hampton, Newport News, Norfolk,
                                     Poquoson, Portsmouth, Suffolk, Virginia Beach, and Williamsburg
                             2       Caroline, Charles City, Essex, Henrico, King and Queen, King George, King William, New
                                     Kent, Prince George, Richmond, Sussex, Westmoreland




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Commonwealths and Territories of The United States of America
                                         ZONE
AMERICAN SAMOA                               2      Entire Territory
GUAM                                         1      Entire Territory
NORTHERN MARIANA ISLANDS                     1      Entire Commonwealth
PUERTO RICO                                  1      Entire Commonwealth
U.S. VIRGIN ISLANDS                          1      Entire Territory
All other US Territories and Possessions     1      Entire Territory




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Appendix D – Named Storm Zones Worldwide except
USA and its Commonwealths and Territories
This list is for is for informational purposes only and does not convey any coverage under the policy.

WIND ZONES ARE DEFINED AS FOLLOWS:


Country                                            Zone     Provinces/Territories/States/Counties
ALBANIA                                             4       Entire Country
ALGERIA                                             3       Entire Country
ANDORRA                                             3       Entire Country
ANGUILLA                                            1       Entire Country
ANTARCTICA                                          4       Entire Country
ANTIGUA & BARBUDA                                   1       Entire Country
ARMENIA                                             4       Entire Country
ARGENTINA                                           4       Entire Country
ARUBA                                               1       Entire Country for Limits of Liability
                                                    3       Entire Country for Deductibles
AUSTRALIA including Christmas Island,               1       Western Australia Postcodes: 6701,6707,6710,6711,6712,
Cocos (Keeling) Islands                                     6713,6714,6716,6718,6720,6721,6722,6725,6726,6728,6731,
                                                            6733,6740,6743,6751,6754,6760,6762,6765,
                                                            Northern Territory Postcodes: 0800,0810,0812,0820,0822,
                                                            0828,0829,0830,0832,0835,0836,0837,0838,0840,0841,0845,
                                                            0846,0847,0850,0852,0853,0854,0862,0880,0885,0886,
                                                            Christmas Island, Cocos (Keeling) Islands
                                                     2      Queensland Postcodes: 4580,4581,4620,4621,4630,4650,
                                                            4655,4659,4660,4662,4670,4671,4673,4674,4676,4677,4678,
                                                            4680,4694,4695,4697,4699,4700,4701,4702,4703,4704,4705,
                                                            4706,4707,4710,4711,4712,4714,4715,4716,4717,4718,4720,
                                                            4721,4723,4737,4738,4739,4740,4741,4742,4743,4744,4745,
                                                            4746,4750,4751,4753,4754,4756,4757,4798,4799,4800,4801,
                                                            4802,4803,4804,4805,4806,4807,4808,4809,4810,4811,4812,
                                                            4813,4814,4815,4816,4817,4818,4819,4820,4830,4849,4850,
                                                            4852,4854,4855,4856,4857,4858,4859,4860,4861,4865,4868,
                                                            4869,4870,4871,4872,4873,4874,4875,4876,4877,4878,4879,
                                                            4880,4881,4882,4883,4884,4885,4886,4887,4888,4890,4891,
                                                            4895
                                                     3      Balance of Country
AUSTRIA                                              4      Entire Country
AZERBAIJAN                                           4      Entire Country
BAHAMAS                                              1      Entire Country
BAHRAIN                                              4      Entire Country
BANGLADESH                                           1      Entire Country
BARBADOS                                             1      Entire Country
BELARUS                                              4      Entire Country




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Country                           Zone   Provinces/Territories/States/Counties
BELGIUM                            3     Entire Country
BELIZE                             1     Entire Country
BENIN                              4     Entire Country
BERMUDA                            1     Entire Country
BHUTAN                             4     Entire Country
BOLIVIA                            4     Entire Country
BOSNIA & HERZEGOVINA               4     Entire Country
BOTSWANA                           3     Entire Country
BRAZIL                             4     Entire Country
BRITISH VIRGIN ISLANDS             1     Entire Country
BRUNEI DARUSSALAM                  4     Entire Country
BULGARIA                           4     Entire Country
BURKINA FASO                       4     Entire Country
BURUNDI                            1     Entire Country
CAMBODIA                           3     Entire Country
CAMEROON                           4     Entire Country
CANADA                             4     Entire Country
CAPE VERDE                         3     Entire Country
CAYMAN ISLANDS                     1     Entire Country
CENTRAL AFRICAN REPUBLIC           4     Entire Country
CHAD                               3     Entire Country
CHILE                              3     Entire Country
CHINA                              1     Hainan, Macau, Guangdong, Fujian, Zhejiang, Shanghai,
                                         Jiangsu, Shangdong
                                    2    Hong Kong
                                    4    Balance of Country
COLOMBIA                            3    Entire Country
COMOROS                             3    Entire Country
CONGO, REPUBLIC OF                  4    Entire Country
COOK ISLANDS                        1    Entire Country
COSTA RICA                          1    Entire Country
CROATIA                             3    Entire Country
CURACAO                             1    Entire Country for Limits of Liability
                                    3    Entire Country for Deductibles
CYPRUS                              4    Entire Country
CZECH REPUBLIC                      4    Entire Country
DENMARK                             3    Entire Country
DJIBOUTI                            4    Entire Country
DOMINICA                            1    Entire Country
DOMINICAN REPUBLIC                  1    Entire Country
ECUADOR                             4    Entire Country
EGYPT                               4    Entire Country
EL SALVADOR                         2    Entire Country
EQUATORIAL GUINEA                   4    Entire Country
ERITREA                             4    Entire Country




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Country                           Zone   Provinces/Territories/States/Counties
ESTONIA                            3     Entire Country
ETHIOPIA                           4     Entire Country
FAROE ISLANDS                      3     Entire Country
FEDERATED STATES OF MICRONESIA     1     Entire Country
FIJI                               1     Entire Country
FINLAND                            3     Entire Country
FRANCE                             4     Entire Country
FRENCH GUIANA                      4     Entire Country
FRENCH POLYNESIA                   1     Entire Country
GABON                              3     Entire Country
GAMBIA                             4     Entire Country
GERMANY                            3     Entire Country
GHANA                              3     Entire Country
GIBRALTAR                          3     Entire Country
GREECE                             4     Entire Country
GREENLAND                          4     Entire Country
GRENADA                            1     Entire Country
GUADELOUPE                         1     Entire Country
GUATEMALA                          1     Izabal
                                   2     Balance of Country
GUINEA                             4     Entire Country
GUINEA-BISSAU                      4     Entire Country
GUYANA                             3     Entire Country
HAITI                              1     Entire Country
HONDURAS                           1     Entire Country
HUNGARY                            4     Entire Country
ICELAND                            4     Entire Country
INDIA                              1     Andhra Pradesh, Jharkhand, Mizoram, Orissa, Tamil Nadu,
                                         Tripura, West Bengal
                                    3    Balance of Country
INDONESIA                           3    Entire Country
IRAQ                                4    Entire Country
IRELAND                             3    Entire Country
ISLE OF MAN                         3    Entire Country
ISRAEL                              4    Entire Country
ITALY                               3    Entire Country
IVORY COAST (COTE-D’IVOIRE)         4    Entire Country
JAMAICA                             1    Entire Country
JAPAN                               3    Regions of Hokkaido, Tohoku
                                    1    Balance of Country
JORDAN                              4    Entire Country
KAZAKHSTAN                          4    Entire Country
KENYA                               3    Entire Country
KIRIBATI                            1    Entire Country
KOSOVO                              4    Entire Country




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Country                          Zone   Provinces/Territories/States/Counties
KUWAIT                            4     Entire Country
KYRGYZSTAN (KYRGYZ REPUBLIC)      4     Entire Country
LAOS                              3     Entire Country
LATVIA                            3     Entire Country
LEBANON                           4     Entire Country
LESOTHO                           4     Entire Country
LIBERIA                           4     Entire Country
LIBYA                             4     Entire Country
LIECHTENSTEIN                     4     Entire Country
LITHUANIA                         3     Entire Country
LUXEMBOURG                        4     Entire Country
MACEDONIA                         4     Entire Country
MADAGASCAR                        2     Entire Country
MALAWI                            4     Entire Country
MALAYSIA                          3     Entire Country
MALDIVES                          3     Entire Country
MALI                              4     Entire Country
MALTA                             4     Entire Country
MARSHALL ISLANDS                  2     Entire Country
MARTINIQUE                        1     Entire Country
MAURITANIA                        4     Entire Country
MAURITIUS                         1     Entire Country
MAYOTTE                           1     Entire Country
MEXICO                            1     Baja California Sur, Colima, Campeche, Chiapas, Guerrero,
                                        Jalisco, Michoacan, Oaxaca, Quintana Roo, Tabasco,
                                        Tamaulipas, Veracruz, Yucatan
                                   4    Balance of Country
MOLDOVA                            4    Entire Country
MONACO                             3    Entire Country
MONGOLIA                           4    Entire Country
MONTENEGRO                         4    Entire Country
MONTSERRAT                         1    Entire Country
MOROCCO                            4    Entire Country
MOZAMBIQUE                         1    Entire Country
NAMIBIA                            4    Entire Country
NAURU                              4    Entire Country
NEPAL                              4    Entire Country
NETHERLANDS                        4    Balance of Country
                                   1    Bonaire for Limits of Liability
                                   3    Bonaire for Deductibles
                                   1    Saba
                                   1    Sint Eustatius




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Country                           Zone   Provinces/Territories/States/Counties
NEW CALEDONIA                      1     Entire Country
NEW ZEALAND                        3     Entire Country
NICARAGUA                          1     RAAN (Bilwi), RAAS (Bluefields)
                                   2     Balance of Country
NIGER                              4     Entire Country
NIGERIA                            4     Entire Country
NIUE                               1     Entire Country
NORFOLK ISLAND                     2     Entire Country
NORWAY                             3     Entire Country
OMAN                               3     Entire Country
PAKISTAN                           3     Entire Country
PALAU                              1     Entire Country
PALESTINE                          4     Entire Country
PANAMA                             3     Entire Country
PAPUA NEW GUINEA                   3     Entire Country
PARAGUAY                           4     Entire Country
PERU                               4     Entire Country
PHILIPPINES                        1     Entire Country
PITCAIRN ISLANDS                   1     Entire Country
POLAND                             3     Entire Country
PORTUGAL                           3     Azores Autonomous Region
                                   4     Balance of Country
QATAR                              4     Entire Country
REUNION                            1     Entire Country
ROMANIA                            4     Entire Country
RUSSIAN FEDERATION                 4     Entire Country
RWANDA                             4     Entire Country
SAMOA (WESTERN)                    1     Entire Country
SAN MARINO                         4     Entire Country
SAO TOME & PRINCIPE                4     Entire Country
SAUDI ARABIA                       4     Entire Country
SENEGAL                            4     Entire Country
SERBIA                             4     Entire Country
SEYCHELLES                         3     Entire Country
SIERRA LEONE                       4     Entire Country
SINGAPORE                          4     Entire Country
SINT MAARTEN                       1     Entire Country
SLOVAKIA                           4     Entire Country
SLOVENIA                           4     Entire Country
SOLOMON ISLANDS                    2     Entire Country
SOMALIA                            4     Entire Country
SOUTH AFRICA                       4     Entire Country
SOUTH KOREA                        2     Entire Country




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Country                                             Zone    Provinces/Territories/States/Counties
SOUTHERN SUDAN                                       4      Entire Country
SPAIN                                                4      Entire Country
SRI LANKA                                            2      Entire Country
ST. BARTHELEMY                                       1      Entire Country
ST. KITTS AND NEVIS                                  1      Entire Country
ST. LUCIA                                            1      Entire Country
ST. MARTIN                                           1      Entire Country
ST. VINCENT AND THE GRENADINES                       1      Entire Country
SURINAME                                             4      Entire Country
SWAZILAND                                            4      Entire Country
SWEDEN                                               3      Entire Country
SWITZERLAND                                          4      Entire Country
TAIWAN                                               1      Entire Country
TAJIKISTAN                                           4      Entire Country
TANZANIA                                             4      Entire Country
THAILAND                                             3      Entire Country
TIMOR-LESTE                                          3      Entire Country
TOGO                                                 4      Entire Country
TONGA                                                1      Entire Country
TRINIDAD AND TOBAGO                                  1      Entire Country
TUNISIA                                              4      Entire Country
TURKEY                                               4      Entire Country
TURKMENISTAN                                         4      Entire Country
TURKS AND CAICOS                                     1      Entire Country
TUVALU                                               3      Entire Country
UGANDA                                               4      Entire Country
UKRAINE                                              4      Entire Country
UNITED ARAB EMIRATES                                 4      Entire Country
UNITED KINGDOM including Guernsey,                   3      Entire Country
Jersey
URUGUAY                                               3     Entire Country
UZBEKISTAN                                            4     Entire Country
VANUATU                                               1     Entire Country
VATICAN CITY                                          4     Entire Country
VENEZUELA                                             3     Entire Country
VIETNAM                                               2     Entire Country
WESTERN SAHARA                                        4     Entire Country
YEMEN                                                 3     Entire Country
ZAMBIA                                                4     Entire Country
ZIMBABWE                                              4     Entire Country




Any country not listed is Zone 1 unless stated differently in the Declarations of the Policy




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Amendatory Endorsement - Alaska



THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

1.   Section VI-General Policy Conditions, Cancellation/Non-renewal, is deleted in its entirety and replaced by the following:

     CANCELLATION/NON-RENEWAL/CONDITIONAL RENEWAL

     Cancellation

     The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company advance
     written notice of cancellation.

     The Company may cancel this Policy by mailing or delivering to the First Named Insured and to the agent or broker of record
     written notice of cancellation at least the greater of:

         Ten (10) days before the effective date of cancellation if the Company cancels for discovery of fraud or material
         misrepresentation by the insured;

         Twenty (20) days or the number of days before the effective date of cancellation if the Company cancels for nonpayment of
         premium, as stated in the Declarations; or

         Sixty (60) days or the number of days before the effective date of cancellation if the Company cancels for any other reason,
         as stated in the Declarations.

     The Company will mail or deliver notice to the First Named Insured's mailing address shown in the Declarations of this
     Policy or any Endorsement attached thereto and to the agent or broker of record.

     Notice of cancellation will state the effective date of cancellation. The Policy Period will end on that date.

     If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company cancels,
     the refund will be pro rata. If the First Named Insured cancels, the refund may be subject to a cancellation fee of 7.5% of any
     unearned premium. If the Company cancels, any unearned premium will be returned before the effective date of cancellation or
     forty-five (45) days after the cancellation notice is given in cases of nonpayment, misrepresentation or fraud. If the Insured
     cancels, any unearned premium will be returned the later of the effective date of cancellation or 45 days after receipt of the
     request for cancellation.

     If notice is mailed, proof of mailing will be sufficient proof of notice.

     If under the laws of the jurisdiction in which the property is located, such cancellation terms or conditions are different, then
     cancellation terms or conditions will be as permitted by such laws.

     Non-renewal

     The Company may non-renew this Policy by mailing or delivering to the First Named Insured written notice, the number of
     days before the non-renewal, as permitted by law in the jurisdiction where in the property is located.

     Conditional Renewal

     If the premium to renew this policy increases more than 10% for a reason other than an increase in coverage or exposure basis,
     or if after the renewal there will be a material restriction or reduction in coverage not specifically requested by the First Named
     Insured, the Company shall mail written notice of the change(s) to the First Named Insured the number of days before the
     expiration date of the policy, as permitted by law in the jurisdiction where in the property is located.

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2.   SECTION VI – GENERAL POLICY CONDITIONS, CONCEALMENT, MISREPRSENTATION OR FRAUD, is deleted in its
     entirety and replaced by the following:

     CONCEALMENT, MISREPRESENTATION OR FRAUD
        The Company will not pay for any loss or damage in any case involving misrepresentations, omissions, concealment of
        facts, or incorrect statements:
                  That are fraudulent;
                  That are material either to the acceptance of the risk, or to the hazard assumed by the Company; or
                  If the Company, in good faith, would not have:
                            Issued the policy or contract;
                            Issued a policy or contract in as large an amount, or at the same premium or rate; or
                            Provided coverage with respect to the hazard resulting in the loss;
                  if the true facts had been made known to the Company as required either by the application for the policy or
                  contract or otherwise.

3.   Section VI-General Policy Conditions, Loss Conditions, Appraisal is deleted in its entirety and replaced by the following:

     APPRAISAL

     If the Insured and the Company fail to agree on the value of the property or the amount of loss, each will, on the written
     demand of either, select a competent, disinterested, and impartial appraiser, who has no direct or indirect financial interest in the
     claim. Each will notify the other of the appraiser selected within 10 days of such demand. The Insured may not invoke
     appraisal unless it has first fully complied with all provisions of this Policy, including Duties in the Event of Loss or Damage
     and has provided the Company with a signed and sworn statement of loss.

     The appraisers will first select a competent, disinterested and impartial umpire. If the appraisers fail to agree upon an umpire
     within 15 days then, on the request of the Insured or the Company, a judge of a court of record in the jurisdiction in which the
     appraisal is pending will select the umpire. The appraisers will then appraise the value of the property or the amount of loss.
     They will state separately, the actual cash value and replacement cost value, as of the date of loss and the amount of loss, each
     item of physical loss or damage or, if for Time Element loss, the amount of loss for each Time Element Coverage of this Policy.

     If the appraisers fail to agree, they will submit their differences to the umpire. An award stating separately the actual cash
     value and replacement cost value, as of the date of loss and the amount of loss, for each item of physical loss or damage or,
     if for Time Element loss, the amount of loss for each Time Element Coverage of this Policy agreed to in writing by any
     two will determine the amount of loss and will be binding on the Company.

     Once there is an award, the Company retains the right to apply all policy terms and conditions (including but not limited to
     deductibles, exclusions, and Limits of Liability) to the award. The Company further retains its right to deny the claim in
     whole or in part.

     All expenses and fees, not including counsel or adjuster fees, incurred because of the appraisal shall be paid as determined
     by the umpire.

3. The following is added to Subsection 6.13.01 of Section VI-General Policy Conditions, Loss Conditions, Duties in the Event of
   Loss or Damage:

     The Insured has the right to an attorney being present during any examination under oath.

4.   The following is added to Section VI-General Policy Conditions and supersedes any provision to the contrary:

     As required by Alaska Statute Section 21.36.212, we will not deny a claim if a risk, hazard or contingency insured against is the
     dominant cause of a loss and an excluded risk, hazard, or contingency is also in the chain of causes but operates on a secondary
     basis.




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5.   SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
     its entirety and replaced by the following:

     No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the Insured has
     fully complied with all the provisions of this Policy. Legal action must be started within three (3) years after the date on which
     the cause of action accrues.




All other terms, conditions and limitations of this Policy remain unchanged.




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Amendatory Endorsement - Connecticut

Insured Name                                                Policy Number                        Effective Date
Lindenwood University                                       ERP8757927-01                        07/01/2019


THIS ENDORSEMENT CHANGES THE POLICY AND APPLIES TO THOSE RISKS IN CONNECTICUT. PLEASE
READ IT CAREFULLY.

1.   SECTION V – SPECIAL COVERAGES & DESCRIBED CAUSES OF LOSS, DESCRIPTION OF SPECIAL COVERAGES, is
     amended by the addition of the following:

     In the event of an electrical outage or interruption of electrical service at an Insured Location from a Covered Cause of Loss,
     Personal Property that is perishable food that you donate to a temporary emergency shelter operated or supervised by a
     municipality or the state during a state of emergency for a limited time period will be considered physically damaged, for the
     purpose of coverage as required by Connecticut Public Act 12-123 only, if:

     a)   The Insured's food establishment is classified as class III or class IV pursuant to regulations adopted under section 19a-36
          of Connecticut general statutes;

     b) The Governor proclaims that a state of emergency exists;


     c)   The electrical outage or interruption of electrical service to the Insured Location is forecast by the electric supplier to last
          longer for that Insured Location than the time period prescribed by the Department of Public Health or local director of
          health, or an authorized agent thereof, for the safe handling of such perishable food;

     d) Such perishable food is donated prior to the expiration of the time period described in c) above; and

     e)   The Insured provides us written documentation from such shelter stating the date and time of such donation.

     Coverage under this provision is provided only up the applicable Limit of Liability and subject to all other terms and conditions
     of the policy.

2.   SECTION VI – GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL, is deleted in its entirety and
     replaced by the following:

     Cancellation

          The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
          advance written notice of cancellation.

          For Policies in Effect Sixty (60) Days or Less, the Company may cancel this Policy by mailing or delivering to the First
          Named Insured written notice of cancellation at least:

              Ten (10) days before the effective date of cancellation if the Company cancels for nonpayment of premium.




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       Thirty (30) days before the effective date of cancellation if the Company cancels for any other reason.

   If this Policy has been in effect for sixty (60) days or more, or if it is a renewal or continuation of a Policy issued by the
   Company, the Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of
   cancellation at least ten (10) days before the effective date of cancellation if the Company cancels for one or more of the
   following reasons:

       Nonpayment of premium;

       Conviction of a crime arising out of acts increasing the hazard insured against;

       Discovery of fraud or material misrepresentation by the Insured in obtaining the Policy or in perfecting any claim;

       Discovery of any willful or reckless act or omission by the Insured increasing the hazard insured against; or;

       A determination by the Commissioner that continuation of the Policy would violate or place the Company in violation
       of the law.

   If this Policy has been in effect for sixty (60) days or more, or if it is a renewal or continuation of a Policy issued by the
   Company, the Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of
   cancellation at least sixty (60) days before the effective date of cancellation if the Company cancels for one or more of the
   following reasons:

       Physical changes in the property which increase the hazard insured against;

       A material increase in the hazard insured against; or

       A substantial loss of reinsurance by the Company affecting this particular line of insurance.

   The Company may not cancel policies in effect for sixty (60) days or more or renewal policies for any reason other than the
   reasons described above.

   If the Company cancels for nonpayment of premium, the Insured may continue the coverage and avoid the effect of
   cancellation by payment in full at any time prior to the effective date of cancellation.

   Notice of cancellation will state the reason(s) for cancellation.

   Notice of Cancellation will be delivered or sent by Registered mail, Certified mail, or Mail evidenced by a United States
   Post Office certificate of mailing.

   The Company will give notice to the First Named Insured at the last mailing address known.

   Notice of cancellation will state the effective date of cancellation. The Policy period will end on that date.

   If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
   cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata. The
   cancellation will be effective even if the Company has not made or offered a refund. Notice of cancellation will state that
   the excess premium (if not tendered) will be refunded on demand.

   If notice is mailed, proof of mailing will be sufficient proof of notice.

Non-renewal




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     The Company may non-renew this Policy by mailing or delivering to the First Named Insured written notice of
     non-renewal at least sixty (60) days before the expiration date of this Policy stating the reason for non-renewal . This
     notice will be delivered or sent by Registered mail or Certified mail to the last address known to us. The Company is not
     required to send this notice if nonrenewal is due to the Insured failure to pay any advance premium required for renewal.

3.   SECTION VI – GENERAL POLICY CONDITIONS, LENDERS LOSS PAYEE AND MORTGAGE HOLDER
     INTERESTS AND OBLIGATIONS, is modified to add the following:

     Mortgagee interests and obligations. If loss hereunder is made payable, in whole or in part, to a designated mortgagee not
     named herein as the insured, such interest in this policy may be cancelled by giving to such mortgagee a ten days' written
     notice of cancellation.

     If the insured fails to render proof of loss such mortgagee, upon notice, shall render proof of loss in the form herein
     specified within sixty (60) days thereafter and shall be subject to the provisions hereof relating to appraisal and time of
     payment and of bringing suit. If this Company shall claim that no liability existed as the mortgagor or owner, it shall, to the
     extent of payment of loss to the mortgagee, be subrogated to all the mortgagee's rights of recovery, but without impairing
     mortgagee's right to sue; or it may pay off the mortgage debt and require an assignment thereof and of the mortgage. Other
     provisions relating to the interests and obligations of such mortgagee may be added hereto by agreement in writing.


4.   The following is added to SECTION VI –GENERAL POLICY CONDITIONS:

     For any loss subject to the Standard Fire Insurance Policy of the State of Connecticut, as set forth in the General Statutes of
     Connecticut, if any conditions of the Standard Fire Insurance Policy of the State of Connecticut are construed to be more
     liberal than the conditions of this Policy, then the conditions of The Standard Fire Insurance Policy of the State of
     Connecticut will apply with respect to the perils insured by the Standard Fire Policy of Connecticut.

5.   SECTION VI –GENERAL POLICY CONDITIONS, CONFORMITY TO STATUTES, is amended by the addition of the
     following and supersede anything to the contrary:

     Any provisions required by Connecticut law to be included in policies issued by the Company shall be deemed to have
     been included in this Policy.

     If the provisions of this Policy conflict with the laws of any jurisdictions in which this Policy applies, and if certain
     provisions are required by Connecticut law to be stated in this Policy, this Policy shall be read so as to eliminate such
     conflict or deemed to include such provisions for Insured Locations within such jurisdictions.

6.   SECTION VI –GENERAL POLICY CONDITIONS, SUIT AGAINST THE COMPANY, is amended by the addition of the
     following and supersede anything to the contrary:

     No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
     Insured has fully complied with all the provisions of this Policy. Legal action must be started within twenty-four (24)
     months after the date of direct physical loss or damage to Covered Property or to other property as set forth herein.

     If under the laws of the jurisdiction in which the property is located, such twenty-four months' limitation is invalid, then,
     any such legal action needs to be started within the shortest limit of time permitted by such laws.


7.   The following is deleted from SECTION VI –GENERAL POLICY CONDITIONS, VALUATION:

     For Fine Arts articles, the lesser of the reasonable and necessary cost to repair or restore such property to the physical
     condition that existed on the date of loss or the cost to replace the article or the value if stated on a




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    schedule on file. If the Fine Arts article cannot be replaced and an appraisal is not available, the valuation shall be market
    value based on prevailing conditions at the time of loss or damage.

    and

    The cost to replace non-repairable electrical or mechanical equipment, including computer equipment, with equipment that is the
    most functionally equivalent to that damaged or destroyed, even if such equipment has technological advantages, represents an
    improvement in function, or forms part of a program of system enhancement.


All other terms, conditions and limitations of this Policy remain unchanged




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Amendatory Endorsement - Florida
THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

1.   SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL, is deleted in its entirety and replaced
     by the following:

     Cancellation

         The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
         advance written notice of cancellation.

         A single claim on a property insurance policy which is the result of water damage may not be used as the sole cause for
         cancellation or nonrenewal unless the insurer can demonstrate that the insured has failed to take action reasonably requested
         by the insurer to prevent a future similar occurrence of damage to the insured property.

         Cancellation for Policies in Effect for Ninety (90) Days or Less

             If this Policy has been in effect for ninety (90) days or less, the Company may cancel this Policy by mailing or
             delivering to the First Named Insured written notice of cancellation, accompanied by the specific reasons for
             cancellation, at least:

                    Ten (10) days before the effective date of cancellation if the Company cancels for nonpayment of premium; or

                    Twenty (20) days before the effective date of cancellation if the Company cancels for any other reason, except the
                    Company may cancel immediately if there has been a material misstatement or misrepresentation, or a failure to
                    comply with underwriting requirements established by the Company.

             The Company may not cancel:

                    On the basis of property insurance claims that are the result of an act of God, unless the Company can
                    demonstrate, by claims frequency or otherwise, that the Insured has failed to take action reasonably necessary as
                    requested by the Company to prevent recurrence of damage to the insured property; or

                    Solely on the basis of a single property insurance claim which is the result of water damage, unless the Company
                    can demonstrate that the Insured has failed to take action reasonably requested by us to prevent a future similar
                    occurrence of damage to the insured property.

         Cancellation for Policies in Effect for More Than Ninety (90) Days

             If this Policy has been in effect for more than ninety (90) days, the Company may cancel this Policy only for one or
             more of the following reasons:

                    (a) Nonpayment of premium;

                    (b) The Policy was obtained by a material misstatement;

                    (c) In the event of failure to comply, within ninety (90) days after the effective date of coverage, with
                        underwriting requirements established by the Company before the effective date of coverage;

                    (d) There has been a substantial change in the risk covered by the Policy;

                    (e) The cancellation is for all Insureds under such Policies for a given class of Insured;

                    (f) On the basis of property insurance claims that are the result of an act of God, if the Company can demonstrate,
                        by claims frequency or otherwise, that the Insured has failed to take action reasonably necessary by the
                        Company to prevent recurrence of damage to the insured property;

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            (g) On the basis of a single property insurance claim which is the result of water damage, if the Company can
                demonstrate that the Insured has failed to take action reasonably requested by the Company to prevent a future
                similar occurrence of damage to the insured property; or

            (h) The cancellation of some or all of our policies is necessary to protect the best interests of the public or
                policyholders and such cancellation is approved by the Florida Office of Insurance Regulation.

        If the Company cancels this Policy for any of these reasons, the Company will mail or deliver to the First Named
        Insured written notice of cancellation, accompanied by the specific reasons for cancellation, at least:

            Ten (10) days before the effective date of cancellation if cancellation is for nonpayment of premium; or

            Forty-five (45) days before the effective date of cancellation if:

            (a) Cancellation is for one of the other reasons stated in paragraphs (a) through (g) above and this policy does not
                cover a residential structure or its contents; or

            (b) Cancellation is based upon the reason stated in (h) above.

            120 days before the effective date of cancellation if cancellation is for one of the reasons stated in paragraphs (b)
            through (g) above and this policy covers a residential structure or its contents.

        If this policy has been in effect for more than 90 days and covers a residential structure or its contents, the Company
        may not cancel this policy based on credit information available in public records.

   Notice of cancellation will state the effective date of cancellation. The Policy Period will end on that date.

   If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
   cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata but no less
   than 90% of the pro rata unearned premium. If the return premium is not refunded with the notice of cancellation or when
   this policy is returned to us, the Company will mail the refund within 15 working days after the date cancellation takes
   effect, unless this is an audit policy.

   If this is an audit policy, then subject to the Insured’s full cooperation with us or our agent in securing the necessary data
   for audit, the Company will return any premium refund due within 90 days of the date cancellation takes effect. If our audit
   is not completed within this time limitation, then the Company shall accept the Insured’s own audit, and any premium
   refund due shall be mailed within 10 working days of receipt of the Insured’s audit.

   The cancellation will be effective even if the Company has not made or offered a refund.

   If notice is mailed, proof of mailing will be sufficient proof of notice.


Non-Renewal

   1.   The Company may non-renew this Policy by mailing or delivering to the First Named Insured, at the Insured’s last
        mailing address known to us, written notice of non-renewal, accompanied by the specific reason for non-renewal at
        least:

        (a) Forty-five (45) days prior to the expiration of this Policy if this policy does not cover a residential structure or its
            contents of it is necessary to protect the best interests of the public or policyholders and such nonrenewal is
            approved by the Florida Office of Insurance Regulation; or

        (b) 120 days prior to the expiration of the policy if this policy covers a residential structure or its contents.

   2.   Any notice of nonrenewal will be mailed or delivered to the first Named Insured at the last mailing address known to
        the Company. If notice is mailed, proof of mailing will be sufficient proof of notice.




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       3.   The Company may not refuse to renew this policy:

            (a) On the basis of property insurance claims that are the result of an act of God, unless the Company can
                demonstrate, by claims frequency or otherwise, that the Insured failed to take action reasonably necessary as
                requested by the Company to prevent recurrence of damage to the insured property;

            (b) On the basis of filing of claims for Sinkhole Loss. However, the Company may refuse to renew this policy if:

                (1) The total of such property insurance claim payments for this policy equals or exceeds the policy limits in
                    effect on the date of loss for property damage to the covered building; or
                (2) The Insured has failed to repair the structure in accordance with the engineering recommendations upon which
                    any loss payment or policy proceeds were based; or
            (c) Solely on the basis of a single property insurance claim which is the result of water damage, unless the Company
                can demonstrate that the Insured has failed to take action reasonably requested by the Company to prevent a future
                similar occurrence of damage to the insured property.

            (d) Notwithstanding the provisions of Paragraph 3., the Company may refuse to renew this policy if this policy
                includes Sinkhole Loss coverage. If the Company nonrenews this policy for purposes of removing Sinkhole Loss
                coverage, pursuant to section 627.706, Florida Statutes, the Company will offer the Insured a policy that includes
                catastrophic ground cover collapse coverage.

            (e) Notwithstanding the provisions of Paragraph 3., the Company may refuse to renew this policy if nonrenewal of
                some or all of the Company’s policies is necessary to protect the best interests of the public or policyholders and
                such nonrenewal is approved by the Florida Office of Insurance Regulation.

   Limitations on Cancellation and Nonrenewal In the Event of Hurricane or Wind Loss- Residential Property

       The following provisions apply to a policy covering a residential structure or its contents, if such property has sustained
       damage as a result of a hurricane or windstorm that is the subject of a declaration of emergency by the Governor and filing
       of an order by the Commissioner of Insurance Regulation:

       (a) Except as provided in the paragraph (b), the Company may not cancel or nonrenew the policy until at least 90 days
           after repairs to the residential structure or its contents have been substantially completed so that it is restored to the
           extent that it is insurable by another insurer writing policies in Florida. If the Company elects to not renew the policy,
           the Company will provide at least 100 days’ notice that the Company intends to nonrenew 90 days after the substantial
           completion of repairs.

       (b) The Company may cancel or nonrenew the policy prior to restoration of the structure or its contents for any of the
           following reasons:

            (1)   Nonpayment of premium;
            (2)   Material misstatement or fraud related to the claim;
            (3)   The Company determines that the Insured has unreasonably caused a delay in the repair of the structure; or
            (4)   The Company has paid the policy limits.

           If the Company cancels or nonrenew for nonpayment of premium, the Company will give the Insured 10 days' notice.
           If the Company cancels or nonrenews for a reason listed in Paragraph (b)(2), (b)(3) or (b)(4), the Company will give
           the Insured 45 days' notice.
     With respect to a policy covering a residential structure or its contents, any cancellation or nonrenewal that would otherwise
     take effect during the duration of a hurricane will not take effect until the end of the duration of such hurricane, unless a
     replacement policy has been obtained and is in effect for a claim occurring during the duration of the hurricane. The
     Company may collect premium for the period of time for which the policy period is extended.
     With respect to the above paragraph, a hurricane is a storm system that has been declared to be a hurricane by the National
     Hurricane Center of the National Weather Service (hereafter referred to as NHC). The hurricane occurrence begins at the time
     a hurricane watch or hurricane warning is issued for any part of Florida by the NHC and ends 72 hours after the termination
     of the last hurricane watch or hurricane warning issued for any part of Florida by the NHC.

2. SECTION VI. - GENERAL POLICY CONDITIONS, CONCEALMENT, MISREPRESENTATION OR FRAUD is deleted in
   its entirety and replaced by the following:


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      CONCEALMENT, MISREPRESENTATION OR FRAUD

          This Policy may be void as to all Insureds in any case of fraud by any Insured as it relates to this Policy at any time. It may
          also be void if any Insured, at any time, intentionally conceals or misrepresents a material fact concerning:

               This Policy;

               The Covered Property;

               The Insured's interest in Covered Property; or

               A claim under this Policy.

3. SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
   its entirety and replaced by the following:

          No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
          Insured has fully complied with all the provisions of this Policy. Legal action must be started within five (5) years from the
          date of loss.

4.    The following is deleted from SECTION VI – GENERAL POLICY CONDITIONS, SETTLEMENT OF CLAIMS, Loss
      Payment:

      The Company will pay for covered loss or damage within thirty (30) days or as required by law, after receiving the sworn
      statement of loss, if the Insured has complied with all the terms of this Policy; and

          The Company has reached agreement on the amount of loss; or

          An appraisal award has been made,

      and replaced by the following:

      If the Insured has complied with all the terms of this Policy, the Company will pay for covered loss or damage within:

          Twenty (20) days after receiving the sworn statement of loss and reaching written agreement with the Insured; or

          Thirty (30) days after receiving the sworn statement of loss; and

          There is an entry of a final judgment; or

          A filing of an appraisal award with the Company.

5. SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS Is amended by adding the following:

     A claim, supplemental claim or reopened claim for loss or damage caused by the peril of windstorm or hurricane is barred unless
     notice of the claim supplemental claim or reopened claim is given to the Company within 3 years after the hurricane first made
     landfall or the windstorm caused covered damage.

     For purposes of this section, the term “supplemental claim” or “reopened claim” means any additional claim for recovery from
     the insurer for losses from the same hurricane or windstorm which the insurer has previously adjusted pursuant to the initial
     claim.

6. SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS is amended by adding the following:

     Upon receipt of a claim for a Sinkhole Loss to a covered building, the Company shall meet the following standards in
     investigating a claim:

     (1) Inspect the Insured's premises to determine if there is Structural Damage that may be the result of Sinkhole Activity.



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(2) If the Company confirms that Structural Damage exists but is unable to identify a valid cause of such damage or discovers
   that such damage is consistent with Sinkhole Loss, the Company shall engage a Professional Engineer or a Professional
   Geologist to conduct testing as provided in s. 627.7072, Florida Statutes to determine the cause of the loss within a
   reasonable professional probability and issue a report as provided in s. 627.7073, Florida Statutes only if Sinkhole Loss is
   covered under the policy. Except as provided in subsections (4) and (6), the fees and costs of the Professional Engineer or
   Professional Geologist shall be paid by the Company.

(3) Following the initial inspection of the policyholder's premises, the Company shall provide written notice to the Insured
   disclosing the following information:

   (a) What the Company has determined to be the cause of damage, if the Company has made such a determination.

   (b) A statement of the circumstances under which the Company is required to engage a Professional Engineer or a
      Professional Geologist to verify or eliminate Sinkhole Loss and to engage a Professional Engineer to make
      recommendations regarding land and building stabilization and foundation repair.

   (c) A statement regarding the right of the Insured to request testing by a Professional Engineer or a Professional Geologist,
       the circumstances under which the Insured may demand certain testing, and the circumstances under which the Insured
       may incur costs associated with testing.

(4) (a) If the Company determines that there is no Sinkhole Loss, the Company may deny the claim.

   (b) If coverage for Sinkhole Loss is available and the Company denies the claim without performing testing under
      s. 627.7072, Florida Statutes, the Insured may demand testing by the Company under s. 627.7072, Florida Statutes.

      1. The Insured's demand for testing must be communicated to the Company in writing within 60 days after the Insured's
        receipt of the insurer's denial of the claim.

      2. The Insured shall pay 50 percent of the actual costs of the analyses and services provided under ss. 627.7072, Florida
        Statutes and 627.7073, Florida Statutes or $2,500, whichever is less.

      3. The Company shall reimburse the Insured for the costs if the Company's engineer or geologist provides written
        certification pursuant to s. 627.7073, Florida Statutes that there is Sinkhole Loss.

(5) If a Sinkhole Loss is verified, the Company shall pay to stabilize the land and building and repair the foundation in
   accordance with the recommendations of the Professional Engineer retained pursuant to subsection (2), with notice to the
   Insured, subject to the coverage and terms of the policy. The Company shall pay for other repairs to the structure and contents
   in accordance with the terms of the policy. If a covered building suffers a Sinkhole Loss, the insured must repair such
   damage or loss in accordance with the Company's Professional Engineer’s recommended repairs. However, if the Company's
   Professional Engineer determines that the repair cannot be completed within policy limits, the Company must pay to
   complete the repairs recommended by the insurer's Professional Engineer or tender the policy limits of the affected building
   to the Insured.

   (a) The Company may limit its total claims payment to the actual cash value of the Sinkhole Loss, which does not include
       underpinning or grouting or any other repair technique performed below the existing foundation of the building, until the
       Insured enters into a contract for the performance of building stabilization or foundation repairs in accordance with the
       recommendations set forth in the Company's report issued pursuant to s. 627.7073, Florida Statutes.

   (b) In order to prevent additional damage to the building or structure, the Insured must enter into a contract for the
      performance of building stabilization and foundation repairs within 90 days after the Company confirms coverage for the
      Sinkhole Loss and notifies the Insured of such confirmation. This time period is tolled if either party invokes the Neutral
      Evaluation process, and begins again 10 days after the conclusion of the Neutral Evaluation process.

   (c) After the Insured enters into the contract for the performance of building stabilization and foundation repairs, the
       Company shall pay the amounts necessary to begin and perform such repairs as the work is performed and the expenses
       are incurred. The Company may not require the Insured to advance payment for such repairs.

      If repair has begun and the aforementioned professional engineer determines that the repairs will exceed the applicable
      Limit of Insurance, the Company will pay only the remaining portion of the applicable Limit of Insurance upon such



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           determination. The most the Company will pay for the total of all Sinkhole Loss, including building and land stabilization
           and foundation repair, is the applicable Limit of Insurance on the affected building.

        (d) The stabilization and all other repairs to the structure and contents must be completed within 12 months after entering into
           the contract for repairs described in paragraph (b) unless:

            1. There is a mutual agreement between the Company and the Insured;

            2. The claim is involved with the Neutral Evaluation process;

            3. The claim is in litigation; or

            4. The claim is under appraisal or mediation.

        (e) Upon the Company's obtaining the written approval of any lienholder, the Company may make payment directly to the
            persons selected by the Insured to perform the land and building stabilization and foundation repairs. The decision by the
            Company to make payment to such persons does not hold the Company liable for the work performed. The Insured may
            not accept a rebate from any person performing the repairs specified in this section. If an Insured does receive a rebate,
            coverage is void and the Insured must refund the amount of the rebate to the Company.

     (6) If the Company obtains, pursuant to s. 627.7073, Florida Statutes, written certification that there is no Sinkhole Loss or that
        the cause of the damage was not Sinkhole Activity, and if the Insured has submitted the Sinkhole claim without good faith
        grounds for submitting such claim, the Insured shall reimburse the Company for 50 percent of the actual costs of the analyses
        and services provided under ss. 627.7072, Florida Statutes and 627.7073, Florida Statutes; however, an Insured is not
        required to reimburse the Company more than $2,500 with respect to any claim. The Insured is required to pay reimbursement
        only if the Insured requested the analysis and services provided under ss. 627.7072, Florida Statutes and 627.7073, Florida
        Statutes and the Company, before ordering the analysis under s. 627.7072, Florida Statutes, informs the Insured in writing of
        the Insured's potential liability for reimbursement and gives the Insured the opportunity to withdraw the claim.

     (7) The Company may engage a professional structural engineer to make recommendations as to the repair of the structure.

     (8) Any claim, including but not limited to, initial, supplemental, and reopened claims under an insurance policy that provides
        sinkhole coverage is barred unless notice of the claim was given to the insurer in accordance with the terms of the policy
        within 2 years after the policyholder knew or reasonably should have known about the sinkhole loss.


7.     SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS is amended by adding the following:

         (a) Within 90 days after an insurer receives notice of a property insurance claim from a policyholder, the insurer shall pay or
            deny such claim or a portion of the claim unless the failure to pay such claim or a portion of the claim is caused by factors
            beyond the control of the insurer which reasonably prevent such payment. Any payment of a claim or portion of a claim
            paid 90 days after the insurer receives notice of the claim, or paid more than 15 days after there are no longer factors
            beyond the control of the insurer which reasonably prevented such payment, whichever is later, shall bear interest at the
            rate set forth in s. 55.03. Interest begins to accrue from the date the insurer receives notice of the claim. The provisions of
            this subsection may not be waived, voided, or nullified by the terms of the insurance policy. If there is a right to
            prejudgment interest, the insured shall select whether to receive prejudgment interest or interest under this subsection.
            Interest is payable when the claim or portion of the claim is paid. Failure to comply with this subsection constitutes a
            violation of this code. However, failure to comply with this subsection shall not form the sole basis for a private cause of
            action.

        (b) Notwithstanding subsection (4), for purposes of this subsection, the term “claim” means any of the following:

            1. A claim under an insurance policy providing residential coverage as defined in s. 627.4025(1);

            2. A claim for structural or contents coverage under a commercial property insurance policy if the insured structure is
               10,000 square feet or less; or

            3. A claim for contents coverage under a commercial tenants policy if the insured premises is 10,000 square feet or less.




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       (c) This subsection shall not apply to claims under an insurance policy covering nonresidential commercial structures or
          contents in more than one state.


8.   SECTION VII – DEFINITIONS, Earth Movement is deleted in its entirety and replaced by the following:

     Earth Movement - Any Earth Movement including earthquake, landslide, mine subsidence, earth sinking, rising, shifting, and
     Sinkhole collapse. Catastrophic Ground Cover Collapse (CGCC) will not be considered Earth Movement within the
     terms and conditions of this Policy.

9.   SECTION VII – DEFINITIONS, the following is added to the definition of Terrorist Activity:

     If both the Terrorist Activity and subject loss take place at Locations in the USA, its territories, possessions and missions, and
     the Commonwealth of Puerto Rico, then any Terrorist Activity shall be an act of terrorism as defined by the (United States)
     Terrorism Risk Insurance Act 2002, as amended.

10. SECTION VII – DEFINITIONS, the following is added:

     Catastrophic Ground Cover Collapse (CGCC) - Geological activity that results in all the following:

         1.   The abrupt collapse of the ground cover;

         2.   A depression in the ground cover clearly visible to the naked eye;

         3.   Structural Damage to the covered building, including the foundation; and
         4.   The insured structure being condemned and ordered to be vacated by the governmental agency authorized by law to
              issue such an order for that structure.

     Contents coverage applies if there is a loss resulting from a catastrophic ground cover collapse. Damage consisting merely of
     the settling or cracking of a foundation, structure, or building does not constitute a loss resulting from a catastrophic ground
     cover collapse.

     Neutral Evaluation - The alternative dispute resolution provided in s. 627.7074, Florida Statutes.

     Neutral Evaluator - A professional engineer or a Professional Geologist who has completed a course of study in alternative
     dispute resolution designed or approved by the department for use in the neutral evaluation process and who is determined by
     the department to be fair and impartial.

     Primary Structural Member - A structural element designed to provide support and stability for the vertical or lateral loads of
     the overall structure.

     Primary Structural System - An assemblage of Primary Structural Members.

     Professional Engineer - A person, as defined in s. 471.005, Florida Statutes, who has a bachelor's degree or higher in
     engineering. A professional engineer must also have experience and expertise in the identification of Sinkhole Activity as well
     as other potential causes of Structural Damage.

     Professional Geologist - A person, as defined in s. 492.102, Florida Statutes, who has a bachelor's degree or higher in geology
     or related earth science and experience and expertise in the identification of Sinkhole Activity as well as other potential
     geologic causes of Structural Damage.

     Sinkhole - A landform created by subsidence of soil, sediment, or rock as underlying strata are dissolved by groundwater. A
     Sinkhole forms by collapse into subterranean voids created by dissolution of limestone or dolostone or by subsidence as these
     strata are dissolved.

     Sinkhole Activity - Settlement or systematic weakening of the earth supporting the covered building only if the settlement or
     systematic weakening results from contemporaneous movement or raveling of soils, sediments, or rock materials into
     subterranean voids created by the effect of water on a limestone or similar rock formation.

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 Sinkhole Loss - Structural Damage to the covered building, including the foundation, caused by Sinkhole Activity. Contents
 coverage and additional living expenses apply only if there is Structural Damage to the covered building caused by Sinkhole
 Activity.

 Structural Damage - A covered building, regardless of the date of its construction, has experienced the following:

 1. Interior floor displacement or deflection in excess of acceptable variances as defined in ACI 117-90 or the Florida Building
   Code, which results in settlement related damage to the interior such that the interior building structure or members become
   unfit for service or represents a safety hazard as defined within the Florida Building Code;

 2. Foundation displacement or deflection in excess of acceptable variances as defined in ACI 318-95 or the Florida Building
   Code, which results in settlement related damage to the primary structural members or primary structural systems that
   prevents those members or systems from supporting the loads and forces they were designed to support to the extent that
   stresses in those primary structural members or primary structural systems exceeds one and one-third the nominal strength
   allowed under the Florida Building Code for new buildings of similar structure, purpose, or location;

 3. Damage that results in listing, leaning, or buckling of the exterior load-bearing walls or other vertical primary structural
   members to such an extent that a plumb line passing through the center of gravity does not fall inside the middle one-third of
   the base as defined within the Florida Building Code;

 4. Damage that results in the building, or any portion of the building containing primary structural members or primary
   structural systems, being significantly likely to imminently collapse because of the movement or instability of the ground
   within the influence zone of the supporting ground within the sheer plane necessary for the purpose of supporting such
   building as defined within the Florida Building Code; or

 5. Damage occurring on or after October 15, 2005, that qualifies as Substantial Structural Damage as defined in the Florida
   Building Code.

11. SECTION V – SPECIAL COVERAGES & DESCRIBED CAUSES OF LOSS, B. Description of Special Coverages, TAX
    LIABILITY is deleted in its entirety and replaced by the following:

   TAX LIABILITY

     If the amount of loss covered hereunder cannot be paid in the country where the loss occurred and the corporate tax rate is
     higher in the country where the payment occurs, and the payee is required to pay tax on the claim proceeds or has realized a
     reduction of a tax benefit that would otherwise have been recognized in the payee's country of residence, the Company will
     be liable for the difference in tax basis as an additional loss payment (ALP).

     Financial accounting income shall be determined under generally accepted accounting principles or standards.

     Financial accounting income and corporate income tax shall be determined in the local currency of the country where the
     loss occurred and where the loss payments are received.

     The ALP will be paid only after receipt of documentation supporting the claim and a certification by the Chief Executive
     Officer or Chief Financial Officer of the payee that to the best of his or her knowledge, based on a review of all applicable
     financial and tax data:

   1).The payee is required to pay tax on the claim proceeds or will realize a reduction of a tax benefit that would otherwise
     have been recognized in the payee's country of residence; and

   2).The tax to be paid and pre-tax Financial Accounting Income data provided is accurate and complete and fairly presents in
     all material respects the financial results of the payee in the applicable country.

     Notwithstanding the coverage for tax payment granted under this Coverage, it is understood and agreed that the Insured
     will cooperate with the Company in making every reasonable effort to have the amount of loss paid in the country in which
     the loss occurred, where permitted by law. In addition the Insured agrees to try to mitigate any loss that the Company may
     be responsible for under this Tax Liability Coverage.




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        With respect to payments made under this Coverage, the Company may examine and audit the Insured's books and records
        at any time up to three years after payment.

 12. Any reference to First Named Insured shown in this policy shall be deemed to refer to the Named Insured as shown on the
     declarations.




All other terms, conditions and limitations of this Policy remain unchanged.




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Amendatory Endorsement - Georgia



THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

1.   SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
     its entirety and replaced by the following:

            No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
            Insured has fully complied with all the provisions of this Policy. Legal action must be started within (24) twenty-four
            months after the date of direct physical loss or damage to Covered Property or to other property as set forth herein.




All other terms, conditions and limitations of this Policy remain unchanged.



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Amendatory Endorsement - Illinois


                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


1.   SECTION VI - GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL is deleted in its entirety and
     replaced by the following:

     Cancellation

     The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company advance
     written notice of cancellation.

     If this Policy has been in effect for 60 days or less, except as provided below when the Policy covers real property other than
     residential property occupied by four families or less, the Company may cancel this Policy by mailing written notice of
     cancellation at least:

     Ten (10) days before the effective date of cancellation if the Company cancels for nonpayment of premium; or,
     Thirty (30) days before the effective date of cancellation if the Company cancels for any other reason.

     If this Policy has been in effect for more than 60 days, except as provided below when the Policy covers real property other
     than residential property occupied by four families or less, the Company may cancel this Policy only for one or more of the
     following reasons:
     a.   Nonpayment of premium;
     b.   The Policy was obtained through a material misrepresentation;
     c.   The First Named Insured has violated any of the terms and conditions of the Policy;
     d.   The risk originally accepted has measurably increased;
     e.   Certification to the Director of Insurance of the loss by reinsurance by the insurer which provided coverage to the Company
          for all or a substantial part of the underlying risk insured; or
     f.   A determination by the Director that the continuation of the Policy could place the Company in violation of the insurance
          laws of this State.
     If the Company cancels this Policy based on one or more of the above reasons except for nonpayment of premium, the
     Company will mail written notice at least 60 days before the effective date of cancellation. When cancellation is for
     nonpayment of premium, the Company will mail written notice at least 10 days before the effective date of cancellation.
     The Company will mail notice to the First Named Insured’s last known mailing address.

     Notification of cancellation will also be sent to the First Named Insured’s broker, if known, or agent of record, if known, and
     to the mortgagee or lienholder listed on the Policy.

     Notice of cancellation will state the effective date and specific reason(s) for cancellation. The Policy Period will end on that
     date.

     If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company cancels,
     the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata but no less than the
     customary short rate amount. The cancellation will be effective even if the Company has not made or offered a refund.



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     If notice is mailed, then proof of mailing will be sufficient proof of notice.

     If under the laws of the jurisdiction in which the property is located, such cancellation terms or conditions are different, then
     cancellation terms or conditions will be as permitted by such laws.

     The following applies only if this Policy covers property other than residential property occupied by four families or less:

     If any one or more of the following conditions exists at any building that is Covered Property in this Policy, the Company may
     cancel this Policy by mailing to the First Named Insured written notice of cancellation, by both certified and regular mail, if:

     a.   After a fire loss, permanent repairs to the building have not started within 60 days of satisfactory adjustment of loss, unless
          the delay is due to a labor dispute or weather conditions.

     b.            The building has been occupied 60 or more consecutive days. This does not apply to:
          (1) Seasonal unoccupancy; or
          (2) Buildings under repair, construction or reconstruction, if property secured against unauthorized entry.
     c.   The building has:
          (1) An outstanding order to vacate;
          (2) An outstanding demolition order; or
          (3) Been declared unsafe in accordance with the law.
     d.        Heat, water, sewer service or public lighting have not been connected to the building for 30 consecutive days or more.
     The Policy will terminate 10 days following receipt of the written notice by the named insured(s).
     The following applies only with respect to grain in public grain warehouses:
          The First Named Insured or the Company may cancel this Policy at any time by mailing to:
          a.     The other; and
          b.     The Director of the Illinois Department of Agriculture (at its Springfield Office);
          60 days’ written notice of cancellation.
     Non-renewal

     The Company may non-renew this Policy by mailing to all Named Insured, the Insured’s last mailing address known to us,
     written notice of non-renewal, accompanied by the specific reason for non-renewal at least sixty (60) days prior to the
     expiration of this Policy. Proof of mailing will be sufficient proof of notice.

     If the Company offers to renew or continue and the First Named Insured does not accept, this Policy will terminate at the end of
     the current policy period. Failure to pay the required renewal or continuation premium when due shall mean that the First
     Named Insured has not accepted the offer.

     If the Company fails to mail proper written notice of nonrenewal and the First Named Insured obtains other insurance, this
     Policy will end on the effective date of that insurance.

     Notification of nonrenewal will also be sent to the First Named Insured’s broker, if known, or agent of record, if known, and
     the mortgagee or lienholder listed on the Policy.

2.   SECTION VI- General Policy Conditions, Loss Conditions, Suit Against The Company is deleted in its entirety and replaced
     by the following:

     No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity, unless the Insured
     has fully complied with all the provisions of this Policy. Legal action must be started within twelve (12) months after the date
     of direct physical loss or damage to Covered Property or to other property as set forth herein. However, the Company will
     extend this period by the number of days between the date the proof of loss is filed and the date the claim is denied in whole or
     in part.




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3.   SECTION VI- General Policy Conditions, Other Insurance, the following provision is deleted:

     The Company will not be liable if, at the time of loss or damage, there is any other insurance that would attach in absence of
     this insurance; except that this insurance shall apply only as excess, Difference in Conditions/Difference in Limits and in no
     event as contributing insurance, and then only after all other insurance has been exhausted.

     And replaced with the following:

     The Company will not be liable if, at the time of loss or damage, there is any other insurance that would attach in absence of
     this insurance; except that this insurance shall apply only as pro rata contributing insurance.

4.   SECTION VI- General Policy Conditions, Suspended Property, the following provision is deleted:

     When Covered Property is found to be in, or exposed to, a dangerous condition, any of the Company's representatives may
     immediately suspend this insurance for that property. This can be done by delivering or mailing a written notice to the First
     Named Insured's mailing address or to the address where the Covered Property is located. Once suspended, this insurance can
     be reinstated only by an endorsement. Any unearned premium due will be returned by the Company.

     And replaced with the following:

     When Covered Equipment is found to be in, or exposed to a dangerous condition, any of the Company's representatives may
     immediately suspend this insurance for such Covered Equipment, including loss arising out of the dangerous condition of such
     Covered Equipment. This can be done by delivering or mailing a written notice to the First Named Insured's mailing
     address or to the address where the Covered Equipment is located. Once suspended, this insurance can be reinstated only by
     an endorsement. Any unearned premium due will be returned by the Company.




                         All other terms, conditions and limitations of this Policy remain unchanged.




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Amendatory Endorsement – Indiana


                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


1.   SECTION VI - GENERAL POLICY CONDITIONS, CONCEALMENT, MISREPRESENTATION OR FRAUD is deleted in
     its entirety and replaced by the following:

     The Company will not pay for any loss or damage in any case of:

         Concealment or misrepresentation of a material fact; or

         Fraud

         Committed by an insured at any time relating to a claim under this Policy.

     However, this does not apply when a claim is made by an Innocent Coinsured provided:

         The property loss or damage occurs to a the primary residence of the Innocent Coinsured as covered under COVERED
         PROPERTY.

         The Final Settlement for the property loss or damage is at least 60% of available insurance proceeds under the Policy.

     The following is added and supersedes provisions to the contrary:

     Any payment made pursuant to a claim made by an Innocent Coinsured as described above, will be for:

         The actual cost of repair or replacement of the property that is the subject of the claim if the actual cost of repair or
         replacement is less than or equal to the maximum limit of coverage under the Policy, or

         The maximum limit of coverage under the Policy is the actual cost of repair or replacement of the property that is the
         subject of the claim is greater than the maximum limit of coverage under the Policy.

     Any payment made pursuant to above, is limited to the following:

         An Innocent Coinsured’s ownership interest in the property, less any payments the Company makes to mortgagee or other
         lienholder with a secured interest in the property.

         The Company will not pay another coinsured for any part of the claim for which the Company has already paid to an
         Innocent Coinsured.

         The Company will not pay an amount that is greater than the amount an Innocent Coinsured is entitled to under a decree
         of dissolution of marriage between the Innocent Coinsured and an individual described below.

     As used in this endorsement, Innocent Coinsured is an insured who:

         Did not have knowledge of, cooperate in, or intentionally contribute to a property loss or damage that was caused or
         arranged by another individual who:

             Is an insured and:




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    Died in connection with the circumstances that caused the property loss or damage; or

    Has been charged with a crime based on a court finding that there is probable cause to believe that the individual
    committed the crime in connection with the circumstances that caused the property loss or damage;

    Signs a sworn affidavit attesting that they did not have knowledge of, cooperate in, or intentionally contribute to the
    property loss or damage; and

    Cooperates in the investigation and resolution of the claim for the property loss or damage, any police investigation related
    to the property loss or damage, and any criminal prosecution of the individual that caused or arranged the property loss or
    damage.

As used in this endorsement, Final Settlement is a determination:

    Of the amount owed by the Company to an Innocent Coinsured under COVERED PROPERTY under this Policy and for
    property loss or damage to the Innocent Coinsured’s primary residence; and

    Made by:

    Acceptance of a proof of loss by the Company;

    Execution of a release by an Innocent Coinsured;

    Acceptance of an arbitration award by the Innocent Coinsured and the Company; or

    Judgment of a court of competent jurisdiction.

However, Final Settlement does not apply to loss or damage related to contents, personal property or another loss that is not
covered under Covered Property under this Policy.




                    All other terms, conditions and limitations of this Policy remain unchanged.




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Amendatory Endorsement - Kansas




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

1.   The following is deleted from Section VI-General Policy Conditions, Cancellation/Non-renewal, Cancellation,

     The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation at
     least:

         The number of days before the effective date of cancellation if the Company cancels for nonpayment of premium, as stated
         in the Declarations; or

         The number of days before the effective date of cancellation if the Company cancels for any other reason, as stated in the
         Declarations.

     and replaced by the following:

     The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation at
     least:

         The number of days before the effective date of cancellation if the Company cancels for nonpayment of premium, as stated
         in the Declarations, which shall not be less than five (5) days if the nonpayment is for a premium installment; or

         The greater of thirty (30) days or the number of days before the effective date of cancellation if the Company cancels for
         any other reason, as stated in the Declarations.

2. Section VI-General Policy Conditions, Loss Conditions, Suit Against the Company, is deleted in its entirety and replaced by the
   following:

     SUIT AGAINST THE COMPANY

     No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the Insured has
     fully complied with all the provisions of this Policy. Legal action must be started within five (5) years after the date of direct
     physical loss or damage to Covered Property or to other property as set forth herein.

     If under the laws of the jurisdiction in which the property is located, such twelve months' limitation is invalid, then, any such
     legal action needs to be started within the shortest limit of time permitted by such laws.




All other terms, conditions and limitations of this Policy remain unchanged.




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Amendatory Endorsement - Kentucky


THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

1. The following section is deleted from SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL:

   The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation at
   least:

       The number of days before the effective date of cancellation if the Company cancels for nonpayment of premium, as stated
       in the Declarations; or

       The number of days before the effective date of cancellation if the Company cancels for any other reason, as stated in the
       Declarations.

   and replaced with:

   The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation at
   least:

       Fourteen (14) days before the effective date of cancellation if this Policy has been in effect for sixty (60) days or less.
       Cancellation can be for any reason, and the notice will state the reason for cancellation.

       For Policies in effect for more than sixty (60) days or that are a renewal of a Policy the Company issued:

           Fourteen (14) days before the effective date of the cancellation, if cancellation is for nonpayment of premium; or

           Seventy-five (75) days before the effective date of cancellation, if cancellation is for:

                Discovery of fraud or material misrepresentation made by the Insured or with the Insureds' knowledge in obtaining
                the Policy, continuing the Policy, or in presenting a claim under the Policy;

                Discovery of willful or reckless acts or omissions on the Insureds' part which increase any hazard insured against;

                The occurrence of a change in the risk which substantially increases any hazard insured against after insurance
                coverage has been issued or renewed;

                A violation of any local fire, health, safety, building, or construction regulation or ordinance with respect to any
                insured property or the occupancy thereof which substantially increases any hazard insured against;

                The Company is unable to reinsure the risk covered by the Policy; or

                A determination by the commissioner that the continuation of the Policy would place the Company in violation of
                the Kentucky insurance code or regulations of the commissioner.




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2.   SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL, Non-renewal is deleted in its entirety
     and replaced by the following:

     Non-renewal

        For the purpose of this Condition:

            Any Policy period or term of less than six (6) months shall be considered to be a Policy period or term of six (6)
            months; and

            Any Policy period or term of more than one (1) year or any Policy with no fixed expiration date shall be considered a
            Policy period or term of one (1) year.

        If the Company elects not to renew this Policy, the Company will mail or deliver written notice of nonrenewal, stating the
        reason for nonrenewal, to the first Named Insured shown in the Declarations, at the last mailing address known to the
        Company, at least seventy-five (75) days before the expiration date of the Policy period.

        If notice of nonrenewal is not provided pursuant to this Condition, coverage under the same terms and conditions shall be
        deemed to be renewed for the ensuing Policy period upon payment of the appropriate premium until the Insured has
        accepted replacement coverage with another insurer, or until the Insured has agreed to the nonrenewal.

        If the Company mails or delivers a renewal notice to the first Named Insured at least thirty (30) days before the end of the
        Policy period, stating the renewal premium and its due date, the Policy will terminate without further notice unless the
        renewal premium is received by the Company or its authorized agent by the due date.

        If this Policy terminates because the renewal premium has not been received by the due date, the Company will, within
        fifteen (15) days, mail or deliver to the first Named Insured at the last known address a notice that the Policy was not
        renewed and the date it was terminated.

        If notice is mailed, proof of mailing is sufficient proof of notice.




All other terms, conditions and limitations of this Policy remain unchanged.




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Amendatory Endorsement - Louisiana

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

1.   SECTION III – PROPERTY DAMAGE, C. EXCLUSIONS, paragraph 3.03.01.01.is deleted in its entirety and replaced by the
     following:

     3.03.01.01. Contamination or asbestos, and any cost due to Contamination or asbestos including the inability to use or
                 occupy property or any cost of making property safe or suitable for use or occupancy.

2.   SECTION III – PROPERTY DAMAGE, C. EXCLUSIONS, paragraph 3.03.03.03 is deleted in its entirety and replaced by the
     following:

     3.03.03.03    Any weapon of war or of mass destruction employing biological or chemical warfare, atomic fission, atomic
                   fusion, radioactive force or radioactive material, regardless of who commits the act.

3. Section VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL is deleted in its entirety and replaced
   with the following::

         If this Policy is cancelled, the Company will return any premium refund due. The cancellation will be effective even if the
         Company has not made or offered a refund.

         1.   If the first Named Insured cancels, the refund will not be less than 90% of the pro rata unearned premium, rounded to
              the next higher whole dollar. The refund will be returned within 30 days after the effective date of cancellation.

              We will send the refund to the first Named Insured and any mortgagee that has provided us with written notice of the
              percentage of the premium being funded with the mortgagee's own funds. The percentage of the unearned premium
              attributable to the mortgagee shall be returned to the mortgagee and the percentage of the unearned premium
              attributable to the first Named Insured shall be returned to the first Named Insured.

         2.   If we cancel, the refund will be pro rata and we will send the refund to the first Named Insured

         If we cancel a policy that has been in effect for fewer than 60 days and is not a renewal of a policy we issued,
         we will give written notice to the First Named Insured at least:

         1.       10 days before the effective date of cancellation, if we cancel for nonpayment of premium; or

         2.       60 days before the effective date of cancellation, if we cancel for any other reason.

          If we cancel a policy that has been in effect for 60 days or more, or is a renewal of a policy we issued, we will give written
         notice to the First Named Insured at least:

         1.   10 days before the effective date of cancellation, if we cancel for nonpayment of premium; or

         2.   30 days before the effective date of cancellation, if we cancel for any other reason.

         Cancellation of a policy in effect more than 60 days will be based on one of the following reasons:

         1.   Nonpayment of premium.

         2.    Fraud or material misrepresentation made by or with the knowledge of the named insured in obtaining the policy,
              continuing the policy, or presenting a claim under the policy.



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         3.   Activities or omissions on the part of the named insured change or increase any hazard insured against.

         4.   Change in the risk, which increases the risk of loss after coverage has been issued or renewed.

         5.   Determination by the Commissioner (of Insurance) that the continuation of the policy would jeopardize the solvency of
              the insurer or place the insurer in violation of the law.

         6.   Violation or breach of policy terms or conditions by the Insured.

         7.   Other approved reasons.

         If we elect not to renew the policy, we will mail or deliver written notice of nonrenewal to the First Named Insured at
         least 60 days before its expiration date, or its anniversary date if it is a policy written for a term of more than one year or
         with no fixed expiration date. The notice will include the insured’s loss run information for the period the policy has been
         in force, not to exceed three years.

4.   SECTION VI – GENERAL POLICY CONDITIONS, CONCEALMENT, MISREPRESENTATION OR FRAUD is deleted in
     its entirety and replaced by the following:

     This Policy will be canceled in any case of fraud by any Insured as it relates to this Policy at any time. It will also be canceled
     if any Insured, at any time, intentionally conceals or misrepresents a material fact, with the intent to deceive concerning:

         1. This Policy;

         2. The Covered Property;

         3. The interest in the Covered Property; or

         4. A claim under this Policy.

5.   Section VI-GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUBROGATION is amended by the addition of the
     following:

     The Company will be entitled to recovery only after the insured has been fully compensated for the loss or damage sustained,
     including expenses incurred in obtaining full compensation for the loss or damage.

6.   Section VI-GENERAL POLICY CONDITIONS, LOSS CONDITIONS, APPRAISAL is deleted in its entirety.

7.   The following is deleted from SECTION VI – GENERAL POLICY CONDITIONS, SETTLEMENT OF CLAIMS, Loss
     Payment:

         The Company has reached agreement on the amount of loss; or

     and replaced by the following:

         The Company has reached agreement on a portion of or the total amount of loss; or

8.   SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
     its entirety and replaced by the following:

              No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
              Insured has fully complied with all the provisions of this Policy. Legal action must be started within (24) twenty-four
              months after the date of direct physical loss or damage to Covered Property or to other property as set forth herein.

9.   The following is deleted from SECTION VI –GENERAL POLICY CONDITIONS, VALUATION:

     Any reference to “ the most functionally equivalent “ shall be replaced with “of like kind and quality”.




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10. SECTION II – DECLARATIONS, Time Specifications, is deleted in its entirety and replaced by the following:
        2.03.10. Time Specifications: As follows:

                  EARTH MOVEMENT Occurrence                                  168 hours
                  NAMED STORM Occurrence                                     72 hours
                  Cancellation for nonpayment of premium                     10 days
                  Cancellation for any other reason                          60 days

11. The following is deleted from SECTION VII - DEFINITIONS

                     Contamination(Contaminated) - Any condition of property due to the actual presence of any foreign
                     substance, impurity, pollutant, hazardous material, poison, toxin, pathogen or pathogenic organism, bacteria,
                     virus, disease causing or illness causing agent, Fungus, mold or mildew.

    and replaced by the following:

                     Contamination(Contaminated) - Any condition of property due to the actual presence of any
                     Contaminant(s).

12. The following is deleted from SECTION VII – DEFINITIONS:

                     Contaminant(s) - Any solid, liquid, gaseous, thermal or other irritant, pollutant or contaminant, including but
                     not limited to smoke, vapor, soot, fumes, acids, alkalis, chemicals, waste (including materials to be recycled,
                     reconditioned or reclaimed), asbestos, ammonia, other hazardous substances, Fungus or Spores.

     And replaced with the following:

                     Contaminant(s) - Any solid, liquid, gaseous, thermal or other irritant, including but not limited to smoke,
                     vapor, soot, fumes, acids, alkalis, chemicals, waste (including materials to be recycled, reconditioned or
                     reclaimed), other hazardous substances, Fungus or Spores.




All other terms, conditions and limitations of this Policy remain unchanged.




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Amendatory Endorsement - Maryland
                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

1.   The Cancellation subsection under SECTION IV- GENERAL POLICY CONDITIONS, CANCELLATION/NON- RENEWAL
     is deleted in its entirety and replaced by the following:

     Cancellation

         The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
         advance written notice of cancellation.

         When this policy has been in effect for 45 days or less and is not a renewal policy, the Company may cancel this policy by
         mailing to the First Named Insured, at the last mailing address, written notice of cancellation, stating the reason for
         cancellation, at least:

             10 days before the effective date of cancellation if the Company cancels for nonpayment of premium.

             15 days before the effective date of cancellation if the Company cancels because the risk does not meet its underwriting
             standards.

         When this policy has been in effect for more than 45 days or is a renewal policy, the Company may cancel this policy by
         mailing to the First Named Insured, at the last mailing address, written notice of cancellation at least:

             10 days before the effective date of cancellation if the Company cancels for nonpayment of premium.

             45 days before the effective date of cancellation if the Company cancels for a permissible reason other than
             nonpayment of premium, stating the reason for cancellation. The Company may cancel only for one (1) or more of the
             following reasons:

                    When there exists material misrepresentation or fraud in connection with the application, policy, or presentation of
                    a claim.

                    A change in the condition of the risk that results in an increase in the hazard insured against. A matter or issue

                    related to the risk that constitutes a threat to public safety.

         If this policy is cancelled, the Company will send the First Named Insured any premium refund due.

         The refund will be pro rata if:

             The First Named Insured cancelsor:

             The policy is not a renewal policy, and the First Named Insured cancels upon receiving written notice that the
             Company recalculated the premium based on the discovery of a material risk factor during the first 45 days the policy
             has been in effect. Other than this type of cancellation, the refund will be calculated as follows:

             For policies written for one year or less, the Company will refund 90% of the pro rata unearned premium. For policies
             written for more than one year:

                    If the policy is cancelled in the first year, the Company will refund 90% of the pro rata unearned premium for the

                    first year, plus the full annual premium for subsequent years.

                    If the policy is cancelled after the first year, the Company will refund the pro rata unearned premium.
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            Continuous and Annual Premium Payment Policies

                The Company will refund 90% of the pro rata unearned premium for the year in which the policy is cancelled.

                The Company will retain the minimum premium, except if the policy is cancelled as of the inception date.

                However, if this policy is financed by a premium finance company and the Company or the premium finance
                company or the First Named Insured cancels the policy, the refund will consist of the gross unearned premium
                computed pro rata, excluding any expense constant, administrative fee or nonrefundable charge filed with and
                approved by the insurance commissioner.

            The cancellation will be effective even if the Company has not made or offered a refund.

       The Company will send notice of cancellation to the First Named Insured by certificate of mail if:

       The Company cancel for nonpayment of premium; or

             This policy is not a renewal of a policy the Company issued and has been in effect for 45 days or less.

       The Company will send notice to the First Named Insured by certificate of mail or by commercial mail delivery service if
       the Company cancels for a reason other than nonpayment of premium and this policy:

            Is a renewal of a policy we issued; or

            Has been in effect for more than 45 days.

       The Company will maintain proof of mailing in a form authorized or accepted by the United States Postal Service or by
       other commercial mail delivery service when such service is used. Proof of mailing will be sufficient proof of notice.

2. SECTION VI – GENERAL POLICY CONDITIONS, CONCEALMENT, MISREPRESENTATION OR FRAUD, is deleted in its
    entirety.

3. SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in its
    entirety and replaced by the following:

   No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the Insured has
   fully complied with all the provisions of this Policy. Legal action must be started within three (3) years after the date of direct
   physical loss or damage to Covered Property or to other property as set forth herein.

4. SECTION VI – GENERAL POLICY CONDITIONS, SUSPENDED PROPERTY, is deleted in its entirety.

5. The following is added to 3.02. PROPERTY NOT COVERED:

   Any property, prior to a loss, found to be in, or exposed to, a dangerous condition, by any of the Company's representatives, and
   the Insured is put on notice for such condition, until the dangerous condition has been corrected.




                        All other terms, conditions and limitations of this Policy remain unchanged.




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Amendatory Endorsement - Massachusetts


THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

A. The following is added to SECTION VI –GENERAL POLICY CONDITIONS:

   MASSACHUSETTS CONDITION

   1.   In spite of any provision of any general or special law:

        a)    The Company will not pay for loss or damage to buildings or structures caused by any Covered Cause of Loss if the
              amount of loss is $5,000 or more unless the Insured first submits a certificate of municipal liens from the collector of
              taxes of the city or town where the property is located.

        b) The Company will pay to the city or town any amount outstanding on the certificate of municipal liens arising from the
           provisions of Massachusetts General Law Chapters 40, 59, 60, 80, 83, and 164, Sections 58B through 58F.

        The payment will not exceed the amount of loss payable under this Policy.

        We will send the Insured and the mortgage holder proof of payment to the city or town.

        c)    The claim of the city or town will have priority over the claim of any mortgage holder, assignee, Insured or any other
              interested party, except where otherwise provided by the laws of the United States.

        d) The Company will not be liable to any city, town, mortgage holder, assignee, Insured or any other interested party for:

              1) Amounts paid to a city or town; or

              2) Amounts not paid to a city or town based upon a certificate showing that no municipal liens exist.

        This section 1. above does not apply to any owner-occupied one to four-family dwelling if the owner of the dwelling lived
        there when the claim for loss or damage arose.

   2.   The Company will not pay any claim for:

        a). Loss, damage, or destruction of $1,000 or more to a building or structure; or

        b). Loss, damage or destruction, of any amount, that causes a building or structure to become:

              1).   Dangerous to life or limb; or

              2).   Unused, uninhabited or abandoned and open to the weather; as provided under Massachusetts General Law,
                    Section 6 of Chapter 143;

        c).    Without giving at least ten (10) days written notice before such payment to:

              1).   The Building Commissioner or the appointed Inspector of Buildings; and

              2).   The Board of Health or the Board of Selectmen of the city or town where the property is located

   3.   If at any time before the Company's payment, the city or town notifies the Company by certified mail of its intent to begin
        proceedings designed to perfect a lien under Massachusetts General Law:

        a). Chapter 143, Section 3A or 9; or


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        b). Chapter 111, Section 127B;

        The Company will not pay while the proceedings are pending. The proceedings must be started within thirty (30) days
        after the Company receives the notice.

        Any lien perfected under the Massachusetts General Laws referred to above, will extend to the city or town and may be
        enforced by it against the proceeds of this Policy.

   4.   The Company will not be liable to any city, town, mortgage holder, assignee, Insured or any other interested party for:

        a)   Amounts paid to a city or town; or

        b) Amounts not paid to a city or town under sections 2. and 3. above.

A. The following is added to SECTION VI –GENERAL POLICY CONDITIONS:

   STANDARD FIRE POLICY PROVISIONS

   Your Policy contains LEGAL ACTION AGAINST US, APPRAISAL and CANCELLATION provisions.
   Massachusetts law requires that the Suit, Appraisal and Cancellation provisions of the Massachusetts Standard Fire Policy
   supersede any similar provisions contained in your Policy. Therefore, all LEGAL ACTION AGAINST US, APPRAISAL and
   CANCELLATION provisions contained in your policy are void. The Suit, Appraisal and Cancellation provisions of the
   Massachusetts Standard Fire Policy shall apply instead

   In consideration of the Provisions and Stipulations Herein or Added Hereto and of the Premium Specified in the Declarations,
   this Company, for the term of years specified in the Declarations from inception date (At 12:01 A.M. Standard Time) to
   expiration date (At 12:01 A.M. Standard Time) at location of property involved, to an amount not exceeding the amount(s)
   specified in the Declarations, does insure the Insured named in the Declarations and legal representatives, to the extent of the
   actual cash value of the property at the time of loss or the valuation terms of the policy, but in no event for more than the
   interest of the Insured, against all LOSS BY FIRE, LIGHTNING AND BY REMOVAL FROM PREMISES ENDANGERED
   BY THE PERILS INSURED AGAINST IN THIS POLICY, EXCEPT AS HEREINAFTER PROVIDED, to the property
   described in the Declarations while located or contained as described in this Policy or pro rata for five (5) days at each proper
   place to which any of the property shall necessarily be removed for preservation from the perils insured against in this Policy,
   but not elsewhere.

   Assignment of this Policy shall not be valid except with the written consent of this Company.

   This Policy is made and accepted subject to the foregoing provisions and stipulations and those hereinafter stated, which are
   hereby made a part of this Policy together with such other provisions, stipulations and agreements as may be added hereto, as
   provided in this Policy.

   Concealment fraud.

   This entire Policy shall be void if, whether before or after a loss, the Insured has willfully concealed or misrepresented any
   material fact or circumstance concerning this insurance or the subject thereof, or the interest of the Insured therein, or in case of
   any fraud or false swearing by the Insured relating thereto.

   Uninsurable and excepted property.

   This Policy shall not cover accounts, bills, currency, deeds, evidences of debt, money or securities; nor, unless specifically
   named herein in writing, bullion or manuscripts.

   Perils not included.

   This Company shall not be liable for loss by fire or other perils insured against in this Policy caused, directly or indirectly, by
   (a) enemy attack by armed forces, including action taken by military, naval or air forces in resisting an actual or an immediately
   impending enemy attack; (b) invasion; (c) insurrection; (d) rebellion; (e) revolution; (f) civil war; (g) usurped power; (h)
   order of any civil authority except acts of destruction at the time of and for the purpose of preventing the spread of fire,
   provided that such fire did not originate from any of the perils excluded by this Policy; (i) neglect of the Insured to use all




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reasonable means to save and to preserve the property at and after a loss, or when the property is endangered by fire in the
neighboring premises; (j) nor shall this company be liable for loss by theft.

Other Insurance.

Other insurance may be prohibited or the amount of insurance may be limited by endorsement attached hereto.

Conditions suspending or restricting insurance.

Unless otherwise provided in writing added hereto this Company shall not be liable for loss occurring (a) while the hazard is
increased by any means within the control or knowledge of the Insured; or (b) while the Described Premises, whether intended
for occupancy by owner or tenant, are vacant or unoccupied beyond a period of sixty (60) consecutive days, for residential
premises of three units or less and thirty (30) consecutive days for all other premises, or (c) as a result of explosion or riot,
unless fire ensues, and in that event for loss by fire only. . This paragraph does not suspend or restrict the coverage contained in
the following policies: Zurich Edge Domestic Policy, Edge-100-B (12/10); Zurich Edge Global Policy, Edge-101-B (12/10);
Zurich Edge Domestic Healthcare Policy, Edge-102-B (12/10); Zurich Edge Global Healthcare Policy, Edge-103-B (12/10).

Other perils of subject.

Any other peril to the insured against or subject of insurance to be covered in this Policy shall be by endorsement in writing
hereon or added hereto.
Added provisions.

The extent of the application of insurance under this Policy and of the contribution to be made by this Company in case of loss,
and any other provision or agreement not inconsistent with the provisions of this Policy, may be provided for in writing added
hereto, but no provision may be waived except such as by the terms of this Policy is subject to change.

Waiver provisions.

No permission affecting this insurance shall exist, or waiver of any provision be valid, unless granted herein or expressed in
writing hereto. No provision stipulation or forfeiture shall be held to be waived by any requirement or proceeding on the part of
this Company relating to appraisal or to any examination provided for herein.

Cancellation of Policy.

This Policy shall be cancelled at any time at the request of the Insured, in which case this Company shall, upon demand and
surrender of this Policy, refund the excess of paid premium above the customary short rates for the expired time. This Policy
may be cancelled at any time by this Company by giving to1 the Insured a five (5) days written notice of cancellation, and to the
mortgagee to whom this Policy is payable twenty (20) days written notice of cancellation except where the stated reason for
cancellation is nonpayment of premium where, in such instance, this Policy may be cancelled at any time by this Company by
giving to the Insured a ten (10) days written notice of cancellation, and the mortgagee a twenty (20) days written notice of
cancellation, with or without tender of the excess paid premium above the pro rata premium for the expired time, which excess,
if not tendered, shall be refunded on demand. If notice is mailed, proof of mailing will be sufficient proof of notice. Notice of
cancellation shall state that said excess premium (if not tendered) will be refunded on demand and shall state or be accompanied
by a statement of the specific reason or reasons for such cancellation. After this Policy has been in effect for sixty (60) days, or
after sixty (60) days from any anniversary date, no notice of cancellation shall be effective unless it is based on the occurrence,
after the effective date of the Policy, of one or more of the following:

(1) nonpayment of premium; (2) conviction of a crime arising out of acts increasing the hazard insured against; (3) discovery
of fraud or material misrepresentation by the Insured in obtaining the Policy; (4) discovery of willful or reckless acts or
omissions by the Insured increasing the hazard insured against; (5) physical changes in the property insured which result in the
property becoming uninsurable; or (6) a determination by the commissioner that continuation of the Policy would violate or
place the Insurer in violation of the law. Where the stated reason is nonpayment of premium, the Insured may continue the
coverage and avoid the effect of the cancellation by payment at any time prior to the effective date of cancellation.

Mortgagee interests and obligations.




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Notwithstanding any other provisions of this Policy, if this Policy shall be made payable to a mortgagee of the covered real
estate, no act or default of any person other than such mortgagee or his agent or those claiming under him, whether the same
occurs before or during the term of this Policy, shall render this Policy void as to such mortgagee nor affect such mortgagee !~
right to recover in case of loss on such real estate; provided, that the mortgagee shall on demand pay according to the
established scale of rate for any increase of risk not paid for by the Insured; and whenever this Company shall be liable to a
mortgagee for any sum for loss under this Policy for which no liability exists as to the mortgagor, or owner, and this Company
shall elect by itself, or with others, to pay the mortgagee, the full amount secured by such mortgage, then the mortgagee shall
assign and transfer to the Company interested, upon such payment, the said mortgage together with the note and debt thereby
secured.

Pro rata liability.

This Company shall not be liable for a greater proportion of any loss than the amount hereby insured shall bear to the whole
insurance covering the property against the peril involved.

Requirements in case loss occurs.

The Insured shall give immediate written notice to this Company of any loss, protect the property from further damage,
forthwith separate the damaged and undamaged personal property, put it in the best possible order, furnish a complete inventory
of the destroyed and damaged property, showing in detail the quantity, description, actual cash value and amount of loss
claimed; and the Insured shall forthwith render to this Company a signed, sworn statement in proof of loss which sets forth to
the best knowledge and belief of the Insured the following: the time and cause of the loss, the interest of the Insured and of all
others in the property, the actual cash value of each item thereof and the amount of loss thereto, all encumbrances thereon, all
other contracts of insurance, whether valid or not, covering any of said property, any changes in the title, use, occupancy,
location, possession or exposures of said property, since the issuing of this Policy, by whom and for what purpose any building
herein described and the several parts thereof were occupied at the time of loss and whether or not it then stood on leased
ground, and shall furnish a copy of all the descriptions and schedules in all Policies and detailed estimates for repair of the
damage. The Insured, as often as may be reasonably required, shall exhibit to any person designated by this Company all that
remains of any property herein described, and submit to examinations under oath by any person named by this Company, and
subscribe the same; and as often as may be reasonably required, shall produce for examination all books of account, bills,
invoices and other vouchers, or certified copies thereof if originals be lost, at such reasonable time and place as may be
designated by this Company or its representative, and shall permit extracts and copies thereof to be made.

When loss payable.

In case of any loss or damage, the Company within thirty (30) days after the Insured shall have submitted a statement, as
provided in the preceding clause, shall either pay the amount for which it shall be liable, which amount if not agreed upon shall
be ascertained by award of referees as hereinafter provided, or replace the property with other of the same kind and goodness, or
it may, within fifteen (15) days after such statement is submitted, notify the Insured of its intention to rebuild or repair the
premises, or any portion thereof separately covered by this Policy, and shall thereupon enter upon said premises and proceed to
rebuild or repair the same with reasonable expedition. It is more over understood that there can be no abandonment of the
property described to the Company, and that the Company shall not in any case be liable for more than the sum insured, with
interest thereon from the time when the loss shall become payable, as provided above. The Company shall be liable for the
payment of interest to the Insured at a rate of one (1) percent over the prime interest rate on the agreed figure commencing
thirty (30) days after the date an executed proof of loss for such figure is received by the Company, said interest to continue so
long as the claim remains unpaid.

Appraisal.

In case of loss under this Policy and a failure of the parties to agree as to the amount of loss, it is mutually agreed that the
amount of such loss shall be referred to three disinterested men, the Company and the Insured each choosing one out of three
(3) persons to be named by the other, and the third being selected by the two (2) chosen, and the award in writing by a majority
of the referees shall be conclusive and final upon the parties as to the amount of loss or damage, and such reference, unless
waived by the parties, shall be a condition precedent to any right of action in law or equity to recover for such loss; but no
person shall be chosen or act as a referee, against the objection of either party, who has acted in a like capacity within four (4)
months.

Suit.




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   No suit or action against this Company for the recovery of any claim by virtue of this Policy shall be sustained in any court of
   law or equity in this commonwealth unless commenced within two (2) years from the time the loss occurred; provided,
   however, that if, within said two (2) years, in accordance with the provisions of the preceding paragraph, the amount of loss
   shall have been referred to arbitration after failure of the parties to agree thereon, the limitation of time for bringing such suit or
   action shall in no event be less than ninety (90) days after a valid award has been made upon such reference or after such
   reference or award has been expressly waived by the parties. If suit or action upon this Policy is enjoined or abated, suit or
   action may be commenced at any time within one (1) year after the dissolution of such injunction, or the abatement of such suit
   or action, to the same extent as would be possible if there was no limitation of time provided herein for the bringing of such
   suit or action.

   Subrogation.

   This Company may require from the Insured an assignment of all rights of recovery against any party for loss to the extent that
   payment therefore is made by this Company.

C. The following is added to Paragraph B. Description of Special Coverages of SECTION V – SPECIAL COVERAGES &
   DESCRIBED CAUSES OF LOSS:

       MASSACHUSETTS RESIDENTIAL FUEL TANKS SPILLS COVEAGE - PROPERTY REMEDIATION FOR
       “RELEASE OF HEATING OIL”
       a)   With respect to the “release of heating oil” from a tank, or any piping, fuel supply lines, equipment, or systems
            connected to the tank, at a residential property, the Company will pay for:

            1). Reasonable response action costs the Insured incurred under chapter 21E or 21K of the Massachusetts law or
                applicable regulations, including costs to assess and remediate a “release of heating oil” impacting soil, indoor
                air, water and other environmental media at that residential property; and

            2). With respect to a “release of heating oil” for which response action costs are incurred and covered pursuant to 1).
                above, direct physical loss of or damage to personal property at that residential property.

       b) The most the Company will pay under this endorsement for a “release of heating oil” is the applicable limits provided
          in this policy or $50,000 whichever is greater, for the total of all loss, damage, or costs regardless of:

            1) The amount of time over which the “release of heating oil” continues and regardless of whether the release
               occurs in repeated intervals;

            2). The number of policy years during which the “release of heating oil” persists;

            3). Whether the heating oil is released from one or multiple outlets on the tank body and its related equipment;

            4). Whether there are multiple effects, such as damage to personal property, pollution of land and pollution of water;

            5). Whether the effects of the “release of heating oil” are discovered and reported once or discovered and reported
                over time as such effects become apparent;

            6). The number of locations affected by the “release of heating oil”; or

            7). The number of claims made.

            Notwithstanding anything to the contrary in the Policy, the coverage provided by this endorsement is included within
            the Policy Limit.

       c)   The following additional exclusions apply:

            The Company will not pay:




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              1) For any loss of business income or any expenses incurred due to interruption or reduction in business operations,
                 including any Time Element Coverages, even if the Policy includes such coverage;

              2). For any other consequential loss, damage or costs; or

              3). To replace any heating oil that was released.

        d) The Company will not pay for loss, damage or costs under this endorsement until the amount of loss, damage or costs
           exceed $1,000. The Company will then pay the amount of loss, damage or costs in excess of $1,000 up to the
           applicable limit, subject to all applicable provisions of A. above. This deductible applies whenever there is a “release
           of heating oil” covered under this endorsement. No other deductible will apply to the coverage provided solely by
           this endorsement.

        e)    When the “release of heating oil” results from a covered cause of loss, the following apply:

              1) If the loss or damage described in A.a. 2) above is also covered under another coverage(s) in this Policy, then such
                 covered loss or damage will be settled in accordance with all applicable terms of that coverage and this
                 endorsement will not apply. Any deductible applicable to that coverage that is higher than $1,000 is recoverable
                 under this endorsement but not to exceed $50,000.

              2) With respect to pollution of land and water, the costs addressed in A.a.1) above will be settled under the terms of
                 the Land and Water Contaminant Cleanup, Removal and Disposal Coverage and/or the Decontamination Costs
                 Coverage, and this endorsement will apply as excess if the amount of coverage available under the Land and Water
                 Contaminant Cleanup, Removal and Disposal Coverage and/or the Decontamination Costs Coverage is less than
                 $50,000.

        f)    Coverage applies only in response to a “release of heating oil” which an insured first discovers or learns of during the
              current policy year and reports to the Company as soon as practicable. If the First Named Insured discovers or
              learns of the “release of heating oil” during the policy year and reports it to the Company following the end of that
              policy year, coverage will apply, provided this endorsement was in effect when the First Named Insured discovered
              or learned of the “release of heating oil”, if the First Named Insured reported the “release of heating oil” to the
              Company as soon as practicable.

D. The following is added to SECTION VI. GENERAL POLICY CONDITIONS, OTHER INSURANCE:
   Except as provided in 1) below, if there is other insurance covering the same loss, damage or costs covered, the Company will
   pay only its share of the covered loss, damage, or costs. The Company’s share is the proportion of the loss, damage, or costs
   that the amount of insurance that applies under this endorsement bears to the total amount of insurance covering such loss,
   damage, or costs.

    1). If there is a service agreement covering the same loss, damage, or costs, this insurance is excess over any other
        amounts payable under the service agreement. If there is a government fund covering the same loss, damage, or costs, the
        Company will pay its share of the covered loss, damage, or costs. The Company’s share is the proportion of the loss,
        damage, or costs that the amount of insurance that applies under this endorsement bears to the total amount of insurance
        covering such loss, damage, or costs to the extent permitted by law.

E. The following is added to SECTION VII. DEFINITIONS:

    Compliance means compliance with Massachusetts’s law governing release prevention, pursuant to applicable subsection (b) or
    (c) of section 38J of chapter 148 of the laws of Massachusetts.

    Personal property means property owned by you.

    “Release of heating oil” means both the release of and the threat of release of heating oil.

    Residential property means a one (1) to four (4) unit dwelling used for living or sleeping located in the Commonwealth of
    Massachusetts.

    Service Agreement means a fuel system service plan, property restoration plan, or similar service or warranty agreement, even
    if it is characterized as insurance




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    Tank means a liquid fuel tank in which heating oil is stored and from which heating oil is delivered or pumped through a fuel
    supply line to a device for burning oil in heating appliances, whether located within a residential property or other structure
    and installed at or below grade level, or located outdoors. Tank does not mean any underground tank, wherever located.

All other terms, conditions and limitations of this Policy remain unchanged.




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Amendatory Endorsement - Maine

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

1.   Section VI-General Policy Conditions, CANCELLATION/NON-RENEWAL, is deleted in its entirety and replaced by the
     following:

        Cancellation

        1) The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
           advance written notice of cancellation.

        2) The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of
           cancellation which will not be effective prior to ten (10) days after the receipt by the First Named Insured of the
           notice.

        3) The Company will mail or deliver notice to the First Named Insured's mailing address shown in the Declarations of
           this Policy or any Endorsement attached thereto.

        4) Notice of cancellation will state the effective date of and reasons for cancellation. The Policy Period will end on that
           date.

        5) If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
           cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata but no
           less than the customary short rate amount. The cancellation will be effective even if the Company has not made or
           offered a refund.

        6) A post office certificate of mailing to the First Named Insured at the last known mailing address will be conclusive
           proof of receipt of notice on the third calendar day after mailing.

        7) If this Policy has been in effect for sixty (60) days or more, or if it is a renewal or continuation of a Policy issued by
           the Company, the Company may cancel this Policy only for one or more of the following reasons:

            a.   Nonpayment of premium;

            b.   Fraud or material misrepresentation made by the Insured or with the Insureds consent in obtaining the Policy,
                 continuing the Policy or in presenting a claim under the Policy;

            c.   Substantial change in the risk which increases the risk of loss after insurance coverage has been issued or renewed
                 including, but not limited to, an increase in exposure due to regulation, legislation or court decision;

            d.   Failure to comply with reasonable loss control recommendations;

            e.   Substantial breach of contractual duties, conditions or warranties; or

            f.   Determination by the superintendent of insurance that the continuation of a class or block of business to which this
                 Policy belongs will jeopardize the Company's solvency or will place the Company in violation of the insurance
                 laws of Maine or any other state.

        Non-renewal

            The Company may non-renew this Policy by mailing or delivering to the First Named Insured written notice of
            nonrenewal which will not be effective prior to thirty (30) days after the receipt by the First Named Insured of the
            notice. A post office certificate of mailing to the First Named Insured at the last known address will be conclusive
            proof of receipt of notice on the third calendar day after mailing.

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2.   Section VI-General Policy Conditions, CONCEALMENT, MISREPRESENTATION OR FRAUD is deleted in its entirety and
     replaced by the following:

        1) CONCEALMENT, MISREPRESENTATION OR FRAUD

            The Company does not provide coverage to one or more Insureds who at any time engage in fraudulent conduct as it
            relates to this Policy. The Company also does not provide coverage to one or more Insureds, who at any time
            intentionally conceal or misrepresent a material fact or make a false statement concerning:

            a.   This Policy;

            b.   The Covered Property;

            c.   The Insured's interest in Covered Property; or

            d.   A claim under this Policy.

3.   SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
     its entirety and replaced by the following:

        No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
        Insured has fully complied with all the provisions of this Policy. Legal action must be started within two (2) years after the
        date of direct physical loss or damage to Covered Property or to other property as set forth herein.

4.   SECTION VI – GENERAL POLICY CONDITIONS, JOINT LOSS, is deleted in its entirety.




All other terms, conditions and limitations of this Policy remain unchanged.




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Amendatory Endorsement - Minnesota


THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

    1.   The following paragraph under SECTION VI-GENERAL POLICY CONDITIONS, LOSS CONDITIONS, DUTIES IN
         THE EVENT OF LOSS OR DAMAGE, is deleted in its entirety:

         Permit the Company to question the Insured, the Insured's employees and agents under oath, while not in the presence of
         any other insured and at such times as may be reasonably required, about any matter relating to this insurance or the loss or
         damage, including an Insured's books and records. In the event of this examination, an Insured's answers must be signed or
         attested to by a notary public or certified court reporter.

         and replaced by the following:

         Permit the Company to question the Insured, the Insured's employees and agents under oath, while not in the presence of
         any other insured and at such times as may be reasonably required, about any matter relating to this insurance or the loss or
         damage, including an Insured's books and records. In the event of this examination, an Insured's answers must be signed or
         attested to by a notary public or certified court reporter. The Insured has the right to an attorney being present during nay
         examination under oath. Any answers given may be used in future civil or criminal proceedings.




All other terms, conditions and limitations of this Policy remain unchanged.




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Amendatory Endorsement - Mississippi


THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

1.   SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
     its entirety and replaced by the following:

            No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
            Insured has fully complied with all the provisions of this Policy. Legal action must be started within three (3) years
            after the date of direct physical loss or damage to Covered Property or to other property as set forth herein.




All other terms, conditions and limitations of this Policy remain unchanged.




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Amendatory Endorsement - Nevada


THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

1.   Section VI-General Policy Conditions, CANCELLATION/NON-RENEWAL, is deleted in its entirety and replaced by the
     following:

        1). The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
            advance written notice of cancellation. The Company may cancel this Policy by mailing or delivering to the First
            Named Insured written notice of cancellation at least:

            a.   Ten (10) days before the effective date of cancellation if the Company cancels for nonpayment of premium; or

            b.   Thirty (30) days before the effective date of cancellation if the Company cancels for any other reason.

        The Company will mail or deliver notice to the First Named Insured's mailing address shown in the Declarations of this
        Policy or any Endorsement attached thereto.

        Notice of cancellation will state the effective date of cancellation. The Policy Period will end on that date.

        If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
        cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata but no less
        than the customary short rate amount. The cancellation will be effective even if the Company has not made or offered a
        refund.

        If notice is mailed, proof of mailing will be sufficient proof of notice.

        If under the laws of the jurisdiction in which the property is located, such cancellation terms or conditions are different,
        then cancellation terms or conditions will be as permitted by such laws.

        2). If this Policy has been in effect for seventy (70) days or more, or if it is a renewal of a Policy issued by the Company,
            the Company may cancel this Policy only for one or more of the following reasons:

            a.   Nonpayment of premium;

            b.   Conviction of the Insured of a crime arising out of acts increasing the hazard insured against;
                                           c.
            c.   Discovery of fraud or material misrepresentation in obtaining the Policy or in presenting a claim thereunder;

            d.   Discovery of an act or omission or a violation of any condition of the Policy which occurred after the first
                 effective date of the current Policy, and substantially and materially increases the hazard insured against;

            e.   A material change in the nature or extent of the risk occurring after the first effective date of the current Policy,
                 which causes the risk of loss to be substantially and materially increased beyond that contemplated at the time the
                 Policy was issued or last renewed;
                                             d.
            f.   A determination by the commissioner that continuation of the Company's present volume of premiums would
                 jeopardize the Company's solvency or be hazardous to the interests of the Company's Policyholders, creditors or
                 the public, or

            g.   A determination by the commissioner that the continuation of the Policy would violate, or place the Company in
                 violation of, any provision of the code.

        3). If this Policy is written for a term longer than one year, the Company may cancel for any reason at an anniversary, by
        mailing or delivering written notice of cancellation to the First Named Insured at the last known mailing address at

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    least sixty (60) days before the anniversary date. Notice of cancellation or non-renewal will be mailed, first class or
    certified, or delivered to the First Named Insured at the last known mailing address and will state the reason for
    cancellation or nonrenewal. The Company will also provide a copy of the notice of cancellation to the agent who wrote
    the Policy.

4). Non-renewal

The Company may non-renew this Policy by mailing or delivering to the First Named Insured written notice at least sixty
(60) days before the agreed expiration date. This non-renewal provision does not apply if the Insured has: accepted
replacement coverage, requested or agreed to non-renewal, or this Policy is expressly designated as nonrenewable.
If notice is mailed, proof of mailing will be sufficient proof of notice.




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Amendatory Endorsement - Missouri


                      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

1.   The following is deleted from SECTION VI – GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL,
     Cancellation:

         The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation at
         least:

             The number of days before the effective date of cancellation if the Company cancels for nonpayment of premium, as
             stated in the Declarations; or

             The number of days before the effective date of cancellation if the Company cancels for any other reason, as stated in
             the Declarations.

     and replaced by the following:

         The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation,
         stating the actual reason for cancellation, at least:

             10 days before the effective date of cancellation if the Company cancels for nonpayment of premium;

             30 days before the effective date of cancellation if cancellation is for one or more of the following reasons:

                  Fraud or material misrepresentation affecting this policy or a claim filed under this Policy or a violation of any of
                  the terms or conditions of this Policy;

                  Changes in conditions after the effective of this Policy which have materially increased the risk assumed;

                  The Company becomes insolvent; or

                  The Company involuntarily loses reinsurance for this Policy.

             60 days before the effective date of cancellation if the Company cancels for any other reason.

2.   SECTION VI – General Policy Conditions, Cancellation/Non-Renewal, Nonrenewal is deleted in its entirety and replaced by the
     following:

         Nonrenewal

             The Company may elect not to renew this policy by mailing or delivering to the First Named Insured, at the last
             mailing address known to the Company, written notice of nonrenewal, stating the actual reason for nonrenewal, at least
             60 days prior to the effective date of the nonrenewal.

             If notice is mailed, proof of mailing will be sufficient proof of notice.

3.   SECTION VI – General Policy Conditions, Suit Against the Company is deleted in its entirety and replaced by the following:

         The action must be brought within 10 years after the date on which the loss or damage occurred.




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4. SECTION VI – GENERAL POLICY CONDITIONS, SETTLEMENT OF CLAIMS, Loss Payment is deleted in its entirety and
   replaced by the following:

   Loss Payment

        In the event of a covered cause of loss, the Company will give the Insured notice, within 15 working days after the
        Company receives a properly executed proof of loss, that the Company:

            Accept your claim;

            Denies your claim; or

            Needs more time to determine whether the Insured’s claim should be accepted or denied.

        If the Company denies the Insured’s claim, such notice will be in writing, and will state any policy provision, condition or
        exclusion used as a basis for the denial.

        If the Company needs more time to determine whether the Insured’s claim should be accepted or denied, the written notice
        will state the reason(s) why more time is needed.

        If the Company has not completed its investigation, the Company will notify the Insured again in writing, within 45 days
        after the date the initial notice is sent informing the Insured that we need more time to determine whether the Insured’s
        claim should be accepted or denied and thereafter every 45 days. The written notice shall state why more time is needed to
        investigate the Insured’s claim.

   5.   The following is added to SECTION VI – GENERAL POLICY CONDITIONS, VALUATION:

        If the Insured fails to notify the Company of their intent within the 2 year timeframe, such failure will not invalidate the
        claim unless such failure operates to prejudice the Company’s rights.

   6.   The following is deleted from SECTION V- LAND AND WATER CONTAMINANT CLEANUP, REMOVAL AND
        DISPOSAL:

                     When the Insured fails to give written notice of loss to the Company within 180 days after inception of the
                     loss.

        and the following is added:


                     However, when the Insured fails to give written notice of loss to the Company within 180 days after inception
                     of the loss the maximum the Company will pay under this coverage is $25,000.



                            ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.




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Amendatory Endorsement - Montana


THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

1.   Section VI-General Policy Conditions, CANCELLATION/NON-RENEWAL, is deleted in its entirety and replaced by the
     following:

     CANCELLATION/NON-RENEWAL

        Cancellation

            The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
            advance written notice of cancellation.

            If this Policy has been in effect for less than sixty (60) days, the Company may cancel this Policy by mailing or
            delivering to the First Named Insured written notice of cancellation at least:

                Ten (10) days notice prior to the proposed cancellation date for non payment of premium; or

                Ten (10) days notice prior to the proposed cancellation date for any other reason.

            If this Policy has been in effect for sixty (60) days or more, the Company may cancel this Policy by mailing or
            delivering to the First Named Insured written notice of cancellation, prior to the expiration of the agreed term or
            prior to one year from the effective date of the Policy or renewal, whichever is less, only for one or more of the
            following reasons:

                Failure to pay a premium when due;

                Material misrepresentation;

                Substantial change in the risk assumed, except to the extent that the Company should have reasonably foreseen the
                change or contemplated the risk in writing the contract;

                Substantial breaches of contractual duties, conditions or warranties;

                Determination by the Commissioner of Insurance that continuation of the Policy would place us in violation of the
                Montana Insurance Code; or

                Such other reasons that are approved by the Commissioner of Insurance. If the Company cancels this Policy for
                one of the reasons specified above, the Company may cancel this Policy by providing Ten (10) days notice before
                the effective date of cancellation.

            The Company may cancel any Policy with a term of more than one (1) year by mailing or delivering to the First
            Named Insured written notice of cancellation at least forty-five (45) days before the anniversary date of the Policy,
            such cancellation will be effective on the policy anniversary date.

            The Company will mail or deliver notice to the First Named Insured's last mailing address known.

            Notice of cancellation will state the effective date of cancellation. The Policy Period will end on that date.

            If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
            cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata. The
            cancellation will be effective even if the Company has not made or offered a refund. However, when a financed


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            insurance Policy is cancelled, the Company will send any refund due to the premium finance company on a pro rata
            basis.

        Non-Renewal

            The Company may non-renew this Policy by mailing or delivering to the First Named Insured written notice, at the
            last known address, of non-renewal at least forty-five (45) days before the expiration of this Policy. This Policy has
            been written for a term of more than one year.

            This non-renewal provision does not apply if the Insured has purchased insurance elsewhere, accepted replacement
            coverage, requested or agreed to non-renewal, or this Policy is expressly designated as nonrenewable.

2.   Section VI-General Policy Conditions, CONCEALMENT, MISREPRESENTATION OR FRAUD is deleted in its entirety and
     replaced by the following::

     CONCEALMENT, MISREPRESENTATION OR FRAUD

        The Company does not provide coverage to one or more Insureds who at any time engage in fraudulent conduct as it relates
        to this Policy. The Company also does not provide coverage to one or more Insureds, who at any time intentionally conceal
        or misrepresent a material fact or make a false statement concerning:

            1. This Policy;

            2. The Covered Property;

            3. The Insured's interest in Covered Property; or

            4. A claim under this Policy.

3.   SECTION VI-GENERAL POLICY CONDITIONS, CONFORMITY TO STATUTES, is amended by the addition of the
     following and supersede anything to the contrary:

        Any provisions required by Montana law to be included in policies issued by the Company shall be deemed to have been
        included in this Policy.

        If the provisions of this Policy conflict with the laws of any jurisdictions in which this Policy applies, and if certain
        provisions are required by Montana law to be stated in this Policy, this Policy shall be read so as to eliminate such conflict
        or deemed to include such provisions for Insured Locations within such jurisdictions.




All other terms, conditions and limitations of this Policy remain unchanged.




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Amendatory Endorsement - Nebraska


THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

1.   SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL, is deleted in its entirety and replaced
     by the following:

     CANCELLATION/NON-RENEWAL

        Cancellation

            a)   The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the
                 Company advance written notice of cancellation.

            b) If this Policy has been in effect for less than sixty (60) days, the Company may cancel this Policy by mailing or
               delivering to the First Named Insured written notice of cancellation, stating the reasons for cancellation at least:

                 1) Ten (10) days notice prior to the proposed cancellation date for non payment of premium; or

                 2) Sixty (60) days notice prior to the proposed cancellation date for any other reason.

            c)   If this Policy has been in effect for sixty (60) days or more, or if this is a renewal, the Company may cancel this
                 Policy by mailing or delivering to the First Named Insured written notice of cancellation, only for one or more
                 of the following reasons:

                 1) Nonpayment of premium;

                 2) The Policy was obtained through material misrepresentation;

                 3) Any Insured has submitted a fraudulent claim;

                 4) Any Insured has violated the terms and conditions of this Policy;

                 5) The risk originally accepted has substantially increased;

                 6) Certification to the Director of Insurance of the Company's loss of reinsurance which provided coverage for
                    all or a substantial part of the underlying risk insured; or
                 7) The determination by the Director of Insurance that the continuation of the Policy could place the Company in
                    violation of the Nebraska Insurance Laws.

                 If the Company cancels this Policy for one of the reasons specified above, the Company may cancel this Policy by
                 providing: Ten (10) days notice prior to the proposed cancellation date for non payment of premium or Sixty (60)
                 days notice prior to the proposed cancellation date for any other reason.

            d) The Company may cancel any Policy with a term of more than one (1) year by mailing or delivering to the First
               Named Insured written notice of cancellation at least forty-five (45) days before the anniversary date of the
               Policy, such cancellation will be effective on the policy anniversary date.

            e)   The Company will mail notice by first class mail to the First Named Insured's last mailing address known. A
                 United States Postal Service Certificate of Mailing shall be sufficient proof of receipt of notice on the third
                 calendar day after the date of the certificate of mailing.

            f)   Notice of cancellation will state the effective date of cancellation. The Policy Period will end on that date.


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              g) If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the
                 Company cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than
                 pro rata. The cancellation will be effective even if the Company has not made or offered a refund.

         Non-Renewal

              The Company may non-renew this Policy. Written notice will be by first class mail to the First Named Insured, at the
              last known address. Notice of non-renewal will be at least sixty (60) days before the expiration of this Policy. A United
              States Postal Service Certificate of Mailing shall be sufficient proof of receipt of notice on the third calendar day after
              the date of the certificate of mailing.

2.   SECTION VI – GENERAL POLICY CONDITIONS, CONCEALMENT, MISREPRESENTATION OR FRAUD is deleted in
     its entirety and replaced by the following:

     MISREPRESENTATION OR BREACH OF CONDITION OR WARRANTY

         A misrepresentation or warranty made by the Insured or on the Insured's behalf in the negotiation of or application for this
         coverage will void this Policy if:

              1) It is material;

              2) It is made with the intent to deceive to the Company's injury;

              3) The Company relies on it; and

              4) The Company is deceived to the Company's injury.

         A breach of warranty or condition will void the Policy if such breach exists at the time of loss and contributes to the loss.

3.   SECTION VI-GENERAL POLICY CONDITIONS, LOSS CONDITIONS, APPRAISAL, is deleted in its entirety and replaced
     by the following:

     APPRAISAL

     If the Insured and the Company fail to agree on the value of the property or the amount of loss, upon mutual agreement, each
     will select a competent, disinterested, and impartial appraiser, who has no direct or indirect financial interest in the claim. Each
     will notify the other of the appraiser selected within 20 days of such demand. The Insured may not invoke appraisal unless it
     has first fully complied with all provisions of this Policy, including Duties in the Event of Loss or Damage and has provided
     the Company with a signed and sworn statement of loss.

     The appraisers will first select a competent, disinterested and impartial umpire. If the appraisers fail to agree upon an umpire
     within 15 days then, on the request of the Insured or the Company, a judge of a court of record in the jurisdiction in which the
     appraisal is pending will select the umpire. The appraisers will then appraise the value of the property or the amount of loss.
     They will state separately, the actual cash value and replacement cost value, as of the date of loss and the amount of loss, each
     item of physical loss or damage or, if for Time Element loss, the amount of loss for each Time Element Coverage of this Policy.

     If the appraisers fail to agree, they will submit their differences to the umpire. An award stating separately the actual cash value
     and replacement cost value, as of the date of loss and the amount of loss, for each item of physical loss or damage or, if for
     Time Element loss, the amount of loss for each Time Element Coverage of this Policy agreed to in writing by any two will
     determine the amount of loss.

     Once there is an award, the Company retains the right to apply all policy terms and conditions (including but not limited to
     deductibles, exclusions, and Limits of Liability) to the award. The Company further retains its right to deny the claim in whole
     or in part.

     The Insured and the Company will each pay its chosen appraiser and bear equally the other expenses of the appraisal and
     umpire.




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4.   The following is added to SECTION VI –GENERAL POLICY CONDITIONS, VALUATION:

     When this policy is written to insure any real property in Nebraska against loss by fire, tornado, windstorm, lightning or
     explosion and the property insured shall be wholly destroyed, without criminal fault on the part of the Insured or the Insured
     assignee, the amount of the insurance written on such real property shall be taken conclusively to be the true value of the
     property insured and the true amount of loss and measure of damages




All other terms, conditions and limitations of this Policy remain unchanged.




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Amendatory Endorsement - New York


THIS ENDORSEMENT CHANGES THE POLICY AND APPLIES TO THOSE RISKS IN NEW YORK. PLEASE READ
IT CAREFULLY.

1.   The following paragraph is deleted from Section III-property damage, exclusions:

         Any weapon of war or of mass destruction employing biological or chemical warfare, atomic fission, atomic fusion,
         radioactive force or radioactive material, whether in time of peace or war regardless of who commits the act.

     and replaced by the following:

         Any weapon of war employing atomic fission, atomic fusion, radioactive force or radioactive material, whether in time of
         peace or war regardless of who commits the act.

2.   SECTION VI – GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL, is deleted in its entirety and
     replaced by the following:

     Cancellation

         a)   The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
              advance written notice of cancellation.

         b) For Policies in Effect Sixty (60) Days or Less, the Company may cancel this Policy by mailing or delivering to the
            First Named Insured written notice of cancellation at least:

              1) Thirty (30) days before the effective date of cancellation if the Company cancels for any reason not included in
                 paragraph 2) below.

              2) Fifteen (15) days before the effective date of cancellation if the Company cancels for any of the following reasons:

                    i)   Nonpayment of premium;

                    ii) Conviction of a crime arising out of acts increasing the hazard insured against;

                    iii) Discovery of fraud or material misrepresentation in the obtaining of the Policy or in the presentation of a
                         claim;

                    iv) After issuance of the Policy or after the last renewal date, discovery of an act or omission, or a violation of
                        any Policy condition, that substantially and materially increases the hazard insured against, and which
                        occurred subsequent to inception of the current Policy period;

                    v) Material physical change in the property insured, occurring after issuance or last annual renewal anniversary
                       date of the Policy, which results in the property becoming uninsurable in accordance with the Company
                       objective, uniformly applied underwriting standards in effect at the time the Policy was issued or last renewed;
                       or material change in the nature or extent of the risk, occurring after issuance or last annual renewal
                       anniversary date of the Policy, which causes the risk of loss to be substantially and materially increased
                       beyond that contemplated at the time the Policy was issued or last renewed;

                    vi) Required pursuant to a determination by the Superintendent that the continuation of the Company's present
                        premium volume would jeopardize the Company's solvency or be hazardous to the interest of the Company's
                        policyholders, creditors or the public;




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              vii) A determination by the superintendent that the continuation of the Policy would violate, or would place the
                   Company in violation of any provision of the Insurance Code; or

              viii)Where the Company has reason to believe, in good faith and with sufficient cause, that there is a probable risk
                   of danger that the Insured will destroy, or permit to be destroyed, the insured property for the purpose of
                   collecting the insurance proceeds. If the Company cancels for this reason, the Insured may make a written
                   request to the Insurance Department, within 10 days of receipt of this notice, to review the cancellation
                   decision. Also, the Company will simultaneously send a copy of this cancellation notice to the Insurance
                   Department.

              If notice of cancellation is due to nonpayment of premium, then the notice shall state the amount of premium that
              must be paid in order to avoid cancellation of the policy.

   c)    For Policies in effect for more than sixty (60) days, or if this Policy is a renewal or continuation of a Policy the
         Company issued, the Company may cancel this Policy only for any of the reasons listed in paragraph 2) above,
         provided the Company mails the First Named Insured written notice at least fifteen (15) days before the effective
         date of cancellation. If notice of cancellation is due to nonpayment of premium, then the notice shall state the amount
         of premium that must be paid in order to avoid cancellation of the policy.

   d) The Company will mail or deliver notice to the First Named Insured's mailing address shown in the Declarations of
      this Policy or any Endorsement attached thereto and to the authorized agent or broker.

   e)    Notice of cancellation will state the effective date of and the reason for cancellation. The Policy Period will end on that
         date.

   f)    If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
         cancels, the refund will be pro rata. If the premium is advanced under a premium finance agreement, the cancellation
         refund will be pro rata. Under such financed policies, the Company will be entitled to retain a minimum earned
         premium of 10% of the total policy premium or $60, whichever is greater. The cancellation will be effective even if the
         Company has not made or offered a refund.

   g) If notice is mailed, proof of mailing will be sufficient proof of notice.

Non-renewal

   a)    The Company may non-renew this Policy by mailing or delivering to the First Named Insured written notice along
         with the reason for non-renewal.

   b) The Company may condition renewal this Policy upon:

         1) Change of limits;

         2) Change in type of coverage;

         3) Reduction of coverage;

         4) Increased deductible;

         5) Addition of exclusion; or

         6) Increased premiums in excess of 10% exclusive of any premium increase due to and commensurate with insured
            value added or increased exposure units; or as a result of experience rating, loss rating, retrospective rating or
            audit.

   c)    If the Company decides to non-renew this Policy or to conditionally renew this Policy as provided in paragraph b)., the
         Company will mail or deliver written notice to the First Named Insured shown in the Declarations at least sixty (60)
         days but not more than one hundred twenty (120) days before:

         1) The expiration date; or


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               2) The anniversary date, if this is a continuous Policy.

         d) The Company will mail or deliver notice to the First Named Insured's mailing address shown in the Declarations of
            this Policy or any Endorsement attached thereto and to the authorized agent or broker.

         e)    Notice will include the specific reason(s) for non-renewal or conditional renewal, including the amount of any
               premium increase for conditional renewal and description of any other changes.

         f)    If notice is mailed, proof of mailing will be sufficient proof of notice.

         If the Company violates any of the provisions above by sending the First Named Insured an incomplete or late
         conditional renewal notice or a late non-renewal notice coverage will remain in effect at the same terms and conditions of
         this policy at the lower of the current rates or the prior period’s rates until 60 days after such notice is mailed or delivered,
         unless the First Named Insured, during this 60 day period, has replaced the coverage or elects to cancel.

         The Company will not send the Insured notice of non-renewal or conditional renewal if the Insured, the authorized agent or
         broker or another insurer of the Insured mails or delivers notice that the Policy has been replaced or is no longer desired.

3.   SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
     its entirety and replaced by the following:

     SUIT AGAINST THE COMPANY

         No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
         Insured has fully complied with all the provisions of this Policy. Legal action must be started within two (2) years after the
         date of direct physical loss or damage to Covered Property or to other property as set forth herein.


4.   SECTION II – DECLARATIONS - POLICY LIMITS OF LIABILITY, Causation Definition is deleted in its entirety.

5.   SECTION VI- General Policy Conditions, Suspended Property, the following provision is deleted:

     When Covered Property is found to be in, or exposed to, a dangerous condition, any of the Company's representatives may
     immediately suspend this insurance for that property. This can be done by delivering or mailing a written notice to the First
     Named Insured's mailing address or to the address where the Covered Property is located. Once suspended, this insurance can
     be reinstated only by an endorsement. Any unearned premium due will be returned by the Company.

     And replaced with the following:

     When Covered Equipment is found to be in, or exposed to a dangerous condition, any of the Company's representatives may
     immediately suspend this insurance for such Covered Equipment, including loss arising out of the dangerous condition of such
     Covered Equipment. This can be done by delivering or mailing a written notice to the First Named Insured's mailing
     address or to the address where the Covered Equipment is located. Once suspended, this insurance can be reinstated only by
     an endorsement. Any unearned premium due will be returned by the Company.

6.   SECTION VII-DEFINITIONS, The following are deleted and replaced:

     Flood - A general and temporary condition of partial or complete inundation of normally dry land areas or structure(s) caused
             by:

     .         The unusual and rapid accumulation or runoff of surface waters, waves,     tides, tidal waves, tsunami, the release of
               water, the rising, overflowing or breaking of boundaries of nature or man-made bodies of water; or the spray there
               from all whether driven by wind or not; or

     .         Mudflow or mudslides caused by accumulation of water on or under the ground.

               Flood also includes the backup of water from a sewer, drain or sump caused in whole or part by Flood.



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     Flood also includes Storm Surge if shown on the declarations as part of Flood.

     And replaced with:

             Flood - A general and temporary condition of partial or complete inundation of normally dry land areas or structure(s)
                     caused by:

                     a). The unusual and rapid accumulation or runoff of surface waters, waves, tides, tidal waves,
                         tsunami, the release of water, the rising, overflowing or breaking of boundaries of nature or man-made
                         bodies of water; or the spray there from all whether driven by wind or not; or

                     b). Mudflow or mudslides caused by accumulation of water on or under the ground.

                     Flood also includes the backup of water from a sewer, drain or sump caused in whole or part by Flood.

     Named Storm - Any storm or weather disturbance that is named by the U. S. National Oceanic and Atmospheric
                   Administration (NOAA) or the U. S. National Weather Service or the National Hurricane Center or any
                   comparable worldwide equivalent.

                      Named Storm also includes Storm Surge if shown on the declarations as part of Named Storm.

     And replaced with:

     Named Storm - Any storm or weather disturbance that is named by the U. S. National Oceanic and Atmospheric
                   Administration (NOAA) or the U. S. National Weather Service or the National Hurricane Center or any
                   comparable worldwide equivalent.

7.   SECTION VII- DEFINITIONS the following is deleted in its entirety:

     Storm Surge - A general and temporary condition of partial or complete inundation by salt water, caused by wind driven waves
     that result from a Named Storm, of normally dry land areas or structure(s) in coastal areas, bays or inland waters connected to
     an ocean or sea.




All other terms, conditions and limitations of this Policy remain unchanged.




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Amendatory Endorsement - Ohio



                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


1.   SECTION VI - GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL, is deleted in its entirety and
     replaced by the following:

     Cancellation

         The First Named Insured shown in the policy declarations may cancel this policy by mailing or delivering to the Company
         advance written notice of cancellation.

         If the Insured’s policy has been in effect for more than 90 days, or is a renewal of a policy we issued, the Company may
         cancel this policy only for one or more of the following reasons:

             Nonpayment of premium;

             Discovery of fraud or material misrepresentation in the procurement of the insurance or with respect to any claims
             submitted thereunder;

             Discovery of a moral hazard or willful or reckless acts or omissions on an Insured’s part which increases any hazard
             insured against;

             The occurrence of a change in the individual risk which substantially increases any hazard insured against after the
             insurance coverage has been issued or renewed, except to the extent the insurer could reasonably have foreseen the
             change or contemplated the risk in writing the contract;

             Loss of applicable reinsurance or a substantial decrease in applicable reinsurance, if the Superintendent has determined
             that reasonable efforts have been made to prevent the loss of, or substantial decrease in, the applicable reinsurance, or
             to obtain replacement coverage;

             Failure of an Insured to correct material violations of safety codes or to comply with reasonable written loss control
             recommendations; or

             A determination by the Superintendent of Insurance that the continuation of the policy would create a condition that
             would be hazardous to the policyholders or the public.

         The Company will mail written notice of cancellation to the First Named Insured, and agent if any, at the last mailing
         addresses known to us. Proof of mailing will be sufficient proof of notice.

         The Company will mail notice of cancellation at least:

             10 days before the effective date of cancellation, if the Company cancel for nonpayment of premium; or

             30 days before the effective date of cancellation, if the Company cancels for any other reason.

         The notice of cancellation will:

             State the effective date of cancellation. The policy period will end on that date.




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              Contain the date of the notice and the policy number, and will state the reason for cancellation.

         Policies written for a term of more than one year or on a continuous basis may be cancelled by the Company for any reason
         at an anniversary date, upon 30 day’s written notice of cancellation.

         If this policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
         cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata. The
         cancellation will be effective even if the Company have not made or offered a refund.

     Nonrenewal

         If the Company elects not to renew this policy, the Company will mail written notice of nonrenewal to the First Named
         Insured, and agent if any, at the last mailing addresses known to the Company. The notice will contain the date of the
         notice and the policy number, and will state the expiration date of the policy.

         The Company will mail the notice of nonrenewal at least 30 days before the expiration date of the policy.
         Proof of mailing will be sufficient proof of notice.

2.   SECTION VI - GENERAL POLICY CONDITIONS, SETTLEMENT OF CLAIMS, LOSS PAYMENT, the following is added:

     The Company will give you notice, within 21 days after the Company receives a properly executed, sworn statement of loss,
     that the Company:

         Accepts the Insured’s claim;

         Denies the Insured’s claim; or

         Needs more time to investigate the Insured’s claim.

     If the Company needs more time to investigate the Insured’s claim, the Company will provide an explanation for the
     Company’s need for more time. The Company will continue to notify the Insured again in writing, at least every 45 days, of the
     status of the investigation and of the continued time needed for the investigation.

         The Company will pay for covered cause of loss of or damage to covered property within:

              Ten (10) days after the Company accepts your claim if such acceptance occurs within the first 21 days after the
              Company receives a properly executed proof of loss, unless the claim involves an action by a probate court or other
              extraordinary circumstances as documented in the claim file; or

              Five (5) days after the Company accepts your claim if such acceptance occurs more than 21 days after the Company
              receives a properly executed proof of loss, and

                  An appraisal award has been made; or

                  The Company has reached an agreement with you on the amount of loss that was in dispute.

3.   SECTION VII – DEFINITIONS, Terrorist Activity is deleted in its entirety and replaced by the following:

     For the purposes of this endorsement Terrorist Activity shall include the following:

        1.    "Certified act of terrorism" which means an act that is certified by the Secretary of the Treasury, in concurrence with
              the Secretary of State and the Attorney General of the United States, to be an act of terrorism pursuant to the federal
              Terrorism Risk Insurance Act. The criteria contained in the Terrorism Risk Insurance Act for a "certified act of
              terrorism" include the following:




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             a.   The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all types of insurance
                  subject to the Terrorism Risk Insurance Act;

             b.   The act resulted in damage:

                      (1) Within the United States (including its territories and possessions and Puerto Rico); or

                      (2) Outside of the United States in the case of:

                          (a) An air carrier (as defined in Section 40102 of title 49, United States Code) or United States flag
                              vessel (or a vessel based principally in the United States, on which United States income tax is paid
                              and whose insurance coverage is subject to regulation in the United States), regardless of where the
                              loss occurs; or

                          (b) The premises of any United States mission; and

             c.   The act is a violent act or an act that is dangerous to human life, property or infrastructure and is committed by an
                  individual or individuals as part of an effort to coerce the civilian population of the United States or to influence
                  the policy or affect the conduct of the United States Government by coercion.

       2.       "Non-Certified act of terrorism" which means a violent act or an act that is dangerous to human life, property or
             infrastructure that is committed by an individual or individuals and that appears to be part of an effort to coerce a
             civilian population or to influence the policy or affect the conduct of any government by coercion, and the act is not
             certified as a terrorist act pursuant to the federal Terrorism Risk Insurance Act of 2002.

       3. Terrorist Activity which constitutes “Certified acts of terrorism” is not excluded in this policy, unless otherwise
          endorsed.

       4. Terrorist Activity which constitutes “Non-Certified acts of terrorism” is not excluded in this policy, when it occurs in
          the USA, its territories, possessions and missions, and the Commonwealth of Puerto Rico.

All other terms, conditions and limitations of this Policy remain unchanged.




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Amendatory Endorsement - Oklahoma

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

1.   SECTION VI – GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL, is deleted and replaced by the
     following:

        1). The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
            advance written notice of cancellation.

        The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation at
        least:

            a.   Ten (10) days before the effective date of cancellation if the Company cancels for nonpayment of premium; or

            b.   Thirty (30) days before the effective date of cancellation if the Company cancels for any other reason.

        The Company will mail or deliver notice to the First Named Insured's mailing address shown in the Declarations of this
        Policy or any Endorsement attached thereto.

        Notice of cancellation will state the effective date of cancellation. The Policy Period will end on that date.

        If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
        cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata but no less
        than the customary short rate amount. The cancellation will be effective even if the Company has not made or offered a
        refund.

        If notice is mailed, proof of mailing will be sufficient proof of notice.

        If under the laws of the jurisdiction in which the property is located, such cancellation terms or conditions are different,
        then cancellation terms or conditions will be as permitted by such laws.

        2). If this Policy has been in effect for forty-five (45) business days or more, or after the effective date of a renewal of this
            Policy, the Company may cancel this Policy only for one or more of the following reasons:

            a.   Nonpayment of premium;

            b.   Discovery of fraud or material misrepresentation in the procurement of the insurance or with respect to any claims
                 submitted under it;

            c.   Discovery of willful or reckless acts or omissions by the Insured that increase any hazard insured against;

            d.   The occurrence of a change in the risk that substantially increases any hazard insured against after insurance
                 coverage has been issued or renewed;

            e.   A violation of any local fire, health, safety, building, or construction regulation or ordinance, with respect to any
                 covered property or its occupancy, that substantially increases any hazard insured against;

            f.   A determination by the Insurance Commissioner that the continuation of the Policy would place the Company in
                 violation of the insurance laws of this state;

            g.   The Insured's conviction of a crime having, as one of its necessary elements, an act increasing any hazard insured
                 against; or

            h.   Loss of or substantial changes in applicable reinsurance.


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3). Non-renewal

   a.   If the Company decides to non-renew this Policy, the Company will mail or deliver written notice to the First
        Named Insured shown in the Declarations at least forty-five (45) days before:

          i).The expiration date; or

          ii). The anniversary date of this Policy, if it is written for a term longer than one year or with no fixed
             expiration date.

   a.   The Company will mail or deliver notice to the First Named Insured's mailing address known to the Company.

   b.   If notice is mailed, proof of mailing will be sufficient proof of notice. It will be considered to have been given to
        the First Named Insured on the day it is mailed.

   c.   If notice of non-renewal is not mailed or delivered at least forty-five (45) days before the expiration date or an
        anniversary date of this Policy, coverage will remain in effect until forty-five (45) days after notice is given.

   d.   Earned premium for such extended period of coverage will be calculated pro rata, based on the rates applicable to
        the expiring Policy.

   e.   The Company will not provide notice of nonrenewal if the Company another company within the same insurance
        group, has offered to issue a renewal Policy, or the Insured has obtained replacement coverage or has agreed in
        writing to obtain replacement coverage.

   f.   If the Company has provided the required notice of non-renewal as described in a). above, and thereafter extends
        the Policy for a period of ninety (90) days or less, the Company will not provide an additional non-renewal notice
        with respect to the period of extension.

   g.   If the Company elects to renew this Policy, the Company will give written notice of any premium increase, change
        in deductible, or reduction in limits or coverage, to the First Named Insured, at the last mailing address known to
        the Company.

         i). Any such notice will be mailed or delivered to the First Named Insured at least forty-five (45) days before the
             expiration date of this Policy or the anniversary date of this Policy, if it is written for a term longer than one
             year or with no fixed expiration date.

           ii). If notice is mailed, proof of mailing will be sufficient proof of notice. It will be considered to have been
             given to the First Named Insured on the day it is mailed.

           iii). If the First Named Insured accepts the renewal, the premium increase or coverage changes will be effective
            the day following the prior policy's expiration or anniversary date.

           iv). If notice is not mailed or delivered at least forty-five (45) days before the expiration date or anniversary
            date of this Policy, the premium, deductible, limits and coverage in effect prior to the changes will remain in
            effect until:

            a.) Forty-five (45) days after notice is given; or

            b.) The effective date of replacement coverage obtained by the Insured; whichever occurs first. If the First
                Named Insured then elects not to renew, any earned premium for the resulting extended period of
                coverage will be calculated pro rata at the lower of the new rates or rates applicable to the expiring policy.

   h.   The Company will not provide notice of the following:




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                   i). Changes in a rate or plan filed with or approved by the State Board for Property and Casualty Rates or filed
                       pursuant to the Commercial Property and Casualty Competitive Loss Cost Rating Act and applicable to an
                       entire class of business; or
                 ii). Changes based upon the altered nature of extent of the risk insured; or
                 iii). Changes in policy forms filed with or approved by the Insurance Commissioner and applicable to an entire
                       class of business.

2.   The following is added to SECTION VI –GENERAL POLICY CONDITIONS:

        FRAUD WARNING

        1). Any person who knowingly and with intent to injure, defraud or deceive any insurer, makes any claim for the proceeds
            of an insurance policy containing any false, incomplete or misleading information is guilty of a felony.

3.   SECTION VI. - GENERAL POLICY CONDITIONS, CONCEALMENT, MISREPRESENTATION OR FRAUD is deleted in
     its entirety and replaced by the following:

     CONCEALMENT, MISREPRESENTATION OR FRAUD

        This Policy is voidable as to all Insureds in any case of fraud by any Insured as it relates to this Policy at any time. It is
        also voidable if any Insured, at any time, intentionally conceals or misrepresents a material fact concerning:

            This Policy;

            The Covered Property;

            The Insured's interest in Covered Property; or

            A claim under this Policy.




All other terms, conditions and limitations of this Policy remain unchanged.




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Amendatory Endorsement - Rhode Island


                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


1.   SECTION VI - General Policy Conditions, Cancellation/Non-Renewal, Cancellation, is deleted in its entirety and replaced by
     the following:

     Cancellation

         The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
         advance written notice of cancellation.

         The Company may cancel this Policy by mailing or delivering to the First Named Insured and agent, if any, written notice
         of cancellation at least:

                    The number of days before the effective date of cancellation if the Company cancels for nonpayment of premium,
                    as stated in the Declarations; or

                    The number of days before the effective date of cancellation if the Company cancels for any other reason, as stated
                    in the Declarations.

         The Company will mail or deliver notice to the First Named Insured's and agent’s, if any, mailing address shown in the
         Declarations of this Policy or any Endorsement attached thereto.

         Notice of cancellation will state the effective date of cancellation. The Policy Period will end on that date.

         If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. The Company will
         compute the return premium pro rata and round to the next higher whole dollar if:

                    The Policy is cancelled at the Company’s request; or

                    The Policy is cancelled by us at the request of a premium finance company upon default of the first Named
                    Insured, when this policy is financed under a premium finance agreement.

         If the First Named Insured cancels, the Company will return 90% of the pro rata unearned premium, rounded to the next
         higher whole dollar. However, when such cancellation takes place during the first year of a multi-year prepaid policy, we
         will return the full annual premium for the subsequent years. The cancellation will be effective even if the Company has
         not made or offered a refund.

         If notice is mailed, proof of mailing will be sufficient proof of notice.

         If under the laws of the jurisdiction in which the property is located, such cancellation terms or conditions are different,
         then cancellation terms or conditions will be as permitted by such laws.




     All other terms, conditions and limitations of this Policy remain unchanged.




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Amendatory Endorsement - South Carolina


THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

1.   The following is deleted from SECTION VI-CANCELLATION/NON-RENEWAL:

         The Company will mail or deliver notice to the First Named Insured's mailing address shown in the Declarations of this
         Policy or any Endorsement attached thereto.

     and replaced by the following:

         The Company will mail or deliver notice to the First Named Insured's and agent's last known mailing address.

2.   The following is added to SECTION VI-CANCELLATION/NON-RENEWAL:

     If this Policy has been in effect one hundred and twenty (120) days or more, or is a renewal or continuation of a Policy the
     Company issued, the Company may cancel this Policy only for one or more of the following reasons:

         1) Nonpayment of premium;

         2) Material misrepresentation of a fact, which, if known to the Company, would have caused the Company not to issue
            the Policy;

         3) Substantial change in the risk assumed, except to the extent that the Company should reasonably have foreseen the
            change or contemplated the risk in writing the Policy;

         4) Substantial breaches of contractual duties, conditions or warranties; or

         5) Loss of reinsurance covering all or a significant portion of the particular Policy insured, or where continuation of the
            Policy would imperil the Company's solvency or place the Company in violation of the insurance laws of South
            Carolina.

     Prior to cancellation for reasons permitted in item 5). above, the Company will notify the Commissioner, in writing, at least
     sixty (60) days prior to such cancellation and the Commissioner will, within thirty (30) days of such notification, approve or
     disapprove such action.

     Any notice of cancellation will state the precise reason for cancellation.

3.   SECTION VI-CANCELLATION/NON-RENEWAL, Non-Renewal is deleted in its entirety and replaced by the following:

     Non-Renewal

         The Company may non-renew this Policy by mailing or delivering to the First Named Insured and the agent, written
         notice, at the last known address, of non-renewal at least:

              Sixty (60) days if non-renewal is effective between November 1 and May 31; or

              Ninety (90) days if non-renewal is effective between June 1 and October 31;

         before:

              The expiration date of this Policy, if the Policy is written for a term of one year or less; or
              An anniversary date of this policy, if the policy is written for a term of more than one year or for an indefinite term.


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        However, the Company will not refuse to renew a policy issued for a term of more than one year, until expiration of its full
        term, if anniversary renewal has been guaranteed by additional premium consideration. Any notice of non-renewal will state
        the precise reason for non-renewal. If notice is mailed, proof of mailing will be sufficient proof of notice.




All other terms, conditions and limitations of this Policy remain unchanged.




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Amendatory Endorsement - South Dakota


THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

1.   The following is deleted from SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL,
     Cancellation:

     The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation at
     least:

         The number of days before the effective date of cancellation if the Company cancels for nonpayment of premium, as stated
         in the Declarations; or

         The number of days before the effective date of cancellation if the Company cancels for any other reason, as stated in the
         Declarations.

     and replaced with:

     The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation at
     least the greater of:

         Twenty (20) days or the number of days before the effective date of cancellation if the Company cancels for nonpayment of
         premium, as stated in the Declarations; or

         Twenty (20) days or the number of days before the effective date of cancellation if the Company cancels for any other
         reason, as stated in the Declarations.

2.   SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS, APPRAISAL, is deleted in its entirety.

3.   SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
     its entirety and replaced by the following:

     SUIT AGAINST THE COMPANY

         No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
         Insured has fully complied with all the provisions of this Policy. Legal action must be started within seventy-two (72)
         months after the date of direct physical loss or damage to Covered Property or to other property as set forth herein.




All other terms, conditions and limitations of this Policy remain unchanged.




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Amendatory Endorsement - Tennessee


THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

1.   The following is added to Section VI-General Policy Conditions, CANCELLATION/NON-RENEWAL:

        1). If this Policy has been in effect for sixty (60) days or more, or if this Policy is a renewal of a Policy the Company
            issued, this Policy may be cancelled only for one or more of the following reasons:

            a.   Nonpayment of premium, including any additional premium, calculated in accordance with the Company's current
                 rating manual, justified by a physical change in the insured property or a change in the insured property or a
                 change in its occupancy or use;

            b.   The Insured's conviction of a crime increasing any hazard insured against;

            c.   Discovery of fraud or material misrepresentation on the part of either of the following;

                 i). The Insured or Insured representative in obtaining this insurance; or

                 ii). The Insured in pursuing a claim under this Policy.

            d.   Failure to comply with written loss control recommendations;

            e.   Material change in the risk which increases the risk of loss after the Company issued or renewed insurance
                 coverage;

            f.   Determination by the insurance commissioner that the continuation of the Policy would jeopardize the Company’s
                 solvency or would place the Company in violation of the insurance laws of Tennessee or any other state;

            g.   The Insured's violation or breach of any Policy terms or conditions; or

            h.   Other reasons that are approved by the insurance commissioner. Notice of Cancellation will state the reason for
                 cancellation.

2.   Section VI-General Policy Conditions, CANCELLATION/NON-RENEWAL, Non-renewal is deleted in its entirety and replaced
     by the following:

        1). If the Company decides not to renew this Policy, the Company will mail or deliver written notice of non-renewal to the
            first Named Insured and agent, at least sixty (60) days before the expiration date unless:

            a.   The Company has offered to issue a renewal Policy; or

            b.   The Insured has obtained replacement coverage or has agreed in writing to obtain replacement coverage.

            c.   Any notice of non-renewal will be mailed or delivered to the first Named Insured's and agent's addresses shown in
                 the Policy. If notice is mailed, proof of mailing will be sufficient proof of notice.




All other terms, conditions and limitations of this Policy remain unchanged.


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Amendatory Endorsement - Vermont


THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

1.   SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL, is deleted in its entirety and replaced
     by the following:

     CANCELLATION/NON-RENEWAL

     Cancellation

         a)    The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
               advance written notice of cancellation.

         b) If this Policy has been in effect for less than sixty (60) days and this Policy is not a renewal of a Policy the Company
            issued, the Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of
            cancellation at least:

               1) Fifteen (15) days notice prior to the proposed cancellation date for non payment of premium or substantial increase
                  in hazard; or

               2) Forty-five (45) days notice prior to the proposed cancellation date for any other reason.

         c)    If cancellation is for nonpayment of premium, written notice may be sent by certified mail. If cancellation is for any
               reason other than nonpayment of premium, written notice must be sent by certified mail.

         d) If this Policy has been in effect for sixty (60) days or more, or if this is a renewal of a Policy the Company issued, the
            Company may cancel this Policy only for one or more of the following reasons:

               1) Nonpayment of premium;

               2) Fraud or material misrepresentation affecting this Policy or in the presentation of claims under this Policy;

               3) Violation of any provisions of this Policy; or

               4) Substantial increase in hazard, provided the Company has secured approval for the cancellation from the
                  commissioner of insurance.

               If the Company cancels this Policy for one of the reasons specified above, the Company may cancel this Policy by
               mailing or delivering at least:

               1) Fifteen (15) days notice before the effective date of cancellation for nonpayment of premium; or

               2) Forty-five (45) days notice before the effective date of cancellation for any other reason.

         e)    Notice of cancellation will state the effective date of cancellation. The Policy period will end on that date.

         f)    If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
               cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata but no
               less than the customary short rate amount. The cancellation will be effective even if the Company has not made or
               offered a refund.

         g) If notice is mailed, proof of mailing will be sufficient proof of notice.



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     Non-Renewal

         a)   The Company may non-renew this Policy by mailing, certified mail, or delivering to the First Named Insured written
              notice, at the last known address, of non-renewal at least forty-five (45) days before the expiration of this Policy or the
              anniversary date of this Policy, if this Policy has been written for a term of more than one year.

              This non-renewal provision does not apply if the Company has indicated a willingness to renew, in case of nonpayment
              of premium, or if the Insured does not pay any advance premium required for renewal.

              If the Company fails to mail or deliver proper notice of non-renewal, this Policy will end on the effective date of any
              other Policy with respect to property designated in both policies.

         b) If the Company elects to renew this Policy and has the necessary information to issue a renewal Policy, the Company
            will confirm in writing at least forty-five (45) days before the Policy expires the intention to renew this Policy and the
            premium at which this Policy will be renewed.

              If the Company fails to comply with this provision, the Insured will have renewal coverage. The renewal coverage will
              be at the rates in effect under the expiring or expired Policy or in effect on the expiration date, that have been approved
              by the Commissioner, whichever are lower. This renewal coverage will be on a pro rata basis and will continue for
              forty-five (45) days after the Company confirms renewal coverage and premium. If the Insured accepts this renewal
              Policy, this paragraph does not apply.

2.   Section VI-General Policy Conditions, CONCEALMENT, MISREPRESENTATION OR FRAUD is deleted in its entirety and
     replaced by the following:

     CONCEALMENT, MISREPRESENTATION OR FRAUD

         The Company does not provide coverage to one or more Insureds who at any time engage in fraudulent conduct as it relates
         to this Policy. The Company also does not provide coverage to one or more Insureds, who at any time intentionally conceal
         or misrepresent a material fact or make a false statement concerning:

              a)   This Policy;

              b) The Covered Property;

              c)   The Insured's interest in Covered Property; or

              d) A claim under this Policy.

3.   The following is added to SECTION VI –GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE
     COMPANY:

     The Insureds' right to bring legal action against the Company is not conditioned upon compliance with the Appraisal Condition
     of this Policy.

4.   The following is deleted from SECTION VI-GENERAL POLICY CONDITIONS, SETTLEMENT OF CLAIMS, Loss Payment:

         The Company will pay for covered loss or damage within thirty (30) days or as required by law, after receiving the sworn
         statement of loss, if the Insured has complied with all the terms of this Policy; and

     and replaced by the following:

         We will pay for covered loss or damage within ten (10) working days after we receive the sworn statement of loss, if you
         have complied with all the terms of this Policy; and


All other terms, conditions and limitations of this Policy remain unchanged.




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Amendatory Endorsement - Washington


                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

1.   The following is deleted from SECTION III - PROPERTY DAMAGE, EXCLUSIONS:

     3.03.03.             This Policy excludes direct physical loss or damage directly or indirectly caused by or resulting from any
                          of the following regardless of any other cause or event, whether or not insured under this Policy,
                          contributing concurrently or in any other sequence to the loss:

     and replaced with:

     3.03.03.              The Company will not pay for loss or damage caused by any excluded event described below. Loss or
                          damage will be considered to have been caused by an excluded event if the occurrence of that event
                          directly and solely results in loss or damage; or initiates a sequence of events that results in loss or
                          damage, regardless of the nature of any intermediate or final event in that sequence.

2. When the following appears in CONTINGENT TIME ELEMENT, FINE ARTS, LAND IMPROVEMENTS,OFF PREMISES
   SERVICE INTERUPTION PROPERTY DAMAGE AND TIME ELEMENT LOSS, TENANTS PROHIBITED ACCESS and
   NEW CONSTRUCTION AND ADDITIONS, it will be deleted.

                          "regardless of any other cause or event, whether or not insured under this Policy, contributing
                          concurrently or in any other sequence to the loss."

     and replaced with:

                          The Company will not pay for loss or damage caused by an excluded event described below. Loss or
                          damage will be considered to have been caused by such excluded event if the occurrence of that event
                          directly and solely results in loss or damage; or initiates a sequence of events in loss or damage,
                          regardless of the nature of intermediate or final event in that sequence.

3. The following is added to SECTION III - PROPERTY DAMAGE, EXCLUSIONS, 3.03.03.04.:

                          This exclusion does not apply to acts of direct physical loss or damage resulting from an act of domestic
                          abuse caused by another insured under the policy if such loss is an otherwise covered property loss and
                          the insured making claim: files a police report, cooperates with any law enforcement investigation relating
                          to the act of domestic abuse and did not cooperate in or contribute to the creation of the loss.

4. The following is deleted from SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL,
   Cancellation:

                          The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to
                          the Company advance written notice of cancellation.

     and replaced with:

                          The First Named Insured shown in the Declarations may cancel this Policy. The insured may provide
                          notice before the effective date of cancellation using one of these methods:

                             (i) Written notice of cancellation to the insurer or producer by mail, fax or e-mail;




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                              (ii) Surrender of the policy or binder to the insurer or producer; or

                              (iii) Verbal notice to the insurer or producer.

                           If the insurer receives notice of cancellation from the insured, it must accept and promptly cancel the
                           policy or any binder issued as evidence of coverage effective the later of:

                              (i) The date notice is received; or

                              (ii) The date the insured requests cancellation.

5. The following is added to SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL,
   Cancellation:

                           Notice of cancellation will state the reason for cancellation.

                           The Company will send written notice of cancellation to each mortgagee, pledge or other person shown
                           by the Policy to have an interest in any loss which may occur.

6.    SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL, Non-renewal is deleted in its
      entirety and replaced by the following:

                           Non-renewal

                           The Company may non-renew this Policy by mailing or delivering to the First Named Insured written
                           notice, Forty-Five (45) days before the non-renewal. Notice of non-renewal will state the reason for
                           non-renewal.

7. The following is added to SECTION VI-GENERAL POLICY CONDITIONS, INSPECTIONS AND SURVEYS:

                           However, this condition does not apply to any inspections, surveys, reports or recommendations the
                           Company may make relative to certification under state or municipal statutes, ordinances or regulations
                           referenced above.

8. The following is deleted from SECTION VI-GENERAL POLICY CONDITIONS, OTHER INSURANCE:

                           The Company will not be liable if, at the time of loss or damage, there is any other insurance that would
                           attach in absence of this insurance; except that this insurance shall apply only as excess, Difference in
                           Conditions/Difference in Limits and in no event as contributing insurance, and then only after all other
                           insurance has been exhausted.

     and replaced with:

                           The Company will not be liable if, at the time of loss or damage, there is any other insurance that would
                           attach in absence of this insurance; except that this insurance shall apply only as pro rata contributing
                           insurance.

9. The following is deleted from SECTION VI-GENERAL POLICY CONDITIONS, VALUATION:

                           The basis of adjustment is on a replacement cost basis unless a specific valuation applies. Replacement
                           Cost shall be the cost to repair, rebuild or replace the damaged property (without deduction for
                           depreciation) with materials of like kind, quality and capacity at the same or another site, but no more
                           than the lesser of:

      and replaced by the following:




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                        The basis of adjustment is on a replacement cost basis unless a specific valuation applies. Replacement
                        Cost shall be the cost to repair, rebuild or replace the damaged property (without deduction for
                        depreciation) with new materials of like kind, quality and capacity at the same or another site, but no
                        more than the lesser of:

9.   Section VI-General Policy Conditions, LENDERS LOSS PAYEE AND MORTGAGE HOLDER INTERESTS AND
     OBLIGATIONS is deleted in its entirety.

10. The following is deleted from SECTION VI-GENERAL POLICY CONDITIONS, APPRAISAL:

                        The Company further retains its right to deny the claim in whole or in part.

All other terms, conditions and limitations of this Policy remain unchanged.




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Amendatory Endorsement - West Virginia


                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

1.   SECTION VI - GENERAL POLICY CONDITIONS, LOSS CONDITIONS, APPRAISAL, is deleted in its entirety and replaced
     by the following:

     APPRAISAL

         In case the Insured and the Company fails to agree as to the actual cash value of the amount of loss, then on the written
         demand of either party, each shall select a competent and disinterested appraiser and notify the other appraiser selected
         within twenty (20) days of such demand. The appraiser shall first select a competent and disinterested umpire; and failing
         for fifteen (15) days to agree upon such umpire, then either on the Insured’s or the Company’s request, such umpire shall
         be selected by a judge of a court of record in the state in which the property covered is located. The appraisers shall then
         appraise the loss, stating separately actual cash value and loss as to each item; and, failing to agree, shall submit their
         differences only, to the umpire. An award in writing, so itemized, of any two when filed with this Company shall
         determine the amount of actual cash value and loss. Each appraiser shall be paid by the parties equally.

2.   The following is deleted from SECTION VI - GENERAL POLICY CONDITIONS, SETTLEMENT OF CLAIMS, Loss
     Payment:

         The Company will pay for covered loss or damage within thirty (30) days or as required by law, after receiving the sworn
         statement of loss, if the Insured has complied with all the terms of this Policy; and

             The Company has reached agreement on the amount of loss; or

             An appraisal award has been made...

     and replaced by the following:

         The Company will pay for loss of or damage to Covered Property within fifteen (15) days after we receive the signed,
         sworn statement of loss if the Insured has complied with all the terms of this Policy and the Company has reached
         agreement with the Insured on the amount of loss.

3. SECTION VI – GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
   its entirety and replaced by the following:

         No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
         Insured has fully complied with all the provisions of this Policy. Legal action must be started within two (2) years after the
         date of direct physical loss or damage to Covered Property or to other property as set forth herein.


     All other terms, conditions and limitations of this Policy remain unchanged.




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Amendatory Endorsement - Wisconsin



                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


1.   Section VI-General Policy Conditions, Loss Conditions, Subrogation, is deleted in its entirety and replaced by the following:

     SUBROGATION

             The Insured is required to cooperate in any subrogation proceedings. To the extent of the Company's payment, the
             Insured's rights of recovery against any party are transferred to the Company.

             The Company acquires no rights of recovery that the Insured has expressly waived prior to a loss, nor will such waiver
             affect the Insured's rights under this Policy.

             The Company will be entitled to any recovery from subrogation proceedings only after the First Named Insured has
             been fully compensated for Damages.




All other terms, conditions and limitations of this Policy remain unchanged.




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Amendatory Endorsement - Wyoming


                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


1.   SECTION VI - General Policy Conditions, Suit Against The Company is replaced in its entirety by the following:

     No one may bring a legal action against the Company under this Policy unless:

     All of its terms have been complied with; and, the action is brought within 4 years beginning from the date on which the direct
     physical loss or damage was discovered.

2.   Section VI-GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUBROGATION is amended by the addition of the
     following:

     The Company will be entitled to recovery only after the insured has been fully compensated for the deductible amount, without
     any deduction for expenses of collection, out of any recovery on the subrogated claim, before any part of the recovery is applied
     to any other use. If the amount of the deductible exceeds the recovery, the insurer shall pay only the amount of the recovery to
     the insured.

3.   The following is deleted from Section VI-GENERAL POLICY CONDITIONS, SETTLEMENT OF CLAIMS, Loss Payment:

                           The Company will pay for covered loss or damage within thirty (30) days or as required by law, after
                           receiving the sworn statement of loss, if the Insured has complied with all the terms of this Policy; and

     And replaced with:

                           The Company will pay for the undisputed covered loss or damage within forty-five (45) days, after
                           receiving the sworn statement of loss, if the Insured has complied with all the terms of this Policy.

                  All other terms, conditions and limitations of this Policy remain unchanged.




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Amendatory Endorsement - Virginia


THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

1.   SECTION V-FIRE DEPARTMENT SERVICE CHARGE is replaced by the following:


     The Company will pay for the reasonable additional expenses, resulting from costs of fire extinguishing materials expended,
     incurred by the Insured when the Fire Department is called to save or protect Covered Property from a Covered Cause of Loss
     at an Insured Location. The Fire Department Service Charges are those assumed by contract or agreement prior to loss or
     damage or required by local ordinance.

     If the charges are billed to the Insured by a volunteer fire department, the Company will pay for the volunteer fire department
     service charges, provided that the volunteer fire department is not fully funded by real estate taxes or other property taxes.

     The most the Company will pay under this Additional Coverage at any one covered property, in any year beginning on the date
     coverage for such covered property was effective, is the greater of $250 or the Limit of Insurance shown in the Declarations for
     Fire Department Service Charge. The Limit for this Additional Coverage is in addition to the applicable Limit of Insurance
     shown in the Declarations for that covered property.




All other terms, conditions and limitations of this Policy remain unchanged.




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Change Endorsement
Limited Coverage for Electronic Data, Programs or Software
Certificates of Insurance
Loss Adjustment/Payable

Insured Name                                    Policy Number                  Effective Date        Endorsement Number
Lindenwood University                           ERP8757927-01                  07/01/2019            01




                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This Endorsement modifies insurance provided under the Policy identified above.

    A. Section 5.02.04.01.01 is deleted.
    B. Clause CERTIFICATES OF INSURANCE is deleted and replaced with the following:

                  CERTIFICATES OF INSURANCE

        Any certificate of insurance issued in connection with this Policy is provided solely as a matter of convenience or
        information for the addressee(s) or holder(s) of such certificate of insurance, except as provided under the Policy when a
        Loss Payee(s) or Mortgagee(s) are named. The certificate of insurance does not amend, extend or alter the coverage afforded
        by the Policy.

        In the event this Policy is cancelled pursuant to the Cancellation subsection other than for nonpayment of premium, and
        except as provided otherwise, the Company shall provide a notice to those entities set out in the certificates of insurance,
        that have been provided to the Company in accordance with this Endorsement, within 30 days after notifying the First
        Named Insured that the Policy has been cancelled. Such entities will be provided to the Company, in the format requested
        by the Company within 10 days of such request, by the Producer. However, in no event will failure to provide notice to
        entities set out in any certificate of insurance provide such entities with rights broader than those of the Named Insured.

        The Company hereby authorizes the Producer named on the Policy to issue certificates of insurance consistent with the
        foregoing.

    C. Clause LOSS ADJUSTMENT/PAYABLE is deleted and replaced with the following:

                  LOSS ADJUSTMENT/PAYABLE

        Loss, if any, will be adjusted with and payable to the First Named Insured as shown on this Policy, or as directed by the
        First Named Insured.

        When a Lender or Mortgagee is named in the certificates of insurance on file with the Company, the Lender or Mortgagee
        will be included in loss payment as their interests may appear.

        When a Loss Payee is named in the certificates of insurance on file with the Company, the Loss Payee will be included in
        loss payments made to the insured as their interests may appear. The Loss Payee has no other rights under the policy.

        When an additional insured is named in the certificates of insurance on file with the Company, the additional insured will
        be included in loss payment as their interests may appear.

All other terms, conditions and limitations of this Policy remain unchanged.




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Exclusion of Certified Acts of Terrorism

Insured Name                                        Policy Number                          Effective Date              Endorsement Number
Lindenwood University                               ERP8757927-01                          07/01/2019                  02




                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies your insurance:



                                                                SCHEDULE*

The exception relating to certain fire losses applies to property located in the following state(s), if covered by this
insurance:
                                                                    State(s)
California, Georgia, Hawaii, Illinois, Iowa, Maine, Missouri, New Jersey, New York,
North Carolina, Oregon, Rhode Island (except as to commercial special risks), Virgin Islands,
Washington, West Virginia, and Wisconsin.




*Information required to complete the Schedule, if not shown above, will be shown in the Declarations.
A. Exclusion of Certified Acts of Terrorism
    We will not pay for loss or damage caused directly or indirectly by a “certified act of terrorism”, including action in
    hindering or defending against an actual or expected “certified act of terrorism”. Such loss or damage is excluded
    regardless of any other cause or event that contributes concurrently or in any sequence to the loss.
B. Exception Relating to Fire Losses Applicable to Property Located in Certain States
    If the “certified act of terrorism” results in fire, we will pay for the direct physical loss or damage to Covered Property
    caused by that fire. This exception does not apply to any other loss or damage including but not limited to business
    income, extra expense, any additional coverage and any coverage extension.
C. Definition
    “Certified act of terrorism” means an act that is certified by the Secretary of the Treasury, in accordance with the
    provisions of the federal Terrorism Risk Insurance Act (“TRIA”), to be an act of terrorism. The Terrorism Risk
    Insurance Act provides that the Secretary of Treasury shall certify an act of terrorism:
    1. To be an act of terrorism;
    2. To be a violent act or an act that is dangerous to human life, property or infrastructure;
    3. To have resulted in damage within the United States, or outside of the United States in the case of an air carrier
       (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel based
       principally in the United States, on which United States income tax is paid and whose insurance coverage is
       subject to regulation in the United States), or the premises of a United States mission; and
    4. To have been committed by an individual or individuals as part of an effort to coerce the civilian population of the
       United States or to influence the policy or affect the conduct of the United States Government by coercion.


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    No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by
    Congress (except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance
    subject to TRIA, do not exceed $5,000,000.
D. Application of Other Exclusions
    The terms and limitations of a terrorism exclusion or any other exclusion, or the inapplicability or omission of a
    terrorism exclusion or any other exclusion, do not serve to create coverage which would otherwise be excluded,
    limited or restricted under this policy.
E. Cap on Losses From Certified Acts of Terrorism
    If aggregate insured losses attributable to one or more "certified acts of terrorism" exceed $100 billion in a calendar
    year (January 1 through December 31) and we have met our insurer deductible under the Terrorism Risk Insurance
    Act, we shall not be liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and
    in such case insured losses up to that amount are subject to pro rata allocation in accordance with procedures
    established by the Secretary of Treasury.


All other terms and conditions of this policy remain unchanged.




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Policy Changes Endorsement

Insured Name                                      Policy Number                  Effective Date          Endorsement Number
Lindenwood University                             ERP8757927-01                  07/01/2019              03




PRODUCER NO.                         NO CHANGE IN PREMIUM                   ADDITIONAL PREMIUM                 RETURN PREMIUM
Marsh
                                   TO ADJUST PREMIUM AT AUDIT


                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the policy as indicated below. The modification(s) may result in a change in the
premium as indicated above.
                                                        Type(s) of Change(s)
         Name of Insured                                                    Mailing Address of Insured
         Policy Number                                                      Company
         Effective/Expiration Date                                          Legal Status of Insured/Business of Insured
         Payment Plan                                                       Premium Determination
         Additional Interested Parties                                X     Coverage Forms and Endorsements
         Limits/Exposures                                                   Deductibles
         Covered Property/Location Description                              Classification/Class Codes
         Rates                                                              Underlying Insurance

                                                           CHANGE (S)

Section 3.02.02. of the Policy is deleted and replaced by the following:

   Aircraft, except when unfueled and manufactured by the Insured.

Section 3.02.04 of the Policy is deleted and replaced with the following:

      Standing timber.

      Growing crops, except for losses due to the perils of fire, lightning, explosion, wind storm and hail.

      Losses to animals caused by the following:

          Death or destruction from natural causes, unknown causes, medical procedures including surgery, inoculation, parturition,
or abortion;

         Errors or omission in processing and/or failure on the part of the Insured to provide nourishment, medicine or sanitary




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conditions;

          Contamination of animal, food or medicine;

         The intentional slaughter of animals;

         Escape, unless directly resulting from a Covered Cause of Loss; or

          Death or destruction resulting from activities of any animal, unless resulting from a Covered Cause of Loss.

Section 3.02.05 is deleted and replaced by the following;

     Bridges and tunnels when not part of a building or structure, dams, dikes, piers, wharfs, docks or bulkheads; except for any
bridges or tunnels listed and described on a schedule provided by the Company.




All other terms, conditions and limitations of this Policy remain unchanged.

Signature of Authorized Representative




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Cyber Event Coverage Endorsement


Insured Name                                     Policy Number             Effective Date      Endorsement Number
Lindenwood University                            ERP8757927-01             07/01/2019          04



                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the Policy:

A. The following is added to 2.03.06. Limits of Liability:

             $100,000                    CYBER EVENT All Coverages Combined and in the Annual Aggregate
                                         but not to exceed the following:
                                         $100,000 OFF PREMISES SERVICE INTERRUPTION CYBER EVENT
                                         – PROPERTY DAMAGE AND TIME ELEMENT

    The following is added to 2.03.08. Time and Distance Limitations:

             48 hours for Gross Earnings:                         PROTECTION AND PRESERVATION OF
             not to exceed $100,000 limit.                        DIGITAL ASSETS – PROPERTY DAMAGE
                                                                  AND TIME ELEMENT Combined

    The following is added to Section 2.04. QUALIFYING PERIOD:

             CYBER EVENT per Occurrence                                                          48 hours
             OFF PREMISES SERVICE INTERRUPTION CYBER                                             48 hours
             EVENT – PROPERTY DAMAGE AND TIME ELEMENT
             applies separately at each location.
    The following is added to Section 2.05. DEDUCTIBLES, Exceptions to Policy Deductible(s):
             Cyber Event
             The following deductibles apply to loss or damage caused by or resulting from Cyber Event. The Cyber Event
             deductible will apply regardless of any other deductibles that may also apply.
             $1,000,000 combined Cyber Event coverages
             per Occurrence except as follows:




B. Section 3.02. PROPERTY NOT COVERED, Subsection 3.02.15. is replaced by the following:
    Digital Assets except when they are Stock in Process, Finished Stock, Raw Materials, supplies or Merchandise or as
    otherwise provided by the Computer Systems Damage Coverage, Valuable Papers and Records Coverage or Cyber Event
    Coverage of this Policy.



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C. Section 5.02. DESCRIPTION OF SPECIAL COVERAGES, Subsection 5.02.04. COMPUTER SYSTEMS DAMAGE is
   replaced by the following:
   The Company will pay for the corruption or loss of the Insured's Digital Assets resulting from direct physical loss of or damage
   to Computer Systems or Media as covered by this Policy, and the actual Time Element loss sustained, as provided by this
   Policy during the Period of Interruption directly resulting from a Covered Cause of Loss at an Insured Location.
   This Coverage will only apply when the Period of Interruption exceeds the time shown as Qualifying Period in the
   Qualifying Period clause of the Declarations section. If the Qualifying Period is exceeded, then this Policy will pay for the
   amount of loss in excess of the Policy Deductible, but not more than the limit applying to this Coverage.
   This Coverage does not insure loss or damage caused by or resulting from Cyber Event.
D. The following is added to Section 5.03. DESCRIBED CAUSES OF LOSS:
   CYBER EVENT
   1. Property Damage and Time Element
       The Company will pay Digital Asset Replacement Expenses and the actual Time Element loss sustained during the
       Period of Interruption caused by a Cyber Event resulting in the corruption or destruction of the Insured's Digital Assets.
       The Time Element loss must result from the necessary Suspension of the Insured's business activities at the Insured
       Location. The Suspension must be due to a Cyber Event resulting in corruption, destruction or loss of access to the
       Insured's Digital Assets while within this Policy's territory.
       This Coverage will only apply when the Period of Interruption exceeds the time shown as Qualifying Period in the
       Qualifying Period clause of the Declarations section. If the Qualifying Period is exceeded, then this Policy will pay for
       the amount of loss in excess of the Cyber Event Deductible, but not more than the limit applying to this Coverage.
       This Coverage, as respects to Cyber Event, also covers:
       a. Expediting Expense
           The reasonable and necessary costs incurred to pay for the temporary repair or to expedite the permanent repair or
           replacement of Digital Assets resulting from a Cyber Event to the Insured's Digital Assets.
           This coverage excludes the costs of the permanent repair or replacement of Digital Assets or damaged property.
       b. Computer Forensic Expense
           The reasonable fees paid to a professional or the reasonable cost of using the Insured's employees to conduct a
           computer forensic analysis to investigate and determine the cause and extent of loss to the Insured's Digital Assets and
           Computer System due to a Cyber Event.
       The Company will pay for direct physical loss of or damage to Digital Assets, Covered Property, Time Element loss and
       Special Coverages loss as provided by this Policy, if such loss or damage is caused by Cyber Event regardless of any other
       cause or event contributing concurrently or in any other sequence of loss. However, ensuing physical loss or damage to
       Covered Property from a Covered Cause of Loss will not be considered loss by a Cyber Event within the terms and
       conditions of this Policy.
       Notwithstanding any other provision of this Policy, including any endorsements forming a part of this Policy, any costs,
       expenses or loss recoverable under the Cyber Event Property Damage and Time Element Coverages are payable only under
       Cyber Event Property Damage and Time Element Coverage and not elsewhere in this Policy.
   2. Protection And Preservation Of Digital Assets – Property Damage And Time Element
       The reasonable and necessary cost incurred for actions taken by the Insured to temporarily protect or preserve Digital
       Assets from further damage, during or after a Cyber Event, provided that such costs are over and above the Insured's
       normal operating expenses.
       The Gross Earnings loss or Gross Profit loss sustained by the Insured for a period of time not to exceed the hours listed in
       the Declarations for the Insured first taking reasonable and necessary actions to temporarily protect or preserve from further
       damage the insured's Digital Assets, during or after a Cyber Event provided that such costs are over and above the
       Insured's normal operating expenses.
           Protection and Preservation of Digital Assets coverage does not include the following costs or expense:




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                 To correct any deficiencies or problems or to remediate Programs (Software) errors or vulnerabilities that existed
                 prior to the Cyber Event and you failed to correct;
                 To update, restore, replace or improve any Digital Assets to a level beyond that which existed just prior to the
                 Cyber Event, unless such costs or expenses are standard technological advancements included within any newer
                 Digital Assets;
                 For any contractual penalties.
        Notwithstanding any other provision of this Policy, including any endorsements forming a part of this Policy, any costs
        recoverable under Protection and Preservation of Digital Assets are payable only under Protection And Preservation Of
        Digital Assets – Property Damage And Time Element Coverage and not elsewhere in this Policy.
    3. Off Premises Service Interruption Cyber Event Property Damage And Time Element
        The Company will pay for the loss of or damage to the Insured's Covered Property at an Insured Location and the actual
        Time Element loss sustained by the Insured during the Period of Interruption, directly resulting from the necessary
        Suspension of the Insured's business activities at an Insured Location, resulting from a Cyber Event at a service provider
        company directly or indirectly supplying voice, data, video or Cloud Services. The interruption of service must result from
        a Cyber Event to property (other than satellites but including transmission and distribution lines) of the supplier of such
        services that immediately prevents in whole or in part the delivery of such usable services, when located worldwide, except
        for in the following:
            Afghanistan, Albania, Algeria, Angola, Armenia, Azerbaijan, Belarus, Benin, Botswana, Burkina Faso, Burundi,
            Cameroon, Cape Verde, Central African Republic, Chad, Comoros, Republic of Congo, Democratic Republic of the
            Congo, Cuba, Djibouti, Equatorial Guinea, Eritrea, Ethiopia, Gabon, Gambia, Ghana, Guinea, Guinea-Bissau, Georgia,
            Haiti, Iran, Iraq, Ivory Coast, Kazakhstan, Kampuchea (Cambodia), Kenya, Kyrgyzstan (Kyrgyz Republic), Laos,
            Lebanon, Lesotho, Liberia, Libya, Macedonia, Madagascar, Malawi, Mali, Mauritania, Mayotte, Mongolia,
            Montenegro, Mozambique, Myanmar (Burma), Namibia, Niger, Nigeria, North Korea, Pakistan, Palestine, Reunion,
            Rwanda, Sao Tomé and Principé, Senegal, Serbia, Sierra Leone, Somalia, Sri Lanka, Southern Sudan, Sudan,
            Swaziland, Syria, Tajikistan, Tanzania, Tibet, Togo, Turkmenistan, Uganda, Uzbekistan, Western Sahara, Yemen,
            Zambia, Zimbabwe; or
            Any other country where prohibited by United States law or where trade relations are unlawful as determined by the
            Government of the United States of America or its agencies.
        This Coverage will only apply when the Period of Interruption exceeds the time shown as Qualifying Period in the
        Qualifying Period clause of the Declarations section. If the Qualifying Period is exceeded, then this Policy will pay for
        the amount of loss in excess of the applicable Cyber Event Deductible, but no more than the limit applying to this
        Coverage.
        The following additional exclusion applies:
            This Policy excludes physical loss or damage directly or indirectly caused by or resulting from the interruption of such
            services, when such interruption is caused directly or indirectly by the failure of the Insured to comply with the terms
            and conditions of any contracts the Insured has for the supply of such specified services regardless of any other cause
            or event, whether or not insured under this Policy, contributing concurrently or in any other sequence to the loss.
        Notwithstanding any other provision of this Policy, including any endorsements forming a part of this Policy, any costs
        recoverable under Off Premises Service Interruption Cyber Event Property Damage And Time Element are payable only
        under Off Premises Service Interruption Cyber Event Property Damage and Time Element Coverage and not elsewhere in
        this Policy.
    4. The following additional exclusions apply to D. 1., 2., and 3.:
        We will not pay for loss or damage to Digital Assets resulting from:
            a. Errors or omissions in programming, processing or copying; or
            b. Correcting any deficiencies or problems including remediation of Digital Asset errors or vulnerabilities that
               existed prior to the Cyber Event and the Insured failed to correct.
        We do not cover expenses or costs of Cyber Extortion Payments.
E. The following definitions in SECTION VII – DEFINITIONS are replaced by the following:




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        Computer Virus – Any hostile or intrusive Program (Software), instructions, code or data which infiltrates and disrupts
        computer operations, gathers sensitive information, gains access to Computer Systems or Digital Assets without consent,
        or any other data or instructions introduced into any electronic system that affects the operation or functionality of
        Computer Systems or Digital Assets, including but not limited to any destructive Program, computer code, worm, logic
        bomb, smurf attack, vandalism, malware, Trojan Horse, spyware, rootkits, ransomware, adware, keyloggers, rogue security
        software or malicious browsers.
        Described Cause(s) of Loss – Breakdown of Equipment, Earth Movement, Flood, Named Storm or Cyber Event.
        Period of Interruption – The period starting when the Insured's Digital Assets, Computer Systems or Media fails to
        operate and ending when with due diligence and dispatch, the Insured's Digital Assets, Computer Systems or Media could
        be restored to the same or equivalent operating condition that existed prior to the failure. The Period of Interruption does
        not include the additional time to make changes to the Insured's Digital Assets, Computer Systems or Media.
    For purposes of Cyber Event only, the following definition in SECTION VII – DEFINITIONS is replaced by the following:
        Media – Punch cards, paper tapes, floppy disks, CD-ROM, hard drives, magnetic tapes, magnetic discs or any other
        tangible personal property on which Digital Assets are recorded or transmitted, but not the Digital Assets themselves.
    The following are added to SECTION VII – DEFINITIONS:
        Cloud Services – A contracted service in the business of storing, processing and managing the Insured's Digital Assets and
        providing access and use of Programs (Software) or a network of servers hosted away from the Insured's location to store,
        process and manage the Digital Assets.
        Computer Systems – Computer hardware, devices and electronic equipment used for the purpose of creating, accessing,
        processing, protecting, monitoring, storing, retrieving, displaying or transmitting Digital Assets, including but not limited
        to, associated input and output devices, laptop computers, desk top computers, data storage devices of all kinds, external
        drives, magnetic tapes, discs,, networking equipment, components, file servers, data processing equipment, computer
        memory, microchip, microprocessors, computer chips, integrated circuits, systems controlling or associated with the
        operation or monitoring of equipment or machinery, or similar device or equipment, but not including the Digital Assets
        contained therein.
        Cyber Event – Authorized access, unauthorized access, authorized use, unauthorized use, disappearance of code, malicious
        act, distortion, malfunction, deficiency, deletion, fault, Computer Virus, Denial of Service Attack or corruption
        perpetuated through the Insured's computer network, an internet enabled device or Computer Systems that occurs during
        the Policy Period; unless otherwise excluded in Section 3.03. EXCLUSIONS. However, solely for the purposes of D.3., Off
        Premises Service Interruption Cyber Event Property Damage And Time Element, Cyber Event means authorized access,
        unauthorized access, authorized use, unauthorized use, disappearance of code, malicious act, distortion, malfunction,
        deficiency, deletion, fault, Computer Virus, Denial of Service Attack or corruption perpetuated through the service
        providers computer network, internet enabled device or Computer Systems that occurs during the Policy Period; unless
        otherwise excluded in Section 3.03. EXCLUSIONS.
        Cyber Extortion Payments – Monies paid to third parties for an act, threat or series of threats made to introduce a
        Computer Virus or gain unauthorized access to Computer Systems.
        Denial of Service Attack – A malicious attack by an authorized or unauthorized party which is designed to slow or
        completely interrupt an authorized party from gaining access to the Insured's Computer Systems or website.
        Digital Assets – Electronic Data, Programs (Software), audio and image files. To the extent they exist as Electronic
        Data and only in that form, Digital Assets include the following: accounts, bills, evidences of debts, valuable papers,
        records, abstracts, deeds, manuscripts, or other documents.
        Digital Asset Replacement Expenses – The reasonable and necessary costs or expenses the Insured incurs to replace,
        restore or recollect Digital Assets from written records or partially or fully matching Electronic Data.


All other terms, conditions, provisions and exclusions of this policy remain the same.




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